Case 4:17-cv-00845-ALM Document 1-3 Filed 12/11/17 Page 1 of 139 PageID #: 50




                           Exhibit 1
Case 4:17-cv-00845-ALM Document 1-3 Filed 12/11/17 Page 2 of 139 PageID #: 51

                                                                               Service of Process
                                                                               Transmittal
                                                                               11/10/2017
                                                                               CT Log Number 532284200
   TO:       Carol Purcell
             Endo Pharmaceuticals Inc.
             1400 Atwater Dr
             Malvern, PA 19355-8701

   RE:       Process Served in Delaware

   FOR:      Endo Health Solutions Inc.  (Domestic State: DE)




   ENCLOSED ARE COPIES OF LEGAL PROCESS RECEIVED BY THE STATUTORY AGENT OF THE ABOVE COMPANY AS FOLLOWS:

   TITLE OF ACTION:                      COUNTY OF HOPKINS, Pltf. vs. PURDUE PHARMA, L.P., et al., Dfts. // TO: Endo
                                         Health Solutions Inc.
   DOCUMENT(S) SERVED:                   Citation, Sheet, Petition
   COURT/AGENCY:                         62nd Hopkins County District Court, -, TX
                                         Case # CV43486
   NATURE OF ACTION:                     Product Liability Litigation - Manufacturing Defect - opioids
   ON WHOM PROCESS WAS SERVED:           The Corporation Trust Company, Wilmington, DE
   DATE AND HOUR OF SERVICE:             By Process Server on 11/10/2017 at 11:25
   JURISDICTION SERVED :                 Delaware
   APPEARANCE OR ANSWER DUE:             at or 10 a.m. of the Monday after the expiration of 20 days after service
   ATTORNEY(S) / SENDER(S):              Will Ramsay
                                         110 Main Street
                                         Sulphur Springs, TX 75482
                                         903-885-0641
   ACTION ITEMS:                         CT has retained the current log, Retain Date: 11/11/2017, Expected Purge Date:
                                         11/16/2017

                                         Image SOP

                                         Email Notification,  Jobina Jones-McDonnell  jones.jobina@endo.com

                                         Email Notification,  Helen Howlett  howlett.helen@endo.com

                                         Email Notification,  Marian Gustafson  marian.gustafson@parpharm.com

                                         Email Notification,  Carolyn Hazard  hazard.carrie@endo.com

                                         Email Notification,  Par Notice Dept  Par.noticeDept@parpharm.com

                                         Email Notification,  Carol Purcell  Purcell.Carol@endo.com

                                         Email Notification,  Stephanie Stidham  stidham.stephanie@endo.com

   SIGNED:                               The Corporation Trust Company




                                                                               Page 1 of  2 / NS
                                                                               Information displayed on this transmittal is for CT
                                                                               Corporation's record keeping purposes only and is provided to
                                                                               the recipient for quick reference. This information does not
                                                                               constitute a legal opinion as to the nature of action, the
                                                                               amount of damages, the answer date, or any information
                                                                               contained in the documents themselves. Recipient is
                                                                               responsible for interpreting said documents and for taking
                                                                               appropriate action. Signatures on certified mail receipts
                                                                               confirm receipt of package only, not contents.
Case 4:17-cv-00845-ALM Document 1-3 Filed 12/11/17 Page 3 of 139 PageID #: 52

                                                                  Service of Process
                                                                  Transmittal
                                                                  11/10/2017
                                                                  CT Log Number 532284200
   TO:    Carol Purcell
          Endo Pharmaceuticals Inc.
          1400 Atwater Dr
          Malvern, PA 19355-8701

   RE:    Process Served in Delaware

   FOR:   Endo Health Solutions Inc.  (Domestic State: DE)




   ADDRESS:                           1209 N Orange St
                                      Wilmington, DE 19801-1120
   TELEPHONE:                         302-658-7581




                                                                  Page 2 of  2 / NS
                                                                  Information displayed on this transmittal is for CT
                                                                  Corporation's record keeping purposes only and is provided to
                                                                  the recipient for quick reference. This information does not
                                                                  constitute a legal opinion as to the nature of action, the
                                                                  amount of damages, the answer date, or any information
                                                                  contained in the documents themselves. Recipient is
                                                                  responsible for interpreting said documents and for taking
                                                                  appropriate action. Signatures on certified mail receipts
                                                                  confirm receipt of package only, not contents.
   Case 4:17-cv-00845-ALM Document 1-3 Filed 12/11/17 Page 4 of 139 PageID #: 53
                             .4
                     CAUSE NO:                        CV43486

                                                       ATTORNEY FOR PLAINTIFF OR DEFENDANT:
CHERYL FULCHER - DISTRICT CLERK                        JEFFERY B. SIMON
118 MAIN STREET                                        3232 MCKINNEY AVENUE
SULPHUR SPRINGS, TEXAS 75483                           SUITE 610
                                                       DALLAS,TX 75204
         CITATION                  FOR            PERSONAL       SERVICE

TO: ENDO HEALTH SOLUTI6NS,INC.                   REG.AGENT:C/0 C.T.CORPORATION TRUST CO.
                                                           CORPORATION TRUST CENTER
                                                           1209 ORANGE STREET
                                                           WILMINGTON, DE 19801

    DEFENDANT:
  You are hereby commanded to appear before the 62ND JUDICIAL DISTRICT
  Court of Hopkins County,Texas, to be held at the courthouse of sad
  County in the City of Sulphur Springs, Hopkins County, Texas,by filing
  a written answer to the petition of plaintiff     at or 10 o'clock A.M.
  of the Monday next after the expiration of 20—days after the date of
  service hereof, a copy of which accompanies this
  citation, in Cause No.          CV43486.

    COUNTY OF HOPKINS                   PURDUE PHARMA,L.P.; PURDUE
                                                 VS
                                        PHARMA,INC.;THE PURDUE
                                        FREDERICK COMPANY;ET AL
    Filed in said Court on 30th day of October   , 2017 .
    NOTICE TO DEFENDANT: You have been sued. You may employ an attorney                   •
    If you or your attorney do not file a written answer with the clerk
    who issued this citation by 10:00 A.M. on the Monday next following
    the expiration of twenty days after you were served this citation
    and petition, a default judgment may be taken against you.
    WITNESS, CHERYL FULCHER , DISTRICT CLERK OF THE DISTRICT COURT OF
    HOPKINS COUNTY, TEXAS.
    Issued and given undrilYt uhgnd and seal of said Court at office,
    this the 31st day4O          .....r," m A.D., 2017 .
                        S
                       ,§".•••••
                       0
                     =0:                  4,ARYL.FULCHER - DISTRICT CLERK
                     = •                      INS COUNTY TEXAS
                                                                                 Deputy
                        SY'
                            li/b. *Pr   s'
                          OFFTOERYAUTHORIZED PERSON RETURN
Came to hand at         o'clock              .M., on the          day of
Executed at (address)                                                  in             County
at         o'clock     .M. on the                        day of                        , by
delivering to the within named                                                            , in
person, a true copy of this citation together with the accompanying copy of
of the petition, having first attached such copy of such petition to such
copy of citation and endorsed on such copy of citation the date of delivery.
TOTAL SERVICE FEE $
                                                           sheriff   nst 1"1"b
                                                           County, Texas
                                                         BY
                                                           sheriff veputy LOnSt/FFS
les
          Case 4:17-cv-00845-ALM Document 1-3 Filed 12/11/17 Page 5 of 139 PageID     #: 54
                                                                             Filed 10/30/2017 4:42 PM
                                                                   CIVIL CASE INFORMATION SHEET
                                                                                                                                                              Cheryl Fulcher
                                                                 CV43486                                                                                         . Clerk
                                                                                                                                                          62District
             CAUSE NUMBER (FOR CLERK USE ONLY):                                                              COURT (FOR CLERK USE ONLY):
                                                                                                                                                      Hopkins County, Texas
                STYLED County of Hopkins v. Purdue Manna, LP, et al.
                                  (e.g., John Smith v. All American Insurance Co; lure Mary Ann Jones; In the Matter of the Estate of George Jackson)
  A civil case information sheet must be completed and submitted when an original petition or application is tiled to initiate a new civil, family law, probate, or mental
  health case or when a post-judgment petition for modification or motion for enforcement is filed in a family law case. 'rhe information should be the best available at
  the time of filing.

  I. Contact information for person completing case information sheet:             Names of parties in case:                                      Person or entity completing sheet is:
                                                                                                                                               ['Attorney for Plaintiff/Petitioner
  Name:                                    Entail:                                 Plaintiff(s)/Petitioner(s):                                 ['Pro Se Plaintiff/Petitioner
                                                                                                                                               0Title IV-D Agency
  Jeffrey B. Simon                         jsimengsgpblaw.com                       County of Hopkins                                          0Other:

  Address:                                 Telephone:
                                                                                                                                               Additional Parties in Child Support Case:
  3232 McKinney Ave. Suite 610              214-276-7680
                                                                                   Delendant(s)/Respondent(s):                                 Custodial Parent:
  City/State/Zip:                          Fax:
                                                                                    See Attached List
  Dallas, TX 75204                          214-276-7699                                                                                       ('Jon-Custodial Parent:

  Signature:                               State Bar No:
                                                                                                                                               Presumed Father:
  Jeffrey B. Simon    ,e.prommtamc
                                            00788420
                                                                                   (Attach additional page as necessary to list all parties]

  2. Indicate case type, or.identify the most important issue in the case (selec only l):
                                                   Civil                                                                                           Family Law
                                                                                                                                                              Post-judgment Actions
               Contract                     Injury or Damage                      Real Property                        Marriage Relationship                     (non-Title IV-D)
  Debt/Contract                          Assault/Battery                    0 Eminent Domain/                         ['Annulment                           0 Enforcement
      0Consumer/DTPA                 fl Construction                           Condemnation                           ['Declare Marriage Void               0 Modification—Custody
      D Debt/Contract                0Defamation                            0 Partition                                Divorce                              0 Modi fication—Other
      0Fraud/Misrepresentation       Malpractice                            0Quiet Title                                  OWith Children                            Title IV-D
      ['Other Debt/Contract:            ['Accounting                        afrespass to Try Title                        0No Children                     0 Enforcement/Modification
                                        0 Legal                             00ther Property:                                                               0Paternity
  Foreclosure                           0 Medical                                                                                                          ['Reciprocals (UIFSA)
     0 Home Equity—Expedited            00ther Professional                                                                                                ['Support Order
     fl Other Foreclosure                  Liability:
     Franchise                                                                  Related to Criminal
     Insurance                          Motor Vehicle Accident                         Matters                             Other Family Law                  Parent-Child Relationship
                                                                            0 Expunction                                  Enforce Foreign                  0Adoption/Adoption with
  O Landlord/Tenant                  0 Premises
                                                                                                                                                              Termination
     Non-Competition                 Product Liability                      ['Judgment Nisi                               Judgment
  ['Partnership                        0Asbestos/Silica                     0Non-Disclosure                               Habeas Corpus                    ['Child Protection
  ['Other Contract:                    ['Other Product Liability            0Seizure/Forfeiture                        0Name Change                        0Child Support
                                           List Product:                       Writ of Habeas Corpus—                  ['Protective Order                  OCustody or Visitation
                                            Ptescaption Opoids                 Pre-indictment                             Removal of Disabilities          0Gestational Parenting
                                     00ther Injury or Damage:               DOther:                                       of Minority                      ['Grandparent Access
                                                                                                                       00ther:                             0Parentage/Patemity
                                                                                                                                                           ['Termination of Parental
                                                                                                                                                              Rights
             Employment                                             Other Civil
                                                                                                                                                           00ther Parent-Child:
   Discrimination                      0Administrative Appeal               0Lawyer Discipline
   Retaliation                         0Antitrust/Unfair                    OPerpetuate Testimony
 0Termination                             Competition                         Securities/Stock
   Workers' Compensation               0Code Violations                     0Tortious Interference
 ElOther Employment:                     Foreign Judgment                   00ther:
                                       0Intellectual Property


              Tax                                                                           Probate & Mental Health
  0Tax Appraisal                       Probate/Wills/Intestate Administration                                 EIGuardianship—Adult
  0Tax Delinquency                       D Dependent Administration                                           EiGuardianship—M inor
  ['Other Tax                              independent Administration                                         ['Mental Health
                                         00ther Estate Proceedings                                            00ther:


 3. Indicate procedure or remedy if applicable (tnay select more than I):
  0Appeal from Municipal or Justice Court                   Declaratory Judgment                                                   0 Prejudgment Remedy
  0Arbitration-related                                   1:1Garnishment                                                            0 Protective Order
  fl Attachment                                             Interpleader                                                           0 Receiver
  0Bill of Review                                        0License                                                                     Sequestration
  ['Certiorari                                              Mandamus                                                               ['Temporary Restraining Order/Injunction
  ['Class Action                                         OPost-judgment                                                            0Turnover
Case 4:17-cv-00845-ALM Document 1-3 Filed 12/11/17 Page 6 of 139 PageID #: 55




  COUNTY OF HOPICINS,
  Plaintiff
  V.

  PURDUE PHARMA, L.P.
  c/o The Prentice-Hall Corporation System, Inc.
  251 Little Falls Drive
  Wilmington, DE 19808

  PURDUE PHARMA, INC.
  c/o Corporation Service Company
  80 State Street
  Albany, NY 12207

  THE PURDUE FREDERICK COMPANY, INC.
  c/o The Prentice-Hall Corporation System, Inc.
  251 Little Falls Drive
  Wilmington, DE 19808

  CEPHALON, INC.
  c/o Corporate Creations Network, Inc.
  3411 Silverside Road, Tatnall Bldg, Ste 104
  Wilmington, DE 19810

  TEVA PHARMACEUTICAL INDUSTRIES, LTD.
  Petah Tikva, Israel

  TEVA PHARMACEUTICALS USA, INC.
  c/o Corporate Creations Network, Inc.
  3411 Silverside Road, Tatnall Bldg, Ste 104
  Wilmington, DE 19810

  JOHNSON & JOHNSON
  Attn: Legal Department
  One Johnson & Johnson Plaza
  New Brunswick, NJ 08933

  JANSSEN PHARMACEUTICALS, INC.
  do CT Corporation System
  1999 Bryan Street, Ste 900
  Dallas, TX 75201




  CIVIL CASE INFORMATION SHEET ADDITIONAL PAGE                            1
Case 4:17-cv-00845-ALM Document 1-3 Filed 12/11/17 Page 7 of 139 PageID #: 56




  ORTHO-MCNEIL-jANSSEN PHARMACEUTICALS, INC. n/k/a JANSSEN
  PHARMACEUTICALS, INC.
  c/o CT Corporation System
  1999 Bryan Street, Ste 900
  Dallas, TX 75201

  JANSSEN PHARMACEUTICA, INC. n/k/a JANSSEN PHARMACEUTICALS, INC.
  c/o CT Corporation System
  1999 Bryan Street, Ste 900
  Dallas, TX 75201

  .ENDO HEALTH SOLUTIONS INC.
  c/o The Corporation Trust Company
  Corporation Trust Center
  1209 Orange Street
  Wilmington, DE 19801

  ENDO PHARMACEUTICALS, INC.
  c/o CT Corporation System
  1999 Bryan Street, Ste 900
  Dallas, TX 75201

  ABBOTT LABORATORIES
  c/o CT Corporation System
  1999 Bryan Street, Ste 900
  Dallas, TX 75201

  KNOLL PHARMACEUTICAL COMPANY, a wholly-owned subsidiary of ABBOTT
  LABORATORI ES
  Tax Division, D367/AP6D
  100 Abbott Park Road
  Abbott Park, IL 60064-6057

  ALLERGAN PLC f/k/a ACTAVIS PLC
  Dublin, Ireland

  ALLERGAN FINANCE .LLC f/k/a ACTAVIS, INC. f/k/a WATSON PHA.RMACEUTICALS,
  INC.
  c/o The Corporation Trust Company of Nevada
  701 S. Carson St., Ste 200
  Carson City, NV 89701

  WATSON LABORATORIES, INC.
  c/o Corporate Creations Network, Inc.
  8275 South Eastern Ave., #200
  Las Vegas, NV 89123


  CIVIL CASE INFORMATION SHEET ADDITIONAL PAGE                            2
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  ACTAVIS LLC
  do Corporate Creations Network, Inc.
  3411 Silverside Road, Tatnall Bldg, Ste 104
  Wilmington, DE 19810

  ACTAVIS PHARMA, INC. f/k/a WATSON PHARMA, INC.
  c/o CT Corporation System
  1999 Bryan Street, Ste 900
  Dallas, TX 75201

  INSYS THERAPEUTICS, INC.
  c/o CT Corporation System
  1999 Bryan Street, Ste 900
  Dallas, TX 75201

  MCICESSON CORPORATION
  do CSC - Lawyers incorporating Service
  211 E. 7th Street. Suite 620
  Austin, TX 78701

  CARDINAL HEALTH, INC.
  c/o CT Corporation System
  4400 Easton Commons, Ste 125
  Columbus, OH 43219

  AMERISOURCEBERGEN CORPORATION
  do The Corporation Trust Company
  Corporation Trust Center
  1209 Orange Street
  Wilmington, DE 19801

  DON MARTIN O'NEAL, M.D.
  1617 Raintree Circle
  Sulphur Springs, TX 75482

  HOWARD GREGG DIAMOND, M.D.
  Fannin County Jail
  725 County Road 4200
  Bonham, TX 75418

  DOES 1 — 100, INCLUSIVE,

  Defendants.




  CIVIL CASE INFORMATION SHEET ADDITIONAL PAGE                           3
Case 4:17-cv-00845-ALM Document 1-3 Filed 12/11/17 Page 9 of 139 PageID #: 58
                                      CV43483                              Filed 10/30/2017 4:42 PM
                                                                                      Cheryl Fulcher
                                                                                        District Clerk
                                                                              Hopkins County, Texas
                                                                                     Tyra Kenemore

                            CAUSE NO. CV43486

   COUNTY OF HOPKINS,                           IN THE DISTRICT COURT

         Plaintiff

   VS.
                                                62nd   JUDICIAL DISTRICT

   PURDUE PHARMA, L.P.;
   PURDUE PHARMA, INC.;
   THE PURDUE FREDERICK COMPANY;
   CEPHALON, INC.;                              HOPKINS COUNTY, TEXAS
   TEVA PHARMACEUTICAL
   INDUSTRIES, LTD.;
   TEVA PHARMACEUTICALS USA, INC.;
   JOHNSON & JOHNSON;
   JANSSEN PHARMACEUTICALS, INC.;
   ORTHO-MCNEIL-JANSSEN
   PHARMACEUTICALS, INC. n/k/a
   JANSSEN PHARMACEUTICALS, INC.;
   JANSSEN PHARMACEUTICA, INC. n/k/a
   JANSSEN PHARMACEUTICALS, INC.;
   ENDO HEALTH SOLUTIONS INC.;
   ENDO PHARMACEUTICALS, INC.;
   ABBOTT LABORATORIES;
   KNOLL PHARMACEUTICAL
   COMPANY, a wholly-owned subsidiary of
   ABBOTT LABORATORIES;
   ALLERGAN PLC f/k/a ACTAVIS PLC;
   ALLERGAN FINANCE LLC f/k/a
   ACTAVIS, INC. f/k/a WATSON
   PHARMACEUTICALS, INC.;
   WATSON LABORATORIES, INC.;
   ACTAVIS LLC;
   ACTAVIS PHARMA, INC. f/k/a WATSON
   PHARMA, INC.;
   INSYS THERAPEUTICS, INC.;
   MCKESSON CORPORATION;
   CARDINAL HEALTH, INC.;
   AMERISOURCEBERGEN
   CORPORATION;
   DON MARTIN O'NEAL, M.D.;
   HOWARD GREGG DIAMOND, M.D.; and
   DOES 1 — 100, INCLUSIVE,

         Defendants.



  PLAINTIFF'S ORIGINAL PETITION
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                   PLAINTIFFS' ORIGINAL PETITION AND JURY DEMAND

  TO THE HONORABLE JUDGE OF SAID COURT:

            Plaintiff, the County of Hopkins, Texas, by and through the undersigned attorneys,

  (hereinafter "Hopkins County" or "County"), on behalf of the District Attorney for Hopkins

  County, against Defendants Purdue Pharma, L.P., Purdue Pharma, Inc., The Purdue Frederick

  Company, Cephalon, Inc., Teva Pharmaceutical Industries, Ltd., Teva Pharmaceuticals USA, Inc.,

  Johnson & Johnson, Janssen Pharmaceuticals, Inc., Janssen Pharmaceutica, Inc. n/k/a Janssen

  Pharmaceuticals, Inc., Ortho-McNeil-Janssen Pharmaceuticals, Inc. n/k/a Janssen

  Pharmaceuticals, Inc., Endo Health Solutions Inc., Endo Pharmaceuticals, Inc., Abbott

  Laboratories, Knoll Pharmaceutical Company, a wholly-owned subsidiary of Abbott Laboratories,

  Allergan PLC f/k/a Actavis PLC, Allergan Finance, LLC f/k/a Actavis, Inc. f/k/a Watson

  Pharmaceuticals, Inc., Watson Laboratories, Inc., Actavis LLC, Actavis Pharma, Inc. f/k/a Watson

  Pharma, Inc., Insys Therapeutics, Inc., McKesson Corporation, Cardinal Health, Inc.,

  AmerisourceBergen Corporation, Don Martin O'Neal, M.D., Howard Gregg Diamond, M.D., and

  Does 1 — 100, alleges as follows:

                                          I.       INTRODUCTION

            1.     The United States is in the midst of an opioid epidemic caused by Defendants'

  fraudulent marketing and sales of prescription opioids ("opioids") that has resulted in addiction,

  criminal activity, and loss of life. The opioid crisis has been described as "the AIDS epidemic of

  our generation, but even worse."I On October 26, 2017, President Donald Trump "declared a




  1 David Wright, "Christie on Opioids: "This is the AIDS Epidemic of Our Generation, but even Worse," (Oct. 27,
  2017), http://www.cnn.com/2017/10/27/politics/chris-christie-opioid-commission-aids-cnntv/index.html.



  PLAINTIFF'S ORIGINAL         PETITION                                                                            2
Case 4:17-cv-00845-ALM Document 1-3 Filed 12/11/17 Page 11 of 139 PageID #: 60




   nationwide public health emergency to combat the opioid crisis."2

                    In 2016 alone, health care providers wrote more than 289 million prescriptions for

  opioids, enough for every adult in the United States to have more than one bottle of pills.3

   Americans "consume 85% of all the opioids in the world" and are "the most medicated country in

  the world. . . ."4

                    Unfortunately, using opioids too often leads to misusing and abusing opioids. In

  2014, almost 2 million Americans abused or were addicted to opioids.5 That same year, more

   people died from drug overdoses than in any other year, and most overdose deaths involved an

  opioid. The Texas Legislature has found "that deaths resulting from the use of opioids and other

  controlled substances constitute a public health crisis."6 In 2015, Texas "had the second highest

  total healthcare costs from opioid abuse in the nation ($1.96 billion) .. .

                    In fact, accidental drug overdose deaths, of which at least two-thirds are opioid

  overdoses, are the leading cause of death for Americans under the age of 50. Accidental drug

  overdose deaths, predominantly from opioids, exceed the number of deaths caused by cars or guns.

                   The economic burden caused by opioid abuse in the United States is approximately

  $78.5 billion,8 including lost productivity and increased social services, health insurance costs,

  increased criminal justice presence and strain on judicial resources, and substance abuse treatment



  2 Dan Merica, "What Trump's Opioid Announcement Means — and Doesn't Mean," (Oct. 26, 2017),
  http://www.cnn.com/2017/10/26/politics/national-health-emergency-national-disaster/index.html.
  3 Prevalence of Opioid Misuse, BupPractice (Sept. 7,2017), https://www.buppractice.com/node/15576.
  4 David Wright, "Christie on Opioids: "This is the AIDS Epidemic of Our Generation, but even Worse," (Oct. 27,
  2017), http://www.cnn.com/2017/10/27/politics/chris-christie-opioid-commission-aids-cnntv/index.html.
  5 Substance Abuse and Mental Health Services Administration, National Survey on Drug Use and Health, 2014.
  'Opinion of the Attorney General of Texas, KP-0168 (Oct. 4,2017), citing Act of May 26, 2017, 85t h Leg., R.S., ch.
  534, §3, 2017 Tex. Sess. Law Serv. 1467, 1468.
  7 Kerry Craig, "Opioid Addiction Results in one Woman's Daily Struggle," Oct. 7, 2017,
  https://www.ssnewstelegram.com/news/opioid-addiction-results-in-one-woman-s-daily-struggle/article_bded4eoa-
  ab80-11e7-a252-d3f304e26628.html.
  8 CDC Foundation's New Business Pulse Focuses on Opioid Overdose Epidemic, Centers for Disease Control and
  Prevention (Mar. 15, 2017), httbs://www.cdc.gov/media/releases/2017/a0315-business-pulse-opioids.html.



  PLAINTIFF'S ORIGINAL PETITION                                                                                    3
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   and rehabilitation.

                      This epidemic did not occur by chance. Defendants manufacture, market, distribute,

   and sell prescription opioids, including, but not limited to, brand-name drugs like OxyContin,

   Vicodin, Opana, Percocet, Percodan, Roxicodone, and generics like oxymorphone and

   hydrocodone, which are powerful narcotic painkillers. Other Defendants manufacture, market,

   distribute, and sell prescription opioids, including, but not limited to, brand-name drugs like

   Fentanyl, Fentora, Duragesic, Ultram, and Ultracet.

                      Historically, opioids were considered too addictive and debilitating for treating

   chronic pain,9 such as back pain, migraines, and arthritis, and were used only to treat short-term

  acute pain or for palliative or end-of-life care.

                      By the late 1990s or early 2000s, however, each Defendant began a marketing

  scheme to persuade doctors and patients that opioids can and should be used for chronic pain. Each

   Defendant spent, and continues to spend, millions of dollars to promote the benefits of opioids for

  chronic pain while trivializing or even denying their risks.

                      Contrary to the language of their drugs' labels, Defendants falsely and misleadingly:

  (1) downplayed the serious risk of addiction; (2) promoted the concept of "pseudoaddiction"

  thereby advocating that the signs of addiction should be treated with more opioids; (3) exaggerated

  the effectiveness of screening tools in preventing addiction; (4) claimed that opioid dependence

  and withdrawal are easily managed; (5) denied the risks of higher opioid dosages; and (6)

  exaggerated the effectiveness of "abuse-deterrent" opioid formulations to prevent abuse and

  addiction.

                      Defendants disseminated these falsehoods through their sales representatives and




  9   "Chronic pain" means non-cancer pain lasting three months or longer.



  PLAINTIFF'S ORIGINAL PETITION                                                                          4
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   physicians who supported Defendants' message. Sales representatives, working at Defendants'

   behest, promoted highly addictive opioids through souvenirs and toys, including but not limited

  to, opioid brand-bearing stuffed plush toys, dolls, coffee cups, fanny packs, water bottles,

  notepads, pens, refrigerator magnets, clocks, letter openers, rulers, daytime planners, bags,

   puzzles, posters, clipboards, highlighters, flashlights, key chains, clothing, reflex mallets, and

  mock-ups of the United States Constitution.

                  Defendants also used third parties they controlled by: (a) funding, assisting,

  encouraging, and directing doctors, known as "key opinion leaders" ("KOLs") and (b) funding,

  assisting, directing, and encouraging seemingly neutral and credible professional societies and

  patient advocacy groups (referred to hereinafter as "Front Groups").

                  Defendants worked with KOLs and Front Groups to taint the sources that doctors

  and patients relied on for ostensibly "neutral" guidance, such as treatment guidelines, Continuing

  Medical Education ("CME") programs, medical conferences and seminars, and scientific articles.

  After their individual and concerted efforts, Defendants convinced doctors that instead of being

  addictive and unsafe for long-term use in most circumstances, opioids were required in the

  compassionate treatment of chronic pain.

                 The Distributor Defendants were not standing by idly while Marketing Defendants

  were peddling their opioids to physicians and consumers. Cardinal, AmerisourceBergen, and

  McKesson ("Distributor Defendants") are three of the largest opioid distributors in the United

  States. Distributor Defendants purchased opioids from Manufacturing Defendants herein and sold

  them to pharmacies throughout Hopkins County.

                 Despite the alarming and suspicious rise in the ordering of opioids by retailers in

  Hopkins County, Distributor Defendants did nothing.




  PLAINTIFF'S ORIGINAL PETITION                                                                    5
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                     Essentially each Defendant ignored science and consumer health for profits.

   Defendants' efforts were so successful that opioids are now the most prescribed class of drugs

   generating $11 billion in revenue for drug companies in 2014 alone.

                     As a direct and foreseeable consequence of Defendants' misrepresentations

   regarding the safety and efficacy of using opioids for chronic pain, Hopkins County has spent and

   continues to spend large sums combatting the public health crisis created by Defendants' negligent

   and fraudulent marketing campaign.

                     For example, thousands of prescriptions were written for opioids in Hopkins

  County in 201010 and in 2015 there were multiple deaths reported from drug overdoses." A

   substantial number of those overdose deaths were a result, in whole or in part, of opioid ingestion.

                     Hopkins County has committed and continues to commit resources to provide and

  pay for health care, law enforcement, social services, public assistance, pharmaceutical care and

  other services necessary for its residents.

               II.       RULE 47 STATEMENT OF MONETARY RELIEF SOUGHT

                     Per Rule 47 of the Texas Rules of Civil Procedure, the County states that although the

  full measure of its damages is still being calculated, its damages caused by Defendants' acts and

  omissions exceed $1,000,000 but are believed to be less than $50,000,000. Accordingly, at this time

  in the litigation, Hopkins County states that it is seeking monetary relief for an amount greater than

  $1,000,000 and less than $50,000,000, the rightful and just amount to be determined by the jury.

                                  III. VENUE AND JURISDICTION

                     Venue is proper in Hopkins County because all or a substantial part of the events or




  10
     https://www.cdc.gov/drugoverdose/maps/rxrate-maps.html; https://www.cdc.gov/nchs/data-visualization/drug-
  poisoning-mortality.
     https://www.cdc.gov/nchs/data-visualization/drug-poisoning-mortality.



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  omissions giving rise to this claim occurred in Hopkins County. TEX. CIV. PRAC. & REM. CODE

  §15.002(a)(2). This Court has subject-matter jurisdiction over this matter because Plaintiffs' damages

  are in excess of the minimal jurisdictional limits of this Court. TEX. GOVT. CODE §24.007(b).

         21.     This Court has general jurisdiction over Dr. O'Neal and Dr. Gregg as they are Texas

   residents. This Court also has specific jurisdiction over all Defendants as their activities were

   directed toward Texas, and injuries complained of herein resulted from their activities. Guardian

   Royal Exchange Assur., Ltd. v. English China Clays, P.L.C., 815 S.W.2d 223, 227 (Tex. 1991).

   Each Defendant has a substantial connection with Texas and the requisite minimum contacts with

   Texas necessary to constitutionally permit the Court to exercise jurisdiction. See id. at 226.

                                           IV. PARTIES

  A.     Plaintiff

         22.     This action is brought for and on behalf of Hopkins County, which provides a

  wide range of services on behalf of its residents, including services for families and children,

  public health, public assistance, law enforcement, and emergency care.

  B.     Defendants

         23.     PURDUE PHARMA L.P. is a limited partnership organized under the laws of

  Delaware, and may be served through its registered agent for service of process, The Prentice-Hall

  Corporation System, Inc., 251 Little Falls Drive, Wilmington, DE 19808. PURDUE PHARMA

  INC. is a New York corporation with its principal place of business in Stamford, Connecticut, and

  may be served through its registered agent for service of process, Corporation Service Company,

  80 State Street, Albany, NY 12207. THE PURDUE FREDERICK COMPANY is a Delaware

  corporation with its principal place of business in Stamford, Connecticut, and may be served

  through its registered agent for service of process, The Prentice-Hall Corporation System, Inc.,




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   251 Little Falls Drive, Wilmington, DE 19808 (collectively, "Purdue").

                 Purdue manufactures, promotes, sells, and distributes opioids in the U.S. and

   Hopkins County. Purdue's opioid drug, OxyContin, is among the most addictive and abused

   prescription drugs in the history of America. In addition to manufacturing OxyContin, Purdue co-

   promotes the drug with Defendant Abbott Laboratories. Purdue promotes opioids throughout the

   United States and in Hopkins County.

                 CEPHALON, INC. is a Delaware corporation with its principal place of business

   in Frazer, Pennsylvania, and may be served through its registered agent for service of process

  Corporate Creations Network, Inc., 3411 Silverside Rd., Tatnall Building, Suite 104, Wilmington,

  DE 19810. TEVA PHARMACEUTICAL INDUSTRIES, LTD. ("Teva Ltd.") is an Israeli

  corporation with its principal place of business in Petah Tikva, Israel. In 2011, Teva Ltd. acquired

  Cephalon, Inc. TEVA PHARMACEUTICALS USA, INC. ("Teva USA") is a wholly-owned

  subsidiary of Teva Ltd. and is a Delaware corporation with its principal place of business in

   Pennsylvania, and may be served through its registered agent for service of process, Corporate

  Creations Network, Inc., 3411 Silverside Rd., Tatnall Building, Suite 104, Wilmington, DE 19810.

  Teva USA acquired Cephalon in October 2011.

                 Cephalon, Inc. manufactures, promotes, sells, and distributes opioids in the U.S.

  and in Hopkins County.

                 Teva Ltd., Teva USA, and Cephalon, Inc. work together closely to market and sell

  Cephalon products in the United States. Teva Ltd. conducts all sales and marketing activities for

  Cephalon in the United States through Teva USA and has done so since its October 2011

  acquisition of Cephalon. Teva Ltd. and Teva USA hold out Actiq and Fentora as Teva products

  to the public. Teva USA sells all former Cephalon branded products through its "specialty




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       medicines" division.

                      The FDA-approved prescribing information and medication guide, which is

       distributed with Cephalon opioids marketed and sold in Hopkins County, discloses that the guide

       was submitted by Teva USA, and directs physicians to contact Teva USA to report adverse events.

       Teva Ltd. has directed Cephalon, Inc. to disclose that it is a wholly-owned subsidiary of Teva Ltd.

       on prescription savings cards distributed in Hopkins County, indicating Teva Ltd. would be

       responsible for covering certain co-pay costs. All of Cephalon's promotional websites, including

       those for Actiq and Fentora, prominently display Teva Ltd.'s logo. Upon information and belief,

       Teva Ltd. directs the business practices of Cephalon and Teva USA, and their profits inure to the

       benefit of Teva Ltd. as controlling shareholder. (Teva Pharmaceutical Industries, Ltd., Teva

       Pharmaceuticals USA, Inc., and Cephalon, Inc. are referred to as "Cephalon").

                      JANSSEN PHARMACEUTICALS, INC. is a Pennsylvania corporation with its

       principal place of business in Titusville, New Jersey, and may be served through its registered

       agent for service of process, CT Corporation System, 1999 Bryan Street, Suite 900, Dallas, TX

       75201. JANSSEN PHARMACEUTICALS, INC. is a wholly owned subsidiary of JOHNSON &

       JOHNSON (J&J), a New Jersey corporation with its principal place of business in New Brunswick,

       New Jersey, and may be served through its registered agent for service of process, Attention: Legal

       Department, One Johnson & Johnson Plaza, New Brunswick, NJ 08933. ORTHO-MCNEIL-

       JANSSEN PHARMACEUTICALS, INC., now known as JANSSEN PHARMACEUTICALS,

       INC., is a Pennsylvania corporation with its principal place of business in Titusville, New Jersey.

       JANSSEN PHARMACEUTICA INC., now known as JANSSEN PHARMACEUTICALS, INC.,

       is a Pennsylvania corporation with its principal place of business in Titusville, New Jersey. J&J

       is the only company that owns more than 10% of Janssen Pharmaceuticals' stock, and corresponds




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  with the FDA regarding Janssen's products. Upon information and belief, J&J controls the sale

  and development of Janssen Pharmaceuticals' drugs and Janssen's profits inure to J&J's benefit.

  (Janssen Pharmaceuticals, Inc., Ortho-McNeil-Janssen Pharmaceuticals, Inc., Janssen

   Pharmaceutica, Inc., and J&J are referred to as "Janssen").

          30,    Janssen manufactures, promotes, sells, and distributes opioids in the U.S. and in

  Hopkins County.

                 ENDO HEALTH SOLUTIONS INC. is a Delaware corporation with its principal

  place of business in Malvern, Pennsylvania, and may be served through its registered agent for

  service of process, The Corporation Trust Company, Corporation Trust Center, 1209 Orange St.,

  Wilmington, DE 19801. ENDO PHARMACEUTICALS, INC. is a wholly- owned subsidiary of

  Endo Health Solutions Inc. and is a Delaware corporation with its principal place of business in

  Malvern, Pennsylvania, and may be served through its registered agent for service of process, CT

  Corporation System, 1999 Bryan Street, Suite 900, Dallas, TX 75201. (Endo Health Solutions Inc.

  and Endo Pharmaceuticals, Inc. are referred to as "Endo").

                 Endo develops, markets, and sells opioid drugs in the U.S. and in Hopkins County.

  Endo also manufactures and sells generic opioids in the U.S. and Hopkins County, by itself and

  through its subsidiary, Qualitest Pharmaceuticals, Inc.

                 ABBOTT LABORATORIES is an Illinois corporation with its principal place of

  business in Abbott Park, Illinois, and may be served through its registered agent for service of

  process, CT Corporation System, 1999 Bryan Street, Suite 900, Dallas, TX 75201. KNOLL

  PHARMACEUTICAL COMPANY is a wholly-owned subsidiary of Abbott Laboratories, and is

  a New Jersey corporation with its principal place of business in Parsippany, New Jersey, and may

  be served through its registered agent for service of process, Tax Division, D367/AP6D, 100




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  Abbott Park Road, Abbott Park, IL 60064-6057 (Abbott Laboratories and Knoll Pharmaceutical

  Company are referred to as "Abbott").

                 Abbott, along with Defendant Purdue Pharma, L.P., co-promotes opioids in the U.S.

  and in Hopkins County.

                 ALLERGAN PLC is a public limited company incorporated in Ireland with its

  principal place of business in Dublin, Ireland. ACTAVIS PLC acquired Allergan plc in March

  2015, and the combined company changed its name to Allergan plc in January 2013. Before that,

   WATSON PHARMACEUTICALS, INC. acquired ACTAVIS, INC. in October 2012, and the

  combined company changed its name to ALLERGAN FINANCE, LLC as of October 2013.

  ALLERGAN FINANCE, LLC is a Nevada Corporation with its principal place of business in

  Parsippany, New Jersey, and may be served through its registered agent for service of process, The

  Corporation Trust Company of Nevada, 701 S. Carson St., Suite 200, Carson City, NV 89701.

  WATSON LABORATORIES, INC. is a Nevada corporation with its principal place of business

  in Corona, California, and is a wholly-owned subsidiary of Allergan plc (f/k/a Actavis, Inc., f/k/a

  Watson Pharmaceuticals, Inc.), and may be served through its registered agent for service of

  process, Corporate Creations Network, Inc., 8275 South Eastern Ave., #200, Las Vegas, NV

  89123. ACTAVIS PHARMA, INC. (f/k/a Actavis, Inc.) is a Delaware corporation with its

  principal place of business in New Jersey and was formerly known as WATSON PHARMA, INC,

  and may be served through its registered agent for service of process, CT Corporation System,

  1999 Bryan Street, Suite 900, Dallas, TX 75201. ACTAVIS LLC is a Delaware limited liability

  company with its principal place of business in Parsippany, New Jersey, and may be served through

  its registered agent for service of process, Corporate Creations Network, Inc., 3411 Silverside Rd.,

  Tatnall Building, Suite 104, Wilmington, DE 19810. Each of these Defendants is owned by




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   Allergan plc, which uses them to market and sell its drugs in the United States.

                  Upon information and belief, Allergan plc exercises control over these marketing

   and sales efforts and profits from the sale of Allergan/Actavis products ultimately inure to its

   benefit. (Allergan plc, Actavis plc, Actavis, Inc., Allergan Finance, LLC, Actavis LLC, Actavis

   Pharma, Inc., Watson Pharmaceuticals, Inc., Watson Pharma, Inc., and Watson Laboratories, Inc.

   are referred to as "Actavis"). Actavis acquired the rights to Kadian from King Pharmaceuticals,

   Inc. on December 30, 2008 and began marketing Kadian in 2009.

                  Actavis manufactures, promotes, sells, and distributes opioids in the U.S. and in

   Hopkins County.

                  INSYS THERAPEUTICS, INC. ("Insys") is a Delaware corporation with its

   principal place of business in Chandler, Arizona, and may be served through its registered agent

  for service of process, CT Corporation System, 1999 Bryan Street, Suite 900, Dallas, TX 75201.

  Insys manufactures, promotes, sells, and distributes opioids in the U.S. and in Hopkins County.

                  MCKESSON CORPORATION ("McKesson") is a Delaware corporation with its

  principal place of business in San Francisco, California, and may be served through its registered

  agent for service of process, CSC - Lawyers Incorporating Service, 211 E. 7th Street, Suite 620,

  Austin, TX 78701. Upon information and belief, McKesson is a pharmaceutical distributor licensed

  to do business in Texas. McKesson distributes pharmaceuticals to retail pharmacies and institutional

  providers in all 50 states, including Texas and Hopkins County.

                 CARDINAL HEALTH, INC. ("Cardinal") is an Ohio Corporation with its principal

  place of business in Dublin, Ohio, and may be served through its registered agent for service of

  process, CT Corporation System, 4400 Easton Commons, Suite 125, Columbus, OH 43219.

  Cardinal does substantial business in Texas and, upon information and belief, Cardinal is a




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   pharmaceutical distributor licensed to do business in Texas. Cardinal distributes pharmaceuticals to

   retail pharmacies and institutional providers to customers in all 50 states, including Texas and

   Hopkins County.

                   AMERISOURCEBERGEN DRUG CORPORATION ("Amerisource") is a

   Delaware Corporation with its principal place of business in Chesterbrook, Pennsylvania, and may

   be served through its registered agent for service of process, The Corporation Trust Company,

   Corporation Trust Center, 1209 Orange St., Wilmington, DE 19801. Amerisource does substantial

   business in Texas and, upon information and belief, Amerisource is a pharmaceutical distributor

   licensed to do business in Texas. Amerisource distributes pharmaceuticals to retail pharmacies and

   institutional providers to customers in all 50 states, including Texas and Hopkins County.

                   DON MARTIN O'NEAL, M.D. is an individual residing in Sulphur Springs,

   Hopkins County, Texas, and may be served with citation at 1617 Raintree Circle, Sulphur Springs,

   TX 75482, or wherever he may be found. Dr. O'Neal overprescribed methadone, oxycodone, and

   hydrocodonel2 to patients in Hopkins County and continued to do so after relinquishing his DEA

   license by using a colleague's signature stamp.I3 Dr. O'Neal's license has been revoked by the

   Texas Medical Board.' 4 Hopkins County is not, however, seeking damages under claims of medical

   malpractice or medical professional negligence.

                  HOWARD GREGG DIAMOND, M.D. is an individual residing in Sherman,

   Grayson County, Texas, and may be served with citation at Fannin County Jail, 725 County Road

   4200, Bonham, TX 75418, or wherever he may be found. Dr. Diamond, who ran Diamondback




      Sulphur Springs Doctor's License Suspended" (May 24, 2010), http://www/kItv.com/story/12533527/sulphur-
  12 "

  springs-doctors-license-suspended.
  '3 1d.

  14 "Multiple ETX Doctors Disciplined by Medical Board," last viewed October 3, 2017,

  http://easttexasmatters.comMews/local-news-mutiple-etx-doctors-disciplined-by-medical-board/301673397.



   PLAINTIFF'S ORIGINAL PETITION                                                                                13
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  Pain and Wellness Center in Sherman, Grayson County, Texas overprescribed fentanyl,

  hydrocodone, and morphine u to many patients, including those who lived in Hopkins County. Dr.

  Diamond's overprescribing resulted in seven deaths from 2012 to 2016, one of which was a resident

  of Hopkins County.16 Dr. Diamond's license has been suspended by the Texas Medical Board."

  Hopkins County is not, however, seeking damages under claims of medical malpractice or medical

  professional negligence.

                      The County lacks information sufficient to specifically identify the true names or

  capacities, whether individual, corporate or otherwise, of Defendants sued herein under the

  fictitious names DOES 1 through 100 inclusive. The County will amend this Petition to show their

  true names and capacities if and when they are ascertained. Hopkins County is informed and

  believes, and on such information and belief alleges, that each of the Defendants named as a DOE

  has engaged in conduct that contributed to cause events and occurrences alleged in this Petition

  and, as such, shares liability for at least some part of the relief sought herein.

                                      V.       FACTUAL ALLEGATIONS

                      Before the 1990s, generally accepted standards of medical practice dictated that

  opioids should be used only for short-term acute pain — pain relating to recovery from surgery or

  for cancer or palliative (end-of-life) care. Using opioids for chronic pain was discouraged or even

  prohibited because there was a lack of evidence that opioids improved patients' ability to

  overcome pain and function. Instead the evidence demonstrated that patients developed tolerance

  to opioids over time, which increased the risk of addiction and other side effects.



  's Emma Ruby, "Texas Suspends Doctor's License after 7 Drug Deaths, including McKinney Overdose" (July 21,
  2012), http://www.dallasnews.corn/news/crime/2017/07/12/texas-doctor-accused-prescribing-unnecessary-drugs-
  led-7-deaths.
  '6 1d
  17                                                                               _
       Texas Medical Board, http://reg. tmb/state/tx/us/OnLineVerif/Phy_ReportVerif new.asp, last viewed October 18,
  2017.




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                  Defendants dramatically changed doctors' views regarding opioids through a well-

   funded deceptive marketing scheme. Each Defendant used direct marketing and unbranded

   advertising disseminated by seemingly independent third parties to spread false and deceptive

   statements about the risks and benefits of long-term opioid use.

   A.     Defendants Used Multiple Avenues To Disseminate their False and Deceptive
          Statements about Opioids.

                  Defendants spread their false and deceptive statements by (1) marketing their

   branded opioids directly to doctors treating patients residing in Hopkins County and the

   Hopkins County patients themselves and (2) deploying so-called unbiased and independent third

   parties to Hopkins County.

                  1. Defendants Spread and Continue to Spread Their False and Deceptive
                     Statements Through Direct Marketing of Their Branded Opioids.

                  Defendants' direct marketing of opioids generally proceeded on two tracks. First,

   each Defendant conducted advertising campaigns touting the purported benefits of their branded

   drugs. For example, Defendants spent more than $14 million on medical journal advertising of

   opioids in 2011, nearly triple what they spent in 2001, including $8.3 million by Purdue, $4.9

   million by Janssen, and $1.1 million by Endo.

                  A number of Defendants' branded ads deceptively portrayed the benefits of opioids

   for chronic pain. For example, Endo distributed and made available on its website,

   www.opana.com, a pamphlet promoting Opana ER with photographs depicting patients with

   physically demanding jobs like a construction worker and chef, implying that the drug would

   provide long-term pain-relief and functional improvement. Purdue also ran a series of ads, called

  "pain vignettes," for OxyContin in 2012 in medical journals. These ads featured chronic pain

   patients and recommended OxyContin for each. One ad described a "54-year-old writer with




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  osteoarthritis of the hands" and implied that OxyContin would help the writer work more

  effectively. Pursuant to a settlement agreement, Endo and Purdue agreed in late 2015 and 2016 to

  halt these misleading representations in New York, but they may continue to disseminate them in

  Texas.

                 Second, each Defendant promoted the use of opioids for chronic pain through

  "detailers" — sales representatives who visited individual doctors and medical staff in their offices

  — and small-group speaker programs. Defendants devoted massive resources to direct sales

  contacts with doctors. In 2014 alone, Defendants spent $168 million on detailing branded opioids

  to doctors, including $108 million by Purdue, $34 million by Janssen, $13 million by Cephalon,

  $10 million by Endo, and $2 million by Actavis. This amount is twice as much as Defendants spent

  on detailing in 2000.

                 Defendants also identified doctors to serve, for payment, on their speakers' bureaus

  and to attend programs with speakers and meals paid for by Defendants. These speaker programs

  provided: (1) an incentive for doctors to prescribe a particular opioid (so they might be selected to

  promote the drug); (2) recognition and compensation for the doctors selected as speakers; and (3)

  an opportunity to promote the drug through the speaker to his or her peers. These speakers gave

  the false impression that they were providing unbiased and medically accurate presentations when

  they were, in fact, presenting a script prepared by Defendants. On information and belief, these

  presentations conveyed misleading information, omitted material information, and failed to correct

  Defendants' prior misrepresentations about the risks and benefits of opioids.

                 Defendants employed the same marketing plans, strategies, and messages in and

  around Hopkins County, Texas as they did nationwide. Across the pharmaceutical industry, "core

  message" development is funded and overseen on a national basis by corporate headquarters. This




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  comprehensive approach ensures that Defendants' messages are accurately and consistently

  delivered across marketing channels and in each sales territory. Defendants consider this high level

  of coordination and uniformity crucial to successfully marketing their drugs.

                 2. Defendants Used a Diverse Group of Seemingly Independent Third Parties
                     to Spread False and Deceptive Statements about the Risks and Benefits of
                     Opioids.

                 Defendants also deceptively marketed opioids in and around Hopkins County

   through unbranded advertising — i.e., advertising that promotes opioid use generally but does not

  name a specific opioid. This advertising was ostensibly created and disseminated by independent

   third parties. But by funding, directing, reviewing, editing, and distributing this unbranded

  advertising, Defendants controlled the deceptive messages disseminated by these third parties and

  acted in concert with them to falsely and misleadingly promote opioids for treating chronic pain.

                 Unbranded advertising also avoided regulatory scrutiny because Defendants did

  not have to submit it to the FDA, and therefore it was not reviewed by the FDA.

                 Defendants' deceptive unbranded marketing often contradicted their branded

  materials reviewed by the FDA. For example, Endo's unbranded advertising contradicted its

  concurrent, branded advertising for Opana ER:

                       Pain: Opioid Therapy              Opana ER Advertisement

                            (Unbranded)                          (Branded)

                                                     "All patients treated with opioids
                   "People who take opioids as       require careful monitoring for
                    prescribed usually do not        signs of abuse and addiction, since
                    become addicted."                use of opioid analgesic products
                                                     carries the risk of addiction even
                                                     under appropriate medical use."

          a.     Key Opinion Leaders (KOLs)

                 Defendants spoke through a small circle of doctors who, upon information and




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   belief, were selected, funded, and elevated by Defendants because their public positions supported

   using opioids to treat chronic pain. These doctors became known as "key opinion leaders" or

  "KOLs."

                  Defendants paid KOLs to serve as consultants or on their advisory boards and to

   give talks or present CMEs, and their support helped these KOLs become respected industry

   experts. As they rose to prominence, these KOLs touted the benefits of opioids to treat chronic

   pain, repaying Defendants by advancing their marketing goals. KOLs' professional reputations

   became dependent on continuing to promote a pro-opioid message, even in activities that were not

   directly funded by Defendants.

                  KOLs have written, consulted on, edited, and lent their names to books and articles,

  and given speeches and CMEs supportive of chronic opioid therapy. Defendants created

  opportunities for KOLs to participate in research studies Defendants suggested or chose and then

  cited and promoted favorable studies or articles by their KOLs. By contrast, Defendants did not

  support, acknowledge, or disseminate publications of doctors unsupportive or critical of chronic

  opioid therapy.

                  Defendants' KOLs also served on committees that developed treatment guidelines

  that strongly encourage using opioids to treat chronic pain, and on the boards of pro-opioid

  advocacy groups and professional societies that develop, select, and present CMEs. Defendants

  were able to direct and exert control over each of these activities through their KOLs.

                  Pro-opioid doctors are one of the most important avenues that Defendants use to

  spread their false and deceptive statements about the risks and benefits of long-term opioid use.

   Defendants know that doctors rely heavily and less critically on their peers for guidance, and KOLs

  provide the false appearance of unbiased and reliable support for chronic opioid therapy.




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                     Defendants utilized many KOLs, including many of the same ones. Two of the most

  prominent are described below.

                     1. Russell Portenoy

                     Dr. Russell Portenoy, former Chairman of the Department of Pain Medicine and

  Palliative Care at Beth Israel Medical Center in New York, is one example of a KOL who

  Defendants identified and promoted to further their marketing campaign. Dr. Portenoy received

  research support, consulting fees, and honoraria from Cephalon, Endo, Janssen, and Purdue

  (among others), and was a paid consultant to Cephalon and Purdue.

                     Dr. Portenoy was instrumental in opening the door for the regular use of opioids to

  treat chronic pain. He served on the American Pain Society ("APS")/American Academy of Pain

  Medicine ("AAPM") Guidelines Committees, which endorsed the use of opioids to treat chronic

  pain, first in 1997 and again in 2009. He was also a member of the board of the American Pain

  Foundation ("APF"), an advocacy organization almost entirely funded by Defendants.

                     Dr. Portenoy also made frequent media appearances promoting opioids. He

  appeared on Good Morning America in 2010 to discuss using opioids long-term to treat chronic

  pain. On this widely-watched program, broadcast in Texas and across the country, Dr. Portenoy

  claimed: "Addiction, when treating pain, is distinctly uncommon. If a person does not have a

  history, a personal history, of substance abuse, and does not have a history in the family of

  substance abuse, and does not have a very major psychiatric disorder, most doctors can feel very

  assured that that person is not going to become addicted."I8

                     Dr. Portenoy later admitted that he "gave innumerable lectures in the late 1980s




  18
       Good Morning America television broadcast, ABC News (Aug. 30, 2010).


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   and '90s about addiction that weren't true."I9 These lectures falsely claimed that less than 1% of

   patients would become addicted to opioids. According to Dr. Portenoy, because the primary goal

  was to "destigmatize" opioids, he and other doctors promoting them overstated their benefits and

  glossed over their risks. Dr. Portenoy also conceded that "[d]ata about the effectiveness of opioids

  does not exist."2° Portenoy candidly stated: "Did I teach about pain management, specifically

  about opioid therapy, in a way that reflects misinformation? Well.. .1 guess I did."2I

                     2. Lynn Webster

                     Another KOL, Dr. Lynn Webster, was the co-founder and Chief Medical Director

  of Lifetree Clinical Research, an otherwise unknown pain clinic in Salt Lake City, Utah. Dr.

   Webster was President in 2013 and is a current board member of AAPM, a Front Group that

  ardently supports chronic opioid therapy. He is a Senior Editor of Pain Medicine, the same journal

  that published Endo special advertising supplements touting Opana ER. Dr. Webster authored

  numerous CMEs sponsored by Cephalon, Endo, and Purdue while he was receiving significant

  funding from Defendants (including nearly $2 million from Cephalon).

                     In 2011, Dr. Webster presented a program via webinar sponsored by Purdue titled,

  Managing Patient's Opioid Use: Balancing the Need and the Risk. Dr. Webster recommended

  using risk screening tools, such as urine testing and patient agreements as a way to prevent

  "overuse of prescriptions" and "overdose deaths," which was available to and was intended to reach

  doctors treating Hopkins County residents.

                     Dr. Webster also was a leading proponent of the concept of "pseudoaddiction," the

  notion that addictive behaviors should be seen not as warnings, but as indications of undertreated



  19   Thomas Catan & Evan Perez, A Pain-Drug Champion Has Second Thoughts, WALL ST. J., Dec.
       17, 2012.
  20 1d

  2'   Id.



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   pain. In Dr. Webster's description, the only way to differentiate the two was to increase a patient's

   dose of opioids. As he and his co-author wrote in a book entitled Avoiding Opioid Abuse While

   Managing Pain (2007), a book that is still available online, when faced with signs of aberrant

   behavior, increasing the dose "in most cases. . . should be the clinician's first response." Endo

  distributed this book to doctors. Years later, Dr. Webster reversed himself, acknowledging that

  "[pseudoaddiction] obviously became too much of an excuse to give patients more medication."22

          b.      Front Groups

                  Defendants entered into arrangements with seemingly unbiased and independent

   patient and professional organizations to promote opioids for treating chronic pain. Under

   Defendants' direction and control, these "Front Groups" generated treatment guidelines, unbranded

   materials, and programs that favored chronic opioid therapy. They also assisted Defendants by

   responding to negative articles, by advocating against regulatory changes that would limit

   prescribing opioids in accordance with the scientific evidence, and by conducting outreach to

  vulnerable patient populations targeted by Defendants.

                  These Front Groups depended on Defendants for funding and, in some cases, for

  survival. Defendants also exercised control over programs and materials created by these groups

  by collaborating on, editing, and approving their content, and by funding their dissemination. In

  doing so, Defendants made sure these Groups would generate only the messages Defendants wanted

  to distribute. Even so, the Front Groups held themselves out as independent and as serving the needs

  of their members — whether patients suffering from pain or doctors treating those patients.

                  Defendants Cephalon, Endo, Janssen, and Purdue utilized many Front Groups,

  including many of the same ones. Several of the most prominent are described below, but there


  22
     John Fauber & Ellen Gabler, Networking Fuels Painkiller Boom, MILWAUKEE WISC. J. SENTINEL (Feb. 19,
  2012).



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  are many others, including the American Pain Society ("APS"), American Geriatrics Society

  ("AGS"), the Federation of State Medical Boards ("FSMB"), American Chronic Pain Association

  ("ACPA"), American Society of Pain Education ("ASPE"), National Pain Foundation ("NPF")

  and Pain & Policy Studies Group ("PPSG").

                  1. American Pain Foundation ("APF")

                  The most prominent of Defendants' Front Groups was APF, which received more

  than $10 million in funding from opioid manufacturers from 2007 until it closed its doors in May

  2012. Endo alone provided more than half that funding; Purdue was next at $1.7 million.

                  In 2009 and 2010, more than 80% of APF's operating budget came from

  pharmaceutical industry sources. Including industry grants for specific projects, APF received

  about $2.3 million from industry sources out of total income of about $2.85 million in 2009; its

  budget for 2010 projected receipts of roughly $2.9 million from drug companies, out of total

  income of about $3.5 million. By 2011, APF was entirely dependent on incoming grants from

  defendants Purdue, Cephalon, Endo, and others to avoid using its line of credit. As one of its board

  members, Russell Portenoy, explained the lack of funding diversity was one of the biggest

  problems at APF.

                  APF issued education guides for patients, reporters, and policymakers that touted

  the benefits of opioids for chronic pain and trivialized their risks, particularly the risk of addiction.

  APF also engaged in a significant multimedia campaign — through radio, television, and the

  internet — to educate patients about their "right" to pain treatment, namely opioids. All of the

  programs and materials were available nationally and were intended to reach patients and

  consumers in Hopkins County.

                  2. American Academy of Pain Medicine ("AAPM")




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                     The American Academy of Pain Medicine, with the assistance, prompting,

  involvement, and funding of Defendants, issued treatment guidelines and sponsored and hosted

  medical education programs essential to Defendants' deceptive marketing of chronic opioid

  therapy.

                     AAPM received over $2.2 million in funding since 2009 from opioid

  manufacturers. AAPM maintained a corporate relations council, whose members paid $25,000 per

  year (on top of other funding) to participate. The benefits included allowing members to present

  educational programs at off-site dinner symposia in connection with AAPM's marquee event — its

  annual meeting held in Palm Springs, California, or other resort locations. AAPM describes the

  annual event as an "exclusive venue" for offering education programs to doctors. Membership in

  the corporate relations council also allows drug company executives and marketing staff to meet

  with AAPM executive committee members in small settings. Defendants Endo, Purdue, Cephalon,

  and Actavis were members of the council and presented deceptive programs to doctors who

  attended this annual event.

                     AAPM is viewed internally by Endo as "industry friendly," with Endo advisors and

  speakers among its active members. Endo attended AAPM conferences, funded its CMEs, and

  distributed its publications. The conferences sponsored by AAPM heavily emphasized sessions

  on opioids — 37 out of roughly 40 at one conference alone. AAPM's presidents have included top

  industry-supported KOLs Perry Fine, Russell Portenoy, and Lynn Webster. Dr. Webster was even

  elected president of AAPM while under a DEA investigation. Another past AAPM president, Dr.

  Scott Fishman, stated that he would place the organization "at the forefront" of teaching that "the

  risks of addiction are. . . small and can be managed."23



  23   Interview by Paula Moyer with Scott M. Fishman, M.D., Professor of Anesthesiology and Pain Medicine, Chief



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                    AAPM's staff understood they and their industry funders were engaged in a

   common task. Defendants were able to influence AAPM through both their significant and regular

   funding and the leadership of pro-opioid KOLs within the organization.

                    In 1997, AAPM and the American Pain Society jointly issued a consensus

   statement, The Use of Opioids for the Treatment of Chronic Pain, which endorsed opioids to treat

   chronic pain and claimed there was a low risk that patients would become addicted to opioids. The

   co-author of the statement, Dr. Haddox, was at the time a paid speaker for Purdue. Dr. Portenoy

   was the sole consultant. The consensus statement remained on AAPM's website until 2011, and

   was taken down from AAPM's website only after a doctor complained, though it still lingers on

   the internet elsewhere.

                    AAPM and APS issued their own guidelines in 2009 ("AAPM/APS Guidelines")

  and continued to recommend using opioids to treat chronic pain. Fourteen of the 21 panel members

   who drafted the AAPM/APS Guidelines, including KOLs Dr. Portenoy and Dr. Perry Fine of the

   University of Utah, received support from Janssen, Cephalon, Endo, and Purdue.

                    The 2009 Guidelines promote opioids as "safe and effective" for treating chronic

   pain, despite acknowledging limited evidence, and conclude that the risk of addiction is

  manageable for patients regardless of past abuse histories. One panel member, Dr. Joel Saper,

  Clinical Professor of Neurology at Michigan State University and founder of the Michigan

  Headache & Neurological Institute, resigned from the panel because he was concerned the 2009

  Guidelines were influenced by contributions that drug companies, including Defendants, made to

  the sponsoring organizations and committee members. These AAPM/APS Guidelines have been

  a particularly effective channel of deception and have influenced not only treating physicians, but



  of the Division of Pain Medicine, Univ. of Cal., Davis (2005), http://www.medscape.org/viewarticle/500829.


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   also the body of scientific evidence on opioids. The Guidelines have been cited 732 times in

   academic literature, were disseminated in and around Hopkins County during the relevant time

   period, are still available online, and were reprinted in the Journal of Pain.

   B.     Defendants' Marketing Scheme Misrepresented the Risks and Benefits of Opioids.

          82.     To convince doctors treating residents in Hopkins County and Hopkins County

   patients that opioids can and should be used to treat chronic pain, Defendants had to convince them

   that long-term opioid use is both safe and effective. Knowing they could do so only by deceiving

   those doctors and patients about the risks and benefits of long-term opioid use, Defendants made

   claims that were not supported by, or were contrary to, the scientific evidence. Even though

   pronouncements by and guidance from the FDA and the CDC based on that evidence confirm that

   their claims were false and deceptive, Defendants have not corrected them, or instructed their

   KOLs or Front Groups to correct them, and continue to spread them today.

  C.      Defendants Falsely Trivialized or Failed to Disclose the Known Risks of Long-Term
          Opioid Use.

          83.     To convince doctors and patients that opioids are safe, Defendants deceptively

  trivialized and failed to disclose the risks of long-term opioid use, particularly the risk of addiction,

  through a series of misrepresentations that have been conclusively debunked by the FDA and

  CDC. These misrepresentations — which are described below — reinforced each other and created

  the dangerously misleading impression that: (1) starting patients on opioids was low-risk because

  most patients would not become addicted, and because those who were at greatest risk of addiction

  could be readily identified and managed; (2) patients who displayed signs of addiction probably

  were not addicted and, in any event, could easily be weaned from the drugs; (3) the use of higher

  opioid doses, which many patients need to sustain pain relief as they develop tolerance to the drugs,

  do not pose special risks; and (4) abuse-deterrent opioids both prevent abuse and overdose and are



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   inherently less addictive. Defendants have not only failed to correct these misrepresentations, they

   continue to make them today.

          84.     First, Defendants falsely claimed the risk of addiction is low and unlikely to

   develop when opioids are prescribed, as opposed to obtained illicitly; and failed to disclose the

   greater risk of addiction with prolonged use of opioids. For example:

                         Actavis's predecessor caused a patient education brochure to be distributed
                         in 2007 claiming opioid addiction is possible, but "less likely if you have
                         never had an addiction problem." Upon information and belief, based on
                         Actavis's acquisition of its predecessor's marketing materials along with
                         the rights to Kadian, Actavis continued to use this brochure in 2009 and
                         beyond;

                         Cephalon and Purdue sponsored APF's Treatment Options: A Guide for
                         People Living with Pain (2007), which instructed that addiction is rare and
                         limited to extreme cases of unauthorized dose escalations, obtaining
                         duplicative opioid prescriptions from multiple sources, or theft. This
                         publication is still available online;

                         Endo sponsored a website, Painknowledge.com, which claimed in 2009 that
                         "[p]eople who take opioids as prescribed usually do not become addicted."
                         Another Endo website, PainAction.com, stated "Did you know? Most
                         chronic pain patients do not become addicted to the opioid medications that
                         are prescribed for them;"

                         Endo distributed a pamphlet with the Endo logo entitled Living with
                         Someone with Chronic Pain, which stated that: "Most health care providers
                         who treat people with pain agree that most people do not develop an
                         addiction problem." A similar statement appeared on the Endo website,
                         www.opana.com;

                         Janssen reviewed, edited, approved, and distributed a patient education
                         guide entitled Finding Relief: Pain Management for Older Adults (2009),
                         which described as "myth" the claim that opioids are addictive, and asserted
                         as fact that "[m]any studies show that opioids are rarely addictive when used
                         properly for the management of chronic pain;"

                         Janssen currently runs a website, Prescriberesponsibly.com (last updated
                         July 2, 2015), which claims that concerns about opioid addiction are
                         "overestimated;"

                         Purdue sponsored APF's A Policymaker's Guide to Understanding Pain &



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                            Its Management — which claims that less than 1% of children prescribed
                            opioids will become addicted and that pain is undertreated due to
                            "misconceptions about opioid addiction[]." This publication is still
                            available online; and

                   h.       Detailers for Purdue, Endo, Janssen, and Cephalon in and around Hopkins
                            County minimized or omitted any discussion with doctors of the risk of
                            addiction; misrepresented the potential for opioid abuse with purportedly
                            abuse-deterrent formulations; and routinely did not correct the
                            misrepresentations noted above.

                   These claims contradict longstanding scientific evidence, as the FDA and CDC

  have conclusively declared. As noted in the 2016 CDC Guideline endorsed by the FDA, there is

  "extensive evidence" of the "possible harms of opioids (including opioid use disorder [an

  alternative term for opioid addiction])."24 The guideline points out that "[o]pioid pain medication

  use presents serious risks, including.. .opioid use disorder" and that "continuing opioid therapy for

  3 months substantially increases risk for opioid use disorder."25

                   The FDA further exposed the falsity of Defendants' claims about the low risk of

  addiction when it announced changes to the labels for ER/LA opioids in 2013 and for IR opioids

  in 2016. In its announcements, the FDA discussed the risks related to opioid use and that IR

  opioids are associated with "persistent abuse, addiction, overdose mortality, and risk of NOWS

  [neonatal opioid withdrawal syndrome] "26

                   According to the FDA, because of the risks associated with long-term opioid use,

  including "the serious risk of addiction, abuse, misuse, overdose, and death,"27 opioids should be

  "reserved for pain severe enough to require opioid treatment and for which alternative treatment




  24 CDC Guideline for Prescribing Opioids for Chronic Pain— United States 2016, Centers for Disease Control and

  Prevention (Mar. 18, 2016).
  "
  " FDA Announcement of Enhanced Warnings for Immediate-Release Opioid Pain Medications Related to Risks of
  Misuse, Abuse, Addiction, Overdose and Death, Federal Drug Administration (Mar. 22, 2016)
  27 1d.




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  options (e.g., non-opioid analgesics or opioid combination products, as appropriate) are inadequate

  or not tolerated."28

                      The warnings on Defendants' own FDA-approved drug labels caution that opioids

  "exposes users to risks of addiction, abuse and misuse, which can lead to overdose and death"29

  and that addiction "can occur in patients appropriately prescribed"30 opioids.


                      Second, Defendants falsely instructed doctors and patients that signs of addiction

  are actually signs of undertreated pain and should be treated by prescribing more opioids.

  Defendants called this phenomenon "pseudoaddiction" — a term coined by Dr. David Haddox, who

  went to work for Purdue, and popularized by Dr. Russell Portenoy, a KOL for Cephalon, Endo,

  Janssen, and Purdue — and claimed that pseudoaddiction is substantiated by scientific evidence.

  For example:

                               Cephalon and Purdue sponsored Responsible Opioid Prescribing (2007),
                               which taught that behaviors such as "requesting drugs by name,"
                               "demanding or manipulative behavior," seeing more than one doctor to
                               obtain opioids, and hoarding, are all signs of pseudoaddiction, rather than
                               true addiction. Responsible Opioid Prescribing remains for sale online.
                               The 2012 edition continues to teach that pseudoaddiction is real;

                               Janssen sponsored, funded, and edited the Let 's Talk Pain website, which
                               in 2009 stated: "pseudoaddiction . . . refers to patient behaviors that may
                               occur when pain is under-treated . . . . Pseudoaddiction is different from
                               true addiction because such behaviors can be resolved with effective pain
                               management;"

                               Endo sponsored a National Initiative on Pain Control (NIPC) CME
                               program in 2009 titled Chronic Opioid Therapy: Understanding Risk
                               While Maximizing Analgesia, which promoted pseudoaddiction by
                               teaching that a patient's aberrant behavior was the result of untreated pain.
                               Endo substantially controlled NIPC by funding NIPC projects;
                               developing, specifying, and reviewing content; and distributing NIPC
                               materials;


  28   1d
  29   See, e.g., OxyContin label and insert at OxyContin.com.
       Id.



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                              Purdue published a pamphlet in 2011 entitled Providing Relief
                              Preventing Abuse, which described pseudoaddiction as a concept that
                              "emerged in the literature" to describe the inaccurate interpretation of
                              [drug-seeking behaviors] in patients who have pain that has not been
                              effectively treated;" and

                              Purdue sponsored a CME program entitled Path of the Patient, Managing
                              Chronic Pain in Younger Adults at Risk for Abuse. In a role play, a
                              chronic pain patient with a history of drug abuse tells his doctor that he
                              is taking twice as many hydrocodone pills as directed. The narrator notes
                              that because of pseudoaddiction, the doctor should not assume the patient
                              is addicted even if he persistently asks for a specific drug, seems
                              desperate, hoards medicine, or "overindulges in unapproved escalating
                              doses." The doctor treats this patient by prescribing a high-dose, long-
                              acting opioid.

                      The 2016 CDC Guideline rejects the concept of pseudoaddiction. The Guideline

  nowhere recommends that opioid dosages be increased if a patient is not experiencing pain relief.

  To the contrary, the Guideline explains that "[p]atients who do not experience clinically

  meaningful pain relief early in treatment.. .are unlikely to experience pain relief with longer-term

  use,"31 and that physicians should "reassess[] pain and function within 1 month"32 in order to

  decide whether to "minimize risks of long-term opioid use by discontinuing opioids"33 because the

  patient is "not receiving a clear benefit."34

                      Third, Defendants falsely instructed doctors and patients that addiction risk

  screening tools, patient contracts, urine drug screens, and similar strategies allow them to reliably

  identify and safely prescribe opioids to patients predisposed to addiction. These misrepresentations

  were especially insidious because Defendants aimed them at general practitioners and family

  doctors who lack the time and expertise to closely manage higher-risk patients. Defendants'




  31   CDC Guidelines for Prescribing Opioids for Chronic Pain, supra.
  "
  33   1d
  34   Id.



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  misrepresentations made these doctors feel more comfortable prescribing opioids to their patients,

  and patients more comfortable starting opioid therapy for chronic pain. For example:

                             Endo paid for a 2007 supplement in the Journal of Family Practice written
                             by a doctor who became a member of Endo's speakers' bureau in 2010. The
                             supplement, entitled Pain Management Dilemmas in Primary Care: Use of
                             Opioids, emphasized the effectiveness of screening tools, claiming that
                             patients at high risk of addiction could safely receive chronic opioid therapy
                             using a "maximally structured approach" involving toxicology screens and
                             pill counts;

                             Purdue sponsored a 2011 webinar, Managing Patient's Opioid Use:
                             Balancing the Need and Risk, which claimed that screening tools, urine
                             tests, and patient agreements prevent "overuse of prescriptions" and
                             "overdose deaths:" and

                             As recently as 2015, Purdue has represented in scientific conferences that
                             "bad apple" patients — and not opioids — are the source of the addiction crisis
                             and that once those "bad apples" are identified, doctors can safely prescribe
                             opioids without causing addiction.

                    Once again, the 2016 CDC Guideline confirms these representations are false. The

  Guideline notes that there are no studies assessing the effectiveness of risk mitigation strategies —

  such as screening tools, patient contracts, urine drug testing, or pill counts, widely believed by

  doctors to detect and deter abuse, "for improving outcomes related to overdose, addiction, abuse,

  or misuse."35 As a result, the Guideline recognizes that available risk screening tools "show

  insufficient accuracy for classification of patients as at low or high risk for [opioid] abuse or

  misuse"36 and counsels that doctors "should not overestimate the ability of these tools to rule out

  risks from long-term opioid therapy."37

                    Fourth, to underplay the risk and impact of addiction and make doctors feel more


  comfortable starting patients on opioids, Defendants falsely claimed that opioid dependence can




  35CDC   Guidelines for Prescribing Opioids for Chronic Pain, supra.
  361d
  37 Id




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  easily be addressed by tapering and that opioid withdrawal is not a problem thereby failing to

  disclose the increased difficulty of stopping opioids after long-term use.

                   For example, a CME sponsored by Endo, entitled Persistent Pain in the Older

  Adult, claimed that withdrawal symptoms can be avoided by tapering a patient's opioid dose by

  10%-20% for 10 days. And Purdue sponsored APF's A Policymaker's Guide to Understanding

  Pain & Its Management, which claimed that "[s]ymptoms of physical dependence can often be

  ameliorated by gradually decreasing the dose of medication during discontinuation."

                   Defendants deceptively minimized the significant symptoms of opioid withdrawal,

  which, as explained in the 2016 CDC Guideline, include drug cravings, anxiety, insomnia,

  abdominal pain, vomiting, diarrhea, sweating, tremor, tachycardia (rapid heartbeat), spontaneous

  abortion and premature labor in pregnant women, and the unmasking of anxiety, depression, and

  addiction — and grossly understated the difficulty of tapering, particularly after long-term opioid

  use.

                   Yet the 2016 CDC Guideline recognizes that the duration of opioid use and the

  dosage of opioids prescribed should be limited to "minimize the need to taper opioids to prevent

  distressing or unpleasant withdrawal symptoms,"38 because "physical dependence on opioids is an

  expected physiologic response in patients exposed to opioids for more than a few days."39 The

  Guideline further states that "tapering opioids can be especially challenging after years on high

  dosages because of physical and psychological dependence"4° and highlights the difficulties,

  including the need to carefully identify "a taper slow enough to minimize symptoms and signs of

  opioid withdrawal"' and pausing and restarting tapers depending on the patient's response.


  38
     CDC Guidelines for Prescribing Opioids for Chronic Pain, supra.
  39 1d

  40 1d

  41 CDC Guidelines for Prescribing Opioids for Chronic Pain, supra.




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                 The CDC also acknowledges the lack of any "high-quality studies comparing the

  effectiveness of different tapering protocols for use when opioid dosage is reduced or opioids are

  discontinued."42

                 Fifth, Defendants falsely claimed that doctors and patients could increase opioid

  dosages indefinitely without added risk and failed to disclose the greater risks to patients at higher

  dosages. The ability to escalate dosages was critical to Defendants' efforts to market opioids for

  long-term use to treat chronic pain because, absent this misrepresentation, doctors would have

  abandoned treatment when patients built up tolerance and lower dosages did not provide pain

  relief. For example:

                         Actavis's predecessor created a patient brochure for Kadian in 2007 that
                         stated, "Over time, your body may become tolerant of your current dose.
                         You may require a dose adjustment to get the right amount of pain relief.
                         This is not addiction." Upon information and belief, based on Actavis's
                         acquisition of its predecessor's marketing materials along with the rights to
                         Kadian, Actavis continued to use these materials in 2009 and beyond;

                         Cephalon and Purdue sponsored APF's Treatment Options: A Guide for
                         People Living with Pain (2007), which claims that some patients "need" a
                         larger dose of an opioid, regardless of the dose currently prescribed. The
                         guide stated that opioids have "no ceiling dose" and are therefore the most
                         appropriate treatment for severe pain. This guide is still available for sale
                         online;

                         Endo sponsored a website, painknowledge.com, which claimed in 2009 that
                         opioid dosages may be increased until "you are on the right dose of
                         medication for your pain;"

                         Endo distributed a pamphlet edited by a KOL entitled Understanding Your
                         Pain: Taking Oral Opioid Analgesics, which was available during the time
                         period of this Complaint on Endo's website. In Q&A format, it asked "If I
                         take the opioid now, will it work later when I really need it?" The response
                         is, "The dose can be increased. . . . You won't 'run out' of pain relief;"

                         Janssen sponsored a patient education guide entitled Finding Relief Pain
                         Management for Older Adults (2009), which was distributed by its sales


  42   1d.


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                            force. This guide listed dosage limitations as "disadvantages" of other pain
                            medicines but omitted any discussion of risks of increased opioid dosages;

                            Purdue's In the Face of Pain website promotes the notion that if a patient's
                            doctor does not prescribe what, in the patient's view, is a sufficient dosage
                            of opioids, he or she should find another doctor who will;

                            Purdue sponsored AF'F's A Policymaker's Guide to Understanding Pain &
                            Its Management, which taught that dosage escalations are "sometimes
                            necessary," even unlimited ones, but did not disclose the risks from high
                            opioid dosages. This publication is still available online;

                            Purdue sponsored a CME entitled Overview ofManagement Options that is
                            still available for CME credit. The CME was edited by a KOL and taught
                            that NSAIDs and other drugs, but not opioids, are unsafe at high dosages;
                            and

                            Purdue presented a 2015 paper at the College on the Problems of Drug
                            Dependence, the "the oldest and largest organization in the US dedicated to
                            advancing a scientific approach to substance use and addictive disorders,"
                            challenging the correlation between opioid dosage and overdose.

                   These claims conflict with the scientific evidence, as confirmed by the FDA and

  CDC. As the CDC explains in its 2016 Guideline, the "[Nenefits of high-dose opioids for chronic

  pain are not established"43 while the "risks for serious harms related to opioid therapy increase at

  higher opioid dosage."44

                   More specifically, the CDC explains that "there is now an established body of

  scientific evidence showing that overdose risk is increased at higher opioid dosages."45 Similarly,

  there is an "increased risk for opioid use disorder, respiratory depression, and death at higher

  dosages."46 That is why the CDC advises doctors to avoid increasing dosages above 90 morphine

  milligram equivalents per day.

                   The 2016 CDC Guideline reinforces earlier findings announced by the FDA. In


  43 CDC Guidelines for Prescribing Opioids for Chronic Pain, supra.
  44   !d
  45 1d.
  46   Id




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  2013, the FDA acknowledged that available data suggested that increasing the opioid dosage

  likewise increased certain adverse events. For example, the FDA noted that studies suggest a

  positive association between high-dose opioid use and overdoses.

                  Finally, Defendants' deceptive marketing of the so-called abuse-deterrent

  properties of some of their opioids has created false impressions that these opioids can curb

  addiction and abuse.

                  More specifically, Defendants have made misleading claims about the ability of

  their so-called abuse-deterrent opioid formulations to deter abuse. For example, Endo's

  advertisements for the 2012 reformulation of Opana ER claimed that it was designed to be crush

  resistant in a way that suggested it was more difficult to abuse. This claim was false.

                   The FDA warned in a 2013 letter that there was no evidence Endo's design would

  provide a reduction in oral, intranasal or intravenous abuse.47 Moreover, Endo's own studies,

  which it failed to disclose, showed that Opana ER could still be ground and chewed.

                  In a 2016 settlement with the State of New York, Endo agreed not to make

  statements in New York that Opana ER was designed to be or is crush resistant. The State found

  those statements false and deceptive because there was no difference in the ability to extract the

  narcotic from Opana ER.

                  Similarly, the 2016 CDC Guideline states that no studies support the notion that

  "abuse-deterrent technologies [are] a risk mitigation strategy for deterring or preventing abuse,"48

  noting that the technologies — even when they work — "do not prevent opioid abuse through oral

  intake, the most common route of opioid abuse, and can still be abused by non-oral routes."49




     See FDA Statement: Original Opana ER Relisting Determination (May 10, 2013).
  48 CDC Guidelines for Prescribing Opioids for Chronic Pain, supra.
  49 id




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                   These numerous, long-standing misrepresentations of the risks of long-term opioid

  use spread by Defendants successfully convinced doctors and patients to discount those risks.

  D.       Defendants Grossly Overstated the Benefits of Chronic Opioid Therapy.

                   To convince doctors and patients that opioids should be used to treat chronic pain,

  Defendants had to persuade them that there was a significant benefit to long-term opioid use. But

  as the 2016 CDC Guideline makes clear, there is "insufficient evidence to determine the long-

  term benefits of opioid therapy for chronic pain."50

                   In fact, the CDC found no evidence showing "a long-term benefit of opioids in

  pain and function versus no opioids for chronic pain with outcomes examined at least 1 year later

  (with most placebo-controlled randomized trials < 6 weeks in duration)"51 and that other

  treatments were more or equally beneficial and less harmful than long-term opioid use. The FDA,

  too, has recognized the lack of evidence to support long-term opioid use.

                   In 2013, the FDA stated that it was unaware of any studies demonstrating the

  safety and efficacy of opioids for long-term use.52 Despite this lack of studies, Defendants falsely

  and misleadingly touted the benefits of long-term opioid use and suggested that these benefits

  were supported by scientific evidence. Not only have Defendants failed to correct these false and

  deceptive claims, they continue to make them today. For example:

                           Actavis distributed an advertisement that claimed that the use of Kadian to
                           treat chronic pain would allow patients to return to work, relieve "stress on
                           your body and your mental health," and help patients enjoy their lives;

                           Endo distributed advertisements that claimed that the use of Opana ER for
                           chronic pain would allow patients to perform demanding tasks like
                           construction work or work as a chef and portrayed seemingly healthy,
                           unimpaired subjects;

  50 1d.

  "
  52
    Letter from Janet Woodcock, M.D., Dir., Ctr. For Drug Eval. & Res., to Andrew Kolodny, M.D., Pres. Physicians
  for Responsible Opioid Prescribing, Re Docket No. FDA-2012-P-0818 (Sept. 10, 2013).



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                    Janssen sponsored and edited a patient education guide entitled Finding
                    Relief Pain Management for Older Adults (2009) — which states as "a fact"
                    that "opioids may make it easier for people to live normally." The guide
                    lists expected functional improvements from opioid use, including sleeping
                    through the night, returning to work, recreation, sex, walking, and climbing
                    stairs;

                    Purdue ran a series of advertisements for OxyContin in 2012 in medical
                    journals entitled "pain vignettes," which were case studies featuring
                    patients with pain conditions persisting over several months and
                    recommending OxyContin for them. The ads implied that OxyContin
                    improves patients' function;

                    Responsible Opioid Prescribing (2007), sponsored and distributed by
                    Cephalon, Endo and Purdue, taught that relief of pain by opioids, by itself,
                    improved patients' function. The book remains for sale online;

                    Cephalon and Purdue sponsored APF's Treatment Options: A Guide for
                    People Living with Pain (2007), which counseled patients that opioids "give
                    [pain patients] a quality of life we deserve." The guide was available online
                    until APF shut its doors in 2012;

                    Endo's NIPC website painknowledge.com claimed in 2009 that with
                    opioids, "your level of function should improve; you may find you are now
                    able to participate in activities of daily living, such as work and hobbies,
                    that you were not able to enjoy when your pain was worse." Elsewhere, the
                    website touted improved quality of life (as well as "improved function") as
                    benefits of opioid therapy. The grant request that Endo approved for this
                    project specifically indicated NIPC's intent to make misleading claims
                    about function, and Endo closely tracked visits to the site;

                    Endo was the sole sponsor, through NIPC, of a series of CMEs titled
                    Persistent Pain in the Older Patient, which claimed that chronic opioid
                    therapy has been "shown to reduce pain and improve depressive symptoms
                    and cognitive functioning." The CME was disseminated via webcast;

                    Janssen sponsored, funded, and edited a website, Let's Talk Pain, in 2009,
                    which featured an interview edited by Janssen claiming that opioids allowed
                    a patient to "continue to function." This video is still available today on
                    YouTube;

                    Purdue sponsored the development and distribution of AF'F's A
                    Policymaker's Guide to Understanding Pain & Its Management, which
                    claimed that "multiple clinical studies" have shown that opioids are
                    effective in improving daily function, psychological health, and health-



  PLAINTIFF'S ORIGINAL PETITION                                                               36
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                              related quality of life for chronic pain patients." The Policymaker's Guide
                              was originally published in 2011 and is still available online today;

                      k.      Abbott's sales representatives were not only instructed to misrepresent the
                              so-called benefits of OxyContin to doctors, such as it having a less euphoric
                              effect than other opioids, but were being offered $20,000.00 cash prizes and
                              luxury vacations for doing so; and

                      I.      Purdue's, Cephalon's, Endo's, and Janssen's sales representatives have
                              conveyed and continue to convey the message that opioids will improve
                              patient function.

             111. These claims find no support in the scientific literature. Most recently, the 2016

  CDC Guideline, approved by the FDA, concluded, "There is no good evidence that opioids

   improve pain or function with long-term use"' and "complete relief of pain is unlikely."54

  (Emphasis added.) The CDC reinforced this conclusion throughout its 2016 Guideline:

                              "No evidence shows a long-term benefit of opioids in pain and function
                              versus no opioids for chronic pain with outcomes examined at least 1 year
                              later .

                              "Although opioids can reduce pain during short-term use, the clinical
                              evidence review found insufficient evidence to determine whether pain
                              relief is sustained and whether function or quality of life improves with
                              long-term opioid therapy;"56 and

                              "[E]vidence is limited or insufficient for improved pain or function with
                              long-term use of opioids for several chronic pain conditions for which
                              opioids are commonly prescribed, such as low back pain, headache, and
                              fibromyalgia."57

             112. The CDC also noted that the risks of addiction and death "can cause distress and

  inability to fulfill major role obligations."58 As a matter of common sense (and medical evidence),

  drugs that can kill patients or commit them to a life of addiction or recovery do not improve their



  'CDC Guidelines for Prescribing Opioids for Chronic Pain, supra.
   54 Id

  55   1d.
  56
       CDC Guidelines for Prescribing Opioids for Chronic Pain, supra.
  57   Id.
  58 1d




   PLAINTIFF'S ORIGINAL PETITION                                                                        37
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   function and quality of life.

                    The 2016 CDC Guideline was not the first time a federal agency repudiated

   Defendants' claim that opioids improved function and quality of life. In 2010, the FDA warned

   Actavis that "[w]e are not aware of substantial evidence or substantial clinical experience

   demonstrating that the magnitude of the effect of the drug [Kadian] has in alleviating pain, taken

   together with any drug-related side effects patients may experience...results in any overall positive

   impact on a patient's work, physical and mental functioning, daily activities, or enjoyment of

   I ife."59

                    Defendants also falsely emphasized or exaggerated the risks of competing products

   like NSAIDs so that doctors and patients would look to opioids first for treating chronic pain.

   Once again, Defendants' misrepresentations contravene pronouncements by and guidance from

   the FDA and CDC based on the scientific evidence.

                   Consequently, the FDA changed the labels for ER/LA opioids in 2013 and IR

   opioids in 2016 to state that opioids should be used only as a last resort where alternative

   treatments like non-opioid drugs are inadequate. And the 2016 CDC Guideline states that NSAIDs,

   not opioids, should be the first-line treatment for chronic pain, particularly arthritis and lower back

   pain.

                   In addition, Purdue misleadingly promoted OxyContin as unique among opioids in

   providing 12 continuous hours of pain relief with one dose. In fact, OxyContin does not last for

   12 hours — a fact that Purdue has known at all times relevant to this action.

                   According to Purdue's own research, OxyContin wears off in under six hours in one



     Warning Letter from Thomas Abrams, Dir., FDA Div. of Mktg., Adver., & Commc'ns, to Doug Boothe, CEO,
   Actavis Elizabeth LLC (Feb. 18, 2010), http://www.fda.gov/Drugs/GuidanceComplianceRegulatoryInformation/
   EnforcementActivitiesbyFDA/WamingLettersandNoticeofViolationLetterstoPharmaceuticalCompanies/
   ucm259240.htm.



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   quarter of patients and in under 10 hours in more than half. The reason is that OxyContin tablets

   release approximately 40% of their active medicine immediately, after which release tapers.

   Although the patient experiences a powerful initial response, there is little or no pain relief at the

   end of the dosing period because less medicine is released.

                  This phenomenon is known as "end of dose" failure, and the FDA found in 2008

   that a substantial number of chronic pain patients taking OxyContin experience it.

                  This "end of dose" failure not only renders Purdue's promise of 12 hours of relief

   false and deceptive, it also makes OxyContin more dangerous because the declining pain relief

   patients experience toward the end of each dosing period drives them to take more OxyContin

   before the next dosing period begins, quickly increasing the amount of drug they are taking and

   spurring growing dependence.

                  Purdue's competitors were aware of this problem. For example, Endo ran

  advertisements for Opana ER referring to "real" 12-hour dosing. Nevertheless, Purdue falsely

  promoted OxyContin as if it were effective for a full 12 hours. Indeed, Purdue's sales

  representatives continue to tell doctors in and around Hopkins County that OxyContin lasts a full

   12 hours.

  E.      Defendants also engaged in Other Unlawful, Unfair, and Fraudulent Misconduct.

                  Cephalon deceptively marketed its opioids Actiq and Fentora for chronic pain even

  though the FDA has expressly limited their use to the treatment of cancer pain in opioid-tolerant

  individuals.

                  Both Actiq and Fentora are extremely powerful fentanyl-based IR opioids. Neither

  is approved for or has been shown to be safe or effective for chronic pain. Indeed, the FDA

  expressly prohibited Cephalon from marketing Actiq for anything but cancer pain, and refused to




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   approve Fentora for the treatment of chronic pain because of the potential harm, including the high

   risk of "serious and life-threatening adverse events" and abuse — which are greatest in non-cancer

   patients.

           123. The FDA also issued a Public Health Advisory in 2007 emphasizing that Fentora

   should be used only for cancer patients who are opioid-tolerant and should not be used for any

   other conditions, such as migraines, post-operative pain, or pain due to injury.

           124. Despite this advisory, Cephalon conducted and continues to conduct a well-funded

   campaign to promote Actiq and Fentora for chronic pain and other non-cancer conditions for which

   it was not approved, appropriate, or safe. As part of this campaign, Cephalon used CMEs, speaker

   programs, KOLs, journal supplements, and detailing by its sales representatives to give doctors the

   false impression that Actiq and Fentora are safe and effective for treating non-cancer pain. For

  example:

                          Cephalon paid to have a CME it sponsored, Opioid-Based Management of
                          Persistent and Breakthrough Pain, published in a supplement of Pain
                          Medicine News in 2009. The CME instructed doctors that "clinically, broad
                          classification of pain syndromes as either cancer, or non-cancer, related has
                          limited utility" and recommended Actiq and Fentora for patients with
                          chronic pain. The CME is still available online;

                          Cephalon's sales representatives set up hundreds of speaker programs for
                          doctors, including many non-oncologists, which promoted Actiq and
                          Fentora for the treatment of non-cancer pain; and

                          In December 2011, Cephalon widely disseminated a journal supplement
                          entitled "Special Report: An Integrated Risk Evaluation and Mitigation
                          Strategy for Fentanyl Buccal Tablet (FENTORA) and Oral Transmucosal
                          Fentanyl Citrate (ACTIQ)" to Anesthesiology News, Clinical Oncology
                          News, and Pain Medicine News — three publications that are sent to
                          thousands of anesthesiologists and other medical professionals. The Special
                          Report openly promotes Fentora for "multiple causes of pain" — and not just
                          cancer pain.

           125. Cephalon's deceptive marketing gave doctors and patients the false impression that




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  Actiq and Fentora were safe and effective not only for treating chronic pain, but were also

  approved by the FDA for such uses.

                   Insys committed outright fraud and bribery in disseminating its drug, Subsys. Like

  Actiq and Fentora, Subsys was intended for breakthrough or cancer pain. Because the drug was

  so expensive, however, the insurance companies would pay for it only if there was prior

  authorization for the drug.

                   Insys developed an elaborate scam in which their own employees posed on the

  telephone as employees for prescribing physicians who then contacted the insurance companies to

  obtain prior authorization for Subsys. Insys' employees had a script to use in which they were

  instructed to use the words "breakthrough pain" and to avoid the word "cancer" thereby allowing

  the opioid to be prescribed for chronic pain.

                   Subsys sales representatives also bribed doctors in exchange for prescribing

  Subsys.6° Two former Insys sales representatives plead guilty in July 2017 to bribery, which

  involved "violating the federal anti-kickback law for participating in a speaker program that

  prosecutors say was used to reward doctors and other medical practitioners for prescribing Subsys,

  which contains fentanyl and carries a high risk of dependency."61

                   On October 26, 2017, federal agents arrested John Kapoor, the founder and former

  CEO of Insys, for racketeering, conspiracy, bribery, and fraud.62 The charges revolve around

  allegations that Insys paid bribes to numerous physicians to prescribe Subsys.63

                   It has been reported that Insys made 18,000 payments to doctors in 2016 totaling



  60 Ed Silverman, Former Insys Reps Plead Guilty to Bribing Docs for Opioid Prescribing; They Wanted "Money"
  and Dark Chocolate," (July 12, 2017), https://www.statnews.com/;harmalot/2017/07/12/insys-reps-bribes-doctors.
  61
     Id.
  62 Pat Milton and Laura Strickler, "Drug Company Founder John Kapoor Arrested for Alleged Opioid Scheme,"

  (Oct. 27, 2017), https://www.cbsnews.com/drug-company-founder-john-kapoor-arrested-for-alleged-opioid-scheme.
  63 1d




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   more than $2 million.64

                   Insys not only intended to deceive prescribing physicians into believing Subsys was

   safe and effective for chronic pain by deliberately lying to insurance companies to ensure payment

   for its drug, but its agents and employees bribed doctors and other medical practitioners if they

   would prescribe its drug.

                  Other Defendants herein participated in illicit and unlawful prescribing of its drugs.

   For example, Purdue did not report illegal prescribing of OxyContin until years after law

   enforcement shut down a Los Angeles clinic that prescribed more than 1.1 million OxyContin

   tablets. In doing so, Purdue protected its own profits at the expense of public health and safety.

                   The State of New York also found that Endo failed to require sales representatives

   to report signs of abuse, diversion, and inappropriate prescribing; paid bonuses to sales

   representatives for detailing prescribers who were subsequently arrested or convicted for illegal

   prescribing; and failed to prevent sales representatives from visiting prescribers whose suspicious

   conduct had caused them to be placed on a no-call list.


   F.       Defendants Targeted Susceptible Prescribers and Vulnerable Patient Populations.

                  As a part of their deceptive marketing scheme, Defendants identified and targeted

   susceptible prescribers and vulnerable patient populations in the U.S. and in and around Hopkins

   County. For example, Defendants focused their deceptive marketing on primary care doctors, who

   were more likely to treat chronic pain patients and prescribe opioids, but were less likely to be

   educated about treating pain and the risks and benefits of opioids.

                  Defendants also targeted vulnerable patient populations like the elderly and

   veterans, who tend to suffer from chronic pain. Defendants targeted these vulnerable patients even


   64   I




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   though the risks of long-term opioid use were significantly greater for them.

                  For example, the 2016 CDC Guideline observes that existing evidence shows that

   elderly patients taking opioids suffer from elevated fall and fracture risks, greater risk of

   hospitalization, and increased vulnerability to adverse drug effects and interactions. The Guideline

   therefore concludes that there are "special risks of long-term opioid use for elderly patients" and

   recommends that doctors use "additional caution and increased monitoring" to minimize the risks

   of opioid use in elderly patients.

                  The same is true for veterans, who are more likely to use anti-anxiety drugs

   (benzodiazepines) for post-traumatic stress disorder, which interact dangerously with opioids.

   G.     Although Defendants knew that their Marketing of Opioids was False and Deceptive,
          they Fraudulently Concealed their Misconduct.

                  Defendants, both individually and collectively, made, promoted, and profited from

   their misrepresentations about the risks and benefits of opioids for chronic pain even though they

   knew their misrepresentations were false and deceptive. The history of opioids, as well as research

   and clinical experience over the last 20 years, established that opioids were highly addictive and

   responsible for a long list of very serious adverse outcomes.

                  Not only did the FDA and other regulators warn Defendants, but Defendants had

   access to scientific studies, detailed prescription data, and reports of adverse events, including

   reports of addiction, hospitalization, and deaths — all of which made clear the harms from long-term

   opioid use, including the suffering from addiction, overdoses, and death in alarming numbers in

   patients using opioids.

                  More recently, the FDA and CDC have issued pronouncements based on the

   medical evidence that conclusively expose the known falsity of Defendants' misrepresentations,

   and Endo and Purdue have recently entered agreements prohibiting them from making some of the




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   same misrepresentations described herein in New York.

                    Moreover, Defendants took steps to avoid detection of and to fraudulently conceal

   their deceptive marketing and unlawful, unfair, and fraudulent conduct. For example, Defendants

   disguised their own role in the deceptive marketing of chronic opioid therapy by funding and

   working through third parties like Front Groups and KOLs.

                    Finally, Defendants manipulated their promotional materials and the scientific

   literature to make it appear that these items were accurate, truthful, and supported by objective

   evidence when they were not.

                    Thus, Defendants successfully concealed from the medical community and patients

   facts sufficient to arouse suspicion of the claims Hopkins County now asserts. Hopkins County did

   not know of the existence or scope of Defendants' industry-wide fraud and could not have acquired

   such knowledge earlier through the exercise of reasonable diligence.

   H.      By Increasing Opioid Prescriptions and Use, Defendants' Deceptive Marketing
           Scheme has fueled the Opioid Epidemic and Devastated Hopkins County
           Communities.

                    Defendants' misrepresentations deceived doctors and patients about the risks and

   benefits of long-term opioid use. Studies reveal that many doctors and patients are unaware of or

   do not understand the risks or benefits of opioids. Indeed, patients often report that they were not

   warned they might become addicted to opioids prescribed to them. As reported in January 2016,

   a 2015 survey of more than 1,000 opioid patients found that 4 out of 10 were not told opioids were

   potentially add ictive.65

                    Defendants' deceptive marketing scheme caused and continues to cause doctors in



   65Hazelden Betty Ford Foundation, Missed Questions, Missed Opportunities (Jan. 27, 2016), available at
   http://www.hazeldenbettyford.org/about-usinews-and-media/pressrelease/doctors-missing-questions-that-could-
   prevent-opioid-addiction.



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   and around Hopkins County to prescribe opioids for chronic pain conditions such as back pain,

   headaches, arthritis, and fibromyalgia. Absent Defendants' deceptive marketing scheme, these

   doctors would not have prescribed as many opioids.

                    For example, Defendants' deceptive marketing scheme allowed Dr. Don Martin

   O'Neal to promote, over-prescribe, and financially benefit from prescribing opioids for to patients

   complaining of chronic pain.

                    Dr. O'Neal was employed by the Sulphur Spring Medical-Surgical Clinic in Sulphur

   Springs, which services residents of Hopkins County.66 This clinic specialized in nursing home

   patient treatment.°

                    Dr. O'Neal prescribed 40 to 50 of his patients "significant quantities" of methadone,

   oxycodone, hydrocodone, and benzodiazepines as reported by a pharmacist in November 2008.68

   Essentially 80% of Dr. O'Neal's patients were receiving high dosages of opioids.69

                    To avoid further investigation and potential criminal charges, Dr. O'Neal

   relinquished his DEA certificate in August 2009, which had enabled him to prescribe controlled

   substances.7°

                    But the lack of a DEA certificate did not stop Dr. O'Neal from prescribing his

   patients controlled substances. In January 2010, one of Dr. O'Neal's colleagues discovered that

   Dr. O'Neal had been using his signature stamp to prescribe controlled substances, such as opioids,




   " Kerry Craig, "Change of Venue Sought in O'Neal Cases," Sulphur Springs News-Telegram (Mar. 12, 2011).
   67 " Texas Physician Arrested yet Again on Illegal Money Scheme" (July 13, 2013),
   https://medical m iscreants.com/2013/07/13/texas-physic ian-arrested-yet-agai n-on-il legal-money-scheme/.
   ""Sulphur Springs Doctor's License Suspended" (May 24, 2010), http://www/kItv.com/story/12533527/sulphur-
   springs-doctors-license-suspended.
      "Texas Physician Arrested yet Again on Illegal Money Scheme" (July 13, 2013),
   https://medicalmiscreants.com/2013/07/13/texas-physician-arrested-yet-again-on-illegal-money-scheme/.
     "Sulphur Springs Doctor's License Suspended" (May 24, 2010), http://www/kItv.com/story/12533527/sulphur-
   springs-doctors-license-suspended.


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   to 38 of Dr. O'Neal's 78 patients.71

                    In April 2010, Dr. O'Neal was charged with "33 felony counts alleging fraud for

   ordering narcotic prescriptions without a valid DEA registration by fraudulently using the license

   or registration stamp of another physician. On April 26, 2010, Dr. O'Neal was arrested again and

   charged with an additional 22 counts alleging fraud for ordering and administering controlled

   substances without a valid DEA registration."" These narcotics and controlled substances included

   opioids.

                    The Texas Medicine Board suspended Dr. O'Neal's license on May 24, 2010

   because he constituted "a continuing threat to the public health and safety."'" The Panel further

   concluded that Dr. O'Neal is a "continuing and real danger to the health of [his] patients or to the

   public from the acts or omissions of [Dr. O'Neal] caused through [his] lack of competence, impaired

   status, or failure to care adequately for [his] patients."74

                    Dr. O'Neal was not running a medical practice, but a "pill mill" in which his net

   worth ballooned to an amount in excess of $12 million in addition to investments and real estate

   holdings."

                    On December 3, 2015, Dr. O'Neal's medical license was revoked by the Texas

   Medical Board after he plead guilty to the first degree felony of theft of property."

                    Dr. O'Neal caused damage to the health and welfare of numerous Hopkins County

   residents. His conduct subverted public health and violated the Texas Controlled Substances Act.


   71   Id.
   72

   73 Order of Temporary Suspension, In the Matter of the License of Don Martin O'Neal, MD., License No. E-2769,
   May 24, 2010, at p. 3; see also "Sulphur Springs Doctor's License Suspended" (May 24, 2010),
   http://www/kItv.com/story/12533527/sulphur-springs-doctors-license-suspended.
   74 Order of Temporary Suspension, at p. 3.
   "s Kerry Craig, "D.A. to Ask for Higher Bonds and Passport in O'Neal Case," Sulphur Springs News-Telegram.
   76 "Multiple ETX Doctors Disciplined by Medical Board," viewed on October 3, 2017,
   http://easttexasmatters.com/news/local-news-mutiple-etx-doctors-disciplined-by-medical-board/301673397.



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                    Dr. O'Neal's disregard of his patient's health in favor of his pursuit of profits has

   added to the opioid epidemic that has affected and continues to affect Hopkins County.

                    Likewise, Dr. Howard Gregg Diamond used the glut of opioids flooding the market

   to assist him in over-prescribing controlled substances. These opioids included fentanyl, morphine,

   oxycodone, oxymorphone, methadone, hydrocodone, alprazolam, and zolpidem, which he routinely

   prescribed without "a legitimate medical purpose."77

                    Dr. Diamond was the principal physician at the Diamondback Pain and Wellness

   Center in Sherman, Texas, which served residents of Hopkins County. Dr. Diamond was arrested

   on July 11, 2017 on charges including "conspiracy to distribute controlled substances, possession

   with intent to distribute controlled substances, health care fraud, and money laundering."78

                    The controlled substances Dr. Diamond prescribed included opioids and,

   unfortunately, his prescriptions have been linked to at least seven opioid overdose deaths, one of

   which is in Hopkins County.79

                    Dr. Diamond's license was suspended on July 20, 2017 as his practice of medicine

   posed "a continuing threat to public welfare" and was effective immediately.8° Dr. Diamond

   remains in jail while he is awaiting tria1.81 Dr. Diamond sought to be released pending trial, but the

   judge denied his request citing testimony that "even after federal agents executed search warrants

   at [Dr. Diamond's] Diamondback Pain and Wellness Centers in Sherman and Paris on May 19, he



   'No. 4:17 CR 118, "United States of America v. Howard Gregg Diamond," Indictment filed in the U.S. Eastern
   District of Texas, July 6, 2017, at p. 5.
   78 Emma Ruby, "Texas Suspends Doctor's License after 7 Drug Deaths, including McKinney Overdose" (July 21,
   2012), http://www.dallasnews.com/news/crime/2017/07/12/texas-doctor-accused-prescribing-unnecessary-drugs-
   led-7-deaths.
   79 Walt Zwirko, "Judge: No Freedom for Texoma Doctor Linked to Overdose Deaths" (July 24, 2017),
   http://www.kten.com/story/35959439/judge-no-freedom-for-texoma-doctor-linked-to-seven-overdose-deaths.
      Texas Medical Board, http://reg. tmb/state/tx/us/OnLineVerif/Phy_ReportVerif new.asp, last viewed October 18,
   2017.
   81 Walt Zwirko, "Judge: No Freedom for Texoma Doctor Linked to Overdose Deaths" (July 24, 2017),
   http://www.kten.com/story/35959439/judge-no-freedom-for-texoma-doctor-linked-to-seven-overdose-deaths.



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   prescribed almost 278,000 dosage units."82 Even after his arrest, according to a DEA agent's

   testimony, Dr. Diamond "filled at least seven new prescriptions."83

                   Dr. Diamond has entered a not guilty plea to all charges. If convicted, he faces up

   to life in prison.84 Prosecutors are also seeking to have Dr. Diamond's medical license revoked.85

                   If the manufacturing and distributing Defendants were not over-supplying opioids,

   then physicians like Dr. O'Neal and Dr. Diamond could not overprescribe them. While Defendants

   may claim that the federal government authorized the amount of annual prescription opioids sold,

   they know in truth that several Defendants have successfully used their organized money and

   influence to render the federal government's enforcement agency, the Drug Enforcement

   Administration, virtually powerless to interrupt the over-supply of prescription opioid drugs.

                   Defendants' deceptive marketing scheme also caused and continues to cause

   patients to purchase and use opioids for their chronic pain believing they are safe and effective.

   Absent Defendants' deceptive marketing scheme, fewer patients would be using opioids long-term

   to treat chronic pain, and those patients using opioids would be using less of them.

                   Defendants' deceptive marketing has caused and continues to cause the prescribing

   and use of opioids to explode. Indeed, this dramatic increase in opioid prescriptions and use

   corresponds with the dramatic increase in Defendants' spending on their deceptive marketing

   scheme. Defendants' spending on opioid marketing totaled approximately $91 million in 2000.

   By 2011, that spending had tripled to $288 million.

                   The escalating number of opioid prescriptions written by doctors who were




   82 1d
   83
      Id.
   84 id
   85
     Emma Ruby, "Texas Suspends Doctor's License after 7 Drug Deaths, including McKinney Overdose" (July 21,
   2012), http://www.dallasnews.com/news/crime/2017/07/12/texas-doctor-accused-prescribing-unnecessary-drugs-
   led-7-deaths.




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   deceived by Defendants' deceptive marketing scheme is the cause of a correspondingly dramatic

   increase in opioid addiction, overdose, and death throughout the U.S. and Hopkins County.

                    Scientific evidence demonstrates a strong correlation between opioid prescriptions

   and opioid abuse. In a 2016 report, the CDC explained that prescribing opioids has quadrupled

   since 1999, which has resulted in a parallel increase in opioid overdoses.86 Indeed, there has been

   a two-third increase in overdose deaths from using opioids since 2000.87 For these reasons, the

   CDC concluded that efforts to rein in the prescribing of opioids for chronic pain are critical "to

   reverse the cycle of opioid pain medication misuse that contributes to the opioid overdose

   epidemic."88

                    Due to the increase in opioid overdoses, first responders such as police officers,

   have been and will continue to be in the position to assist people experiencing opioid-related

   overdoses.89 In 2016, "over 1,200 law enforcement departments nationwide carried naloxone in

   an effort to prevent opioid-related deaths."9°

                    Defendants' deceptive marketing scheme has also detrimentally impacted children

   in Hopkins County. Overprescribing opioids for chronic pain has made the drugs more accessible

   to school-aged children, who come into contact with opioids after they have been prescribed to

   friends or relatives in the same household.




   " CDC. National Vital Statistics System, Mortality. CDC WONDER. Atlanta, GA: US Department of Health and
   Human Services, CDC; 2016. https://wonder.cdc.gov/; Rudd RA, Seth P, David F, Scholl L. Increases in Drug and
   Opioid-Involved Overdose Deaths — United States, 2010-2015. MMWR Morb Mortal Wkly Rep. ePub: 16
   December 2016.
   87 National Vital Statistics System, Mortality file and appearing Center for Disease Control and Prevention

   Morbidity and Mortality Weekly Report, January 1,2006 / 64(50); 1378-82, Increases in Drug and Opioid Deaths —
   United States, 2000-2014.
   88 CDC Guideline for Prescribing Opioids for Chronic Pain, supra; see also Rudd RA, Seth P, David F, Scholl

   L. Increases in Drug and Opioid-Involved Overdose Deaths — United States, 2010-2015. MMWR Morb Mortal
   Wkly Rep. ePub: 16 December 2016.
   89
      Opinion of the Attorney General of Texas, KP-0168 (Oct. 4,2017).
   90 Id. citing http://www.nchrc.org/law-enforcement/us-law-enforcement-who-carry-naloxone/.




   PLAINTIFF'S ORIGINAL PETITION                                                                               49
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                      Defendants' conduct has adversely affected Hopkins County's child protection

   agencies in the number of children in foster care driven by parental drug addiction. Children with

   parents addicted to drugs tend to stay in foster care longer, and they often enter the system having

   experienced significant trauma, which makes these cases more expensive for counties like Hopkins

   County.

                     Opioid addiction is one of the primary reasons that Hopkins County residents seek

   substance abuse treatment. A significant number of admissions for drug abuse were associated

   with a primary diagnosis of opiate abuse or dependence.

                     Defendants' creation, through false and deceptive advertising and other unlawful

   and unfair conduct, of a virtually limitless opioid market has significantly harmed Hopkins County

   communities. Defendants' success in extending the market for opioids to new patients and chronic

   pain conditions has created an abundance of drugs available for non-medical and criminal use and

   fueled a new wave of addiction and injury. It has been estimated that 60% of the opioids that are

   abused come, directly or indirectly, through doctors' prescriptions.91

                     In Hopkins County, a woman addicted to opioids after gall bladder surgery later

   became a user of methamphetamine and crystal methamphetamines after she could no longer afford

   doctors or prescription opioids.92 The opioids never cured her pain, but were addictive and

   destructive.93

                    Law enforcement agencies have increasingly associated prescription drug abuse




   9 ' Nathaniel P. Katz, Prescription Opioid Abuse: Challenges and Opportunities for Payers, Am. J. Managed Care
   (Apr. 19 2013), at 5 ("The most common source of abused [opioids] is, directly or indirectly, by prescription."),
   http://www.ajmc.com/publications/issue/2013/2013-1-vol19-n4/Prescription-Opioid-Abuse-Challenges-and-
   Opportunities-for-Payers.
   92 Kerry Craig, "Opioid Addiction Results in one Woman's Daily Struggle," Oct. 7, 2017,
   https://www.ssnewstelegram.com/news/opioid-addiction-results-in-one-woman-s-daily-struggle/article_bded4eoa-
   ab80-11e7-a252-d31304e26628.html.
   93 1d.




   PLAINTIFF'S ORIGINAL PETITION                                                                                   50
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   with violent and property crimes. Despite strict federal regulation of prescription drugs, local law

   enforcement agencies are faced with increasing diversion from legitimate sources for illicit

    purposes, including doctor shopping, forged prescriptions, falsified pharmacy records, and

   employees who steal from their place of employment. The opioid epidemic has prompted a

   growing trend of crimes against pharmacies including robbery and burglary. This ongoing

   diversion of prescription narcotics creates a lucrative marketplace.

                    In Hopkins County, the illegal activity even struck a former police officer and

   sheriff's deputy who entered guilty pleas in 2014 to charges of theft of property, among other things,

   after stealing hydrocodone pills from evidence.94 A second officer, a criminal investigator for

    Hopkins County, was also arrested and charged with tampering with evidence related to the same

   missing hydrocodone pills.95 Every person throughout the United States, as in Hopkins County, is

   vulnerable to the lure and addiction of opioids.

                    The rise in opioid addiction caused by Defendants' deceptive marketing scheme

   has also resulted in an explosion in heroin use. For example, heroin use has more than doubled in

   the past decade among adults aged 18 to 25 years.96 Moreover, heroin-related overdoses in the

    United States has more than quadrupled since 2010.97

                    The costs and consequences of opioid addiction are staggering. For example, in

   2007, the cost of healthcare due to opioid abuse, dependence, and misuse was estimated at 25

   billion, the cost of criminal justice was estimated at 5.1 billion, and the cost of lost workplace

   productivity was estimated at 25.6 billion.




      Kerry Craig, "Former Lawman Pleads to Two Felony Charges," Sept. 29, 2014.
   'Kerry Craig, "Deputy Arrested on Felony Charges," Oct. 23, 2014.
   96 Centers for Disease Control and Prevention. Vital Signs: Today's Heroin Epidemic — More People at Risk,

   Multiple Drugs Abused. (http://www.cdc.gov/vitalsigns/heroin/index/html). MMWR 2015.
      https://www.cdc.gov/drugoverdose/data/heroin.html.



   PLAINTIFF'S ORIGINAL         PETITION                                                                        51
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                  Consequently, prescription opioid misuse, abuse, and overdose have an enormous

   impact on the health and safety of individuals, as well as communities at large, because the

   consequences of this epidemic reach far beyond the addicted individual.

                  Some of the repercussions for residents of Hopkins County include job loss, loss

   of custody of children, physical and mental health problems, homelessness and incarceration,

   which results in instability in communities often already in economic crisis and contributes to

   increased demand on community services such as hospitals, courts, child services, treatment

   centers, and law enforcement.

                  Defendants knew and should have known about these harms that their deceptive

   marketing has caused and continues to cause and will cause in the future. Defendants closely

   monitored their sales and the habits of prescribing doctors. Their sales representatives, who visited

   doctors and attended CMEs, knew which doctors were receiving their messages and how they were

   responding.

                  Defendants also had access to and carefully watched government and other data

   that tracked the explosive rise in opioid use, addiction, injury, and death. Defendants not only

   knew, but intended that their misrepresentations would persuade doctors to prescribe and

   encourage patients to use their opioids for chronic pain.

                  Defendants' actions are neither permitted nor excused by the fact that their drug

   labels (with the exception of the Actiq/Fentora labels) may have allowed, or did not exclude, the

   use of opioids for chronic pain. FDA approval of opioids for certain uses did not give Defendants

   license to misrepresent the risks and benefits of opioids. Indeed, Defendants' misrepresentations

   were directly contrary to pronouncements by, and guidance from, the FDA based on the medical

   evidence and their own labels.




   PLAINTIFF'S ORIGINAL PETITION                                                                     52
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                  Nor is Defendants' causal role broken by the involvement of doctors. Defendants'

   marketing efforts were ubiquitous and highly persuasive. Their deceptive messages tainted

   virtually every source doctors could rely on for information and prevented them from making

   informed treatment decisions. Defendants also hijacked what doctors wanted to believe — namely,

   that opioids represented a means of relieving their patients' suffering and of practicing medicine

   more compassionately.

                  Defendants' actions and omissions were each a cause-in-fact of Hopkins County's

   past and future damages. Defendants' wrongful conduct caused injuries to Hopkins County in the

   past, continues to cause injuries to Hopkins County, and will continue to cause injuries to Hopkins

   County in the future. Future damages include, but are not limited to, additional resources for

   counseling and medication assisted treatment of addicts, medical treatment for overdoses, life

   skills training for adolescents, increased law enforcement, and additional resources to treat the

   psychological effects of opioids and the underlying conditions that make people susceptible to

   opioid addiction.

   I.     Defendants' Fraudulent Marketing Has Led To Record Profits.

                  While using opioids has taken an enormous toll on Hopkins County and its

   residents, Defendants have realized blockbuster profits. In 2014 alone, opioids generated $11

   billion in revenue for drug companies like Defendants. Indeed, financial information indicates that

   each Defendant experienced a material increase in sales, revenue, and profits from the false and

   deceptive advertising and other unlawful and unfair conduct described above.

                   VI.     FIRST CAUSE OF ACTION: PUBLIC NUISANCE
                                AGAINST ALL DEFENDANTS

                  Hopkins County re-alleges and incorporates by reference each of the allegations

   contained in the preceding paragraphs of this Complaint as though fully alleged herein.



   PLAINTIFF'S ORIGINAL PETITION                                                                   53
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                   Defendants knowingly encouraged doctors in and around Hopkins County to

    prescribe, and residents to use, highly addictive opioids for chronic pain even though Defendants

    knew using opioids had a high risk of addiction and reduced quality of life.

                   By doing so, Defendants purposefully interfered with Hopkins County's public

    health, public safety, public peace, public comfort, and public convenience.

                   Defendants, individually and in concert with each other, have contributed to and/or

    assisted in creating and maintaining a condition that is harmful to the health and safety of Hopkins

    County residents and/or unreasonably interferes with the peace and comfortable enjoyment of life

    in violation of Texas law.

                   The public nuisance created by Defendants' actions is substantial and unreasonable

    — it has caused and continues to cause significant harm to the community — and the harm inflicted

    outweighs any offsetting benefit.

                   The staggering rates of opioid use resulting from Defendants' marketing efforts

    have caused, and continues to cause, harm to the community including, but not limited to:

                           Upwards of 30% of all adults use opioids. These high rates of use have led
                           to unnecessary opioid abuse, addiction, overdose, injuries, and deaths;

                           Children have been exposed to opioids prescribed to family members or
                           others resulting in injury, addiction, and death. Easy access to prescription
                           opioids has made opioids a recreational drug of choice among Hopkins
                           County teenagers; opioid use among teenagers is only outpaced by
                           marijuana use. Even infants have been born addicted to opioids due to
                           prenatal exposure causing severe withdrawal symptoms and lasting
                           developmental impacts;

                          Residents of Hopkins County, who have never taken opioids, have endured
                          both the emotional and financial costs of caring for loved ones addicted to
                          or injured by opioids and the loss of companionship, wages, or other support
                          from family members who have used, abused, become addicted to,
                          overdosed on, or been killed by opioids;

                           More broadly, opioid use and misuse have driven Hopkins County



    PLAINTIFF'S ORIGINAL PETITION                                                                    54
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                         residents' health care costs higher;

                         Employers have lost the value of productive and healthy employees who
                         have suffered from adverse consequences from opioid use;

                         Defendants' success in extending the market for opioids to new patients and
                         chronic conditions has created an abundance of drugs available for criminal
                         use and fueled a new wave of addiction, abuse, and injury. Defendants'
                         scheme created both ends of a new secondary market for opioids —
                         providing both the supply of narcotics to sell and the demand of addicts to
                         buy them;

                         This demand has created additional illicit markets in other opiates,
                         particularly heroin. The low cost of heroin has led some of those who
                         initially become addicted to prescription opioids to migrate to cheaper
                         heroin, fueling a new heroin epidemic in the process;

                         Diverting opioids into secondary, criminal markets and increasing the
                         number of individuals who abuse or are addicted to opioids has increased
                         the demands on emergency services and law enforcement in Hopkins
                         County;

                         All of Defendants' actions have caused significant harm to the community
                         — in lives lost; addictions endured; the creation of an illicit drug market and
                         all its concomitant crime and costs; unrealized economic productivity; and
                         broken families and homes;

                         These harms have taxed the human, medical, public health, law
                         enforcement, and financial resources of Hopkins County; and

                 k.      Defendants' interference with the comfortable enjoyment of life of a
                         substantial number of people is entirely unreasonable because there is
                         limited social utility to opioid use and any potential value is outweighed by
                         the gravity of harm inflicted by Defendants' actions.

          191. Defendants knew, or should have known, that promoting opioid use would create a

   public nuisance in the following ways:

                         Defendants have engaged in massive production, promotion, and
                         distribution of opioids for use by the citizens of Hopkins County;

                         Defendants' actions created and expanded the market for opioids,
                         promoting its wide use for pain management;

                         Defendants misrepresented the benefits of opioids for chronic pain and




   PLAINTIFF'S ORIGINAL PETITION                                                                     55
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                          fraudulently concealed, misrepresented, and omitted the serious adverse
                          effects of opioids, including the addictive nature of the drugs; and

                   d.     Defendants knew or should have known that their promotion would lead to
                          addiction and other adverse consequences that the larger community would
                          suffer as a result.

                   Defendants' actions were, at the least, a substantial factor in doctors and patients

   not accurately assessing and weighing the risks and benefits of opioids for chronic pain thereby

   causing opioids to become widely available and used in Hopkins County.

                   Without Defendants' actions, opioid use would not have become so widespread and

   the enormous public health hazard of opioid overuse, abuse, and addiction not existing would have

   been averted.

                   The health and safety of the citizens of Hopkins County, including those who use,

   have used, or will use opioids, as well as those affected by opioid users, is a matter of great public

   interest and legitimate concern to Hopkins County's citizens and residents.

                   The public nuisance created, perpetuated, and maintained by Defendants can be

   abated and further reoccurrence of such harm and inconvenience can be prevented.

                   Defendants' conduct has affected and continues to affect a considerable number of

   people within Hopkins County and is likely to continue to cause significant harm to patients who

   take opioids, their families, and the community at large.

                   Each Defendant created or assisted in creating the opioid epidemic, and each

   Defendant is jointly and severally liable for its abatement. Furthermore, each Defendant should

   be enjoined from continuing to create, perpetuate, or maintain said public nuisance in Hopkins

   County.

                VII. SECOND CAUSE OF ACTION: COMMON LAW FRAUD
                              AGAINST ALL DEFENDANTS




   PLAINTIFF'S ORIGINAL PETITION                                                                      56
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                  Hopkins County re-alleges and incorporates by reference each of the allegations

   contained in the preceding paragraphs of this Complaint as though fully alleged herein.

                  As alleged herein, Defendants engaged in false representations and concealments

   of material fact about using opioids for chronic pain.

                  Defendants, individually and acting through their employees and agents, and in

   concert with each other, made misrepresentations and omissions of material fact to physicians

   treating Hopkins County residents and Hopkins County residents to induce them to prescribe,

   administer, fill, purchase, and consume opioids as set forth herein.

                  Dr. O'Neal specifically made misrepresentations and omissions of material facts

   concerning his lack of DEA authorization to prescribe opioids and fraudulently obtained and used

   a colleague's prescription stamp to prescribe opioids to his patients.

                  Defendants knew that their representations and omissions were false.

                  Defendants intended that physicians treating Hopkins County residents and other

   Hopkins County residents would rely upon their misrepresentations and omissions.

                  The physicians treating Hopkins County residents and Hopkins County residents

   reasonably relied on Defendants' misrepresentations and omissions.

                  Defendants' intentionally failed to alter or correct the fraudulent information it had

   disseminated through the United States and in and around Hopkins County and acted willfully,

   wantonly, and maliciously.

                  Because of their reliance on Defendants' misrepresentations and omissions of

   material fact, Hopkins County and its residents have suffered actual and punitive damages.

                  VIH. THIRD CAUSE OF ACTION: NEGLIGENCE
            AGAINST MANUFACTURING AND DISTRIBUTING DEFENDANTS

                  Hopkins County re-alleges and incorporates by reference each of the allegations



   PLAINTIFF'S ORIGINAL PETITION                                                                     57
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   contained in the preceding paragraphs of this Complaint as though fully alleged herein.

                   Manufacturing Defendants have a duty to exercise reasonable care in marketing its

   opioids to physicians treating residents of Hopkins County and Hopkins County residents.

   Manufacturing Defendants have breached their duty by knowingly and fraudulently

   misrepresenting the benefits of, and downplaying the risks of, opioids for chronic pain.

                   Manufacturing Defendants have used deceitful marketing ploys, KOLs, Front

   Groups, and other schemes to increase profits at the cost of public health causing an opioid

   epidemic. Manufacturing Defendants have acted willfully, wantonly, and maliciously.

                   Likewise, Distributor Defendants have a duty to exercise ordinary care in

   distributing opioids. Distributor Defendants have breached their duty by failing to prevent or reduce

   the distribution of opioids, or to report the increase in the distribution and/or sale of opioids.

                   Distributor Defendants have intentionally failed to prevent or reduce the distribution

   of opioids, or to report any increases in the sale of opioids, so that they could increase profits and

   receive rebates or kick-backs from Manufacturing Defendants. Distributor Defendants have acted

   willfully, wantonly, and maliciously.

                   As a proximate result, Manufacturing and Distributor Defendants and its agents

   have caused Hopkins County to incur excessive costs to treat the opioid epidemic in its county,

   including but not limited to increased costs of social services, health systems, law enforcement,

   judicial system, and treatment facilities.

                  Hopkins County and its residents are therefore entitled to actual and punitive

   damages.

                IV.  FOURTH CAUSE OF ACTION: GROSS NEGLIGENCE
              AGAINST MANUFACTURING AND DISTRIBUTING DEFENDANTS

                  Hopkins County incorporates the allegations within all prior paragraphs within this




   PLAINTIFF'S ORIGINAL PETITION                                                                        58
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   Complaint as if they were fully set forth herein.

                    Defendants' marketing scheme to optimize profits by misrepresenting and falsely

   touting opioids as the panacea to chronic pain was done intentionally.

                    Defendants' hiring of KOLs, Front Groups, and others to spread its fraudulent

   message that opioids were useful and beneficial for chronic pain was grossly negligent and done with

   conscious indifference or reckless disregard for the safety of others.

                    Each Defendant's actions and omissions as described herein, singularly or in

   combination with each other, was malicious resulting in damages and injuries to Hopkins County and

   its residents.

                    At every stage, Defendants knew or should have known that their conduct would

   create an unreasonable risk of physical harm to others, including Hopkins County and its residents,

   and should be held liable in punitive and exemplary damages to Hopkins County.

                             V.    FIFTH CAUSE OF ACTION:
                         TEXAS CONTROLLED SUBSTANCES ACT ("TCSA")
                       AGAINST DISTRIBUTOR DEFENDANTS AND DR. O'NEAL

                    Hopkins County re-alleges and incorporates by reference each of the allegations

   contained in the preceding paragraphs of this Complaint as though fully alleged herein.

                    Distributor Defendants have knowingly distributed, delivered, administered, or

   dispensed a controlled substance in violation of the Texas Controlled Substances Act

   §481.128(a)(1) by deceiving practitioners into prescribing, dispensing, delivering, or

   administering a controlled substance, or causing a controlled substance to be administered when

   there is no valid medical purpose. Tex. Health & Safety Code §481.071.

                    As alleged herein, each Distributor Defendant, at all times relevant to this

   Complaint, violated the Texas Controlled Substance Act by making deceptive representations about




   PLAINTIFF'S ORIGINAL PETITION                                                                    59
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   using opioids to treat chronic pain. Each Distributor Defendant also omitted or concealed material

   facts and failed to correct prior misrepresentations and omissions about the risks and benefits of

   opioids. Each Distributor Defendant's omissions rendered even their seemingly truthful statements

   about opioids deceptive.

                   Distributor Defendants' deceptive representations and concealments were

   reasonably calculated to deceive practitioners treating Hopkins County residents into prescribing

   opioids without any valid medical purpose, and Distributor Defendants continue to do so to this

   day.

                   Dr. O'Neal prescribed opioids, a controlled substance, without the federal

   registration required under Texas Health & Safety Code Section 481.061. Due to his lack of a

   DEA registration, Dr. O'Neal was not allowed to "manufacture, distribute, prescribe, possess,

   analyze or dispense" a controlled substance in Texas, including Hopkins County. Tex. Health &

   Safety Code §481.061(a).

                   Even when Dr. O'Neal possessed the requisite registration, Dr. O'Neal prescribed

   opioids without a valid medical purpose in violation of Texas Health & Safety Code Section

   481.071(a).

                   As a direct and proximate cause of Distributor Defendants' and Dr. O'Neal's

   deceptive conduct, Hopkins County should be awarded civil penalties pursuant to the Texas

   Controlled Substances Act.

                 VI.   SEVENTH CAUSE OF ACTION: UNJUST ENRICHMENT
                             AGAINST ALL DEFENDANTS

                   Hopkins County re-alleges and incorporates by reference each of the allegations

   contained in the preceding paragraphs of this Complaint as though fully alleged herein.

                   As an expected and intended result of their conscious wrongdoing as set forth in



   PLAINTIFF'S ORIGINAL PETITION                                                                  60
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   this Complaint, Defendants have profited and benefited from opioid purchases made by Hopkins

   County and its residents.

                   When Hopkins County and its residents purchased opioids, they expected that

   Defendants had provided necessary and accurate information regarding those risks. Instead,

   Defendants had misrepresented the material facts regarding the risks and benefits of opioids.

                   Defendants have been unjustly enriched at the expense of Hopkins County, and

   Hopkins County is therefore entitled to damages to be determined by the jury.

                                          PRAYER FOR RELIEF

           WHEREFORE, Plaintiff respectfully prays:

                           That the acts alleged herein be adjudged and decreed to be unlawful and that
                           the Court enter a judgment declaring them to be so;

                           That Defendants be enjoined from, directly or indirectly through KOLs,
                           Front Groups or other third parties, continuing to misrepresent the risks and
                           benefits of the use of opioids for chronic pain, and from continuing to
                           violate Texas law;

                           That Plaintiff recover all measures of damages, including punitive and
                           exemplary damages, allowable under the law, and that judgment be entered
                           against Defendants in favor of Plaintiff;

                           That Plaintiff recover restitution on behalf of Hopkins County consumers
                           who paid for opioids for chronic pain;

                           That Plaintiff recover the costs and expenses of suit, pre- and post-judgment
                           interest, and reasonable attorneys' fees as provided by law; and

                           That Defendants be ordered to abate the public nuisance that they created in
                           in violation of Texas common law.



   Date: October 30, 2017

                                            Respectfully submitted,

                                            District Attorney, Hopkins County




   PLAINTIFF'S ORIGINAL PETITION                                                                     61
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                                     /s/ Will Ramsay
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                                     Sulphur Springs, TX 75482
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   PLAINTIFF'S ORIGINAL PETITION                                         62
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                                                                               Service of Process
                                                                               Transmittal
                                                                               11/10/2017
                                                                               CT Log Number 532285322
    TO:     Carol Purcell
            Endo Pharmaceuticals Inc.
            1400 Atwater Dr
            Malvern, PA 19355-8701

    RE:     Process Served in Texas
    FOR:     Endo Pharmaceuticals Inc. (Domestic State: DE)




    ENCLOSED ARE COPIES OF LEGAL PROCESS RECEIVED BY THE STATUTORY AGENT OF THE ABOVE COMPANY AS FOLLOWS:

    TITLE OF ACTION:                    COUNTY OF HOPKINS, Pltf. vs. PURDUE PHARMA, L.P., et al., Dfts. // to: Endo
                                        Pharmaceuticals Inc.
    DOCUMENT(S) SERVED:                 Summons, Attachment(s), Complaint
    COURT/AGENCY:                       62nd Judicial District Court Hopkins County, TX
                                        Case # CV43486
    NATURE OF ACTION:                   Product Liability Litigation - Drug Litigation
    ON WHOM PROCESS WAS SERVED:         C T Corporation System, Dallas, TX
    DATE AND HOUR OF SERVICE:           By Process Server on 11/10/2017 at 15:15
    JURISDICTION SERVED :               Texas
    APPEARANCE OR ANSWER DUE:           At or Before 10:00 a.m. on the Monday next after the expiration of 20 days
                                        (Document(s) may contain additional answer dates)
    ATTORNEY(S) / SENDER(S):            Will Ramsay
                                        110 Main Street
                                        Sulphur Springs, TX 758482
                                        903-885-0641
    ACTION ITEMS:                       CT has retained the current log, Retain Date: 11/11/2017, Expected Purge Date:
                                        11/16/2017
                                        Image SOP

                                        Email Notification, Jobina Jones-McDonnell jones.jobina@endo.com

                                        Email Notification, Helen Howlett howlett.helen@endo.com

                                        Email Notification, Marian Gustafson marian.gustafson@parpharm.com

                                        Email Notification, Carolyn Hazard hazard.carrie@endo.com

                                        Email Notification, Par Notice Dept Par.noticeDept@parpharm.com
                                        Email Notification, Carol Purcell Purcell.Carol@endo.com

                                        Email Notification, Stephanie Stidham stidham.stephanie@endo.com




                                                                                Page 1 of 2 / BV
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                                                                               amount of damages, the answer date, or any information
                                                                               contained in the documents themselves. Recipient is
                                                                               responsible for interpreting said documents and for taking
                                                                               appropriate action. Signatures on certified mail receipts
                                                                               confirm receipt of package only, not contents.
Case 4:17-cv-00845-ALM Document 1-3 Filed 12/11/17 Page 72 of 139 PageID #: 121
                                                                Service of Process
                                                                Transmittal
                                                                11/10/2017
                                                                CT Log Number 532285322
    TO:    Carol Purcell
           Endo Pharmaceuticals Inc.
           1400 Atwater Dr
           Malvern, PA 19355-8701

    RE:    Process Served in Texas
    FOR:   Endo Pharmaceuticals Inc. (Domestic State: DE)




    SIGNED:                            C T Corporation System
    ADDRESS:                           1999 Bryan Street
                                       Suite 900
                                       Dallas, TX 75201
    TELEPHONE:                         214-932-3601




                                                                Page 2 of 2 / BV
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                    CAUSE NO.               CV43486

                                         ATTORNEY FOR PLAINTIFF OR DEFENDANT:
CHERYL FULCHER - DISTRICT CLERK                JEFFERY B. SIMON
POST OFFICE BOX 391                            3232 MCKINNEY AVENUE
SULPHUR SPRINGS, TEXAS 75483                   SUITE 610
                                               DALLAS,TX 75204
         CITATION             FOR      PERSONAL SERVICE

 TO: ENDO PHARMACEUTICALS, INC.         REG.AGENT: C.T.CORPORATION SYSTEM
                                                   1999 BRYAN STREET
                                                   SUITE 900
                                                   DALLAS,TEXAS 75201

   DEFENDANT:
 You are hereby commanded to appear before the 62ND JUDICIAL DISTRICT
 Court of Hopkins County,Texas, to be held at the courthouse of said
 County in the City of Sulphur Springs, Hopkins County, Texas, by filing
 a written answer to the petition ot plaintiff      at or 10'o 1 clock A.M.
 of the Monday next after the expiration of 20 'days after the date of
 service hereot, a copy of which accompanies this
   citation, in Cause No.          CV43486.

    COUNTY OF HOPKINS                          PURDUE PHARMA,L.P.; PURDUE
                                       VS      PHARMALINC.;THE PURDUE
                                               FREDERICK COMPANY;ET AL
   Filed in said Court on 31st day of October           , 2017 .
   NOTICE TO DEFENDANT: You have been sued. You may employ an attorney.
   If ypu or your attorney do not file a written answer with the clerk
   who issued this citation by 10:00 A.M. on the Monday next following
   the expiration of twenty days after you were served this citation
   and petition, a default judgment may be taken against you.
   WITNESS, CHERYL FULCHER , DISTRICT CLERK OF THE DISTRICT COURT OF
   HOPKINS COUNTY, TEXAS.
   Issued and given under N,         d and seal of said Court at office,
   this the 31st day of 9421          %/ A.D., 2017 .
                             .............
                                       f.").
                                    CHI      FULCHER - DISTRICT CLERK
       ORIGINAL PETITIOO:                     COUNTY, TEXAS
                       E°
                                                                     Deputy
    ********************
                               '•"s
                        OFFICEON4MbRIZED PERSON RETURN
Came to hand at       o'clock   .M., on the      day of             ,
Executed at (address)                                 in              County
at         o'clock     .M. on the         day of                ,      , by
delivering to the within named                                          , in
person, a true copy of this citation together with the accompanying copy of
of the petition, having first attached such copy of such petition to such
copy of citation and endorsed on such copy of citation the date of delivery.
TOTAL SERVICE FEE $

                                                                 sheriffA:onst/vPs
                                                                 County, Texas

                                               BY s eriff/peputy/Lonstives
    Case 4:17-cv-00845-ALM Document 1-3 Filed 12/11/17 Page 74 of 139 PageID     #: 123
                                                                        Filed 10/30/2017 4:42 PM
                                                                   CIVIL CASE INFORMATION S.HEET
                                                                                                                                                                Chxyl Fulcher
                                                                  CV43486
           CAUSE NUMBER (FOR CLERK USE ONLY):                                                                  COURT (FOR CLERK USE ONLY):                 62airict Clerk

                                                                                                                                                      Hopkins County, Texas
               STYLED County of Hopkins v. Purdue Pharma, LP, et at.
                                 (e.g., John Smith v. All American Insurance Co; litre Mary Ann Jones; In the Matter of the Estate of George Jackson)
 A civil case information sheet must be completed and submitted when an original petition or application is tiled to initiate a new civil, family law, probate, or mental
 health case or when a post-judgment petition for modification or motion for enforcement is filed in a family law case. The information should be the best available at
 the time of filing.

- I. Contact information for person completing case information sheet:                Names of parties in case:                                     Person or entity completing sheet is:
                                                                                                                                                 pAttorney for Plaintiff/Petitioner
Name:                                     Email:                                      Plaintiff(s)/Petitioner(s):                                ON° Sc PlaintitT/Petitioner
                                                                                                                                                 ['Title IV-D Agency
 Jeffrey B. Simon                         jt4mongsgpblaw.com                           County of Hopkins                                         DOther:

Address:                                  Telephone:
                                                                                                                                                 Additional Patties in Child Support Case:
 3232 McKinney Ave. Suite 610              214-276-7680
                                                                                      Defendant(s)/Respondent(s):                                Custodial Parent:
City/State/Zip:                           Fax:
                                                                                       See Attached List
 Dallas, TX 75204                          214-276-7699                                                                                          Non-Custodial Parent:

Signature:                                State Bar No:
                                                                                                                      —                          Presumed Father:
 Jeffrey B. Simon •2::::="s
                                           00788420
                                                                                      [Attach additional page as necessary to list all paniesj


2. Indicate case type, or identify the most important issue in the case (select only I):
                                                   Civil                                                                                      Family Law
                                                                                                                                                       Post-judgment Actions
          Contract                        Injury or Damage                           Real Property                        Marriage Relationship          (non-Title IV-D)
Debt/Contract                       0Assault/Battery                           ['Eminent Domain/                        ['Annulment                 ['Enforcement
  0Consumer/DTPA                    0Construction                                 Condemnation                          ODeclare Marriage Void      0 Modification—Custody
  0 Debt/Contract                   0 Defamation                               0 Partition                              Divorce                     El M odi fication—Other
  0 Fraud/Misrepresentation         Malpractice                                ['Quiet Title                               0With Children                    Title IV-D
  DOther Debt/Contract:               OAccounting                              OTrespass to Try Title                      ON° Children             0 Enforcement/Modification
                                      ['Legal                                  DOther Property:                                                             0 Paternity
Foreclosure                           ['Medical                                                                                                             ['Reciprocals (UIFSA)
    0 Home Equity—Expedited           DOther Professional                                                                                                   0Support Order
    DOther Foreclosure                   Liability:
OFranchise                                                                         Related to Criminal
['Insurance                         0Motor Vehicle Accident                               Matters                           Other Family Law                   Parent-Child Relationship
OLandlord/Tenant                    ['Premises                                 0 Expunction                              ['Enforce Foreign                   OAdoption/Adoption with
ONon-Competition                    Product Liability                          ['Judgment Nisi                              Judgment                            Termination
['Partnership                          0Asbestos/Silica                        ONon-Disclosure                           0Habeas Corpus                      OChild Protection
DOther Contract:                      ['Other Product Liability                OSeizure/Forfeiture                       0 Name Change                       OChild Support
                                          List Product:                        ['Writ of Habeas Corpus—                  0 Protective Order                  OCustody or Visitation
                                           Plesctiption Ornoids                   Pre-indictment                         ORemoval of Disabilities            OGestational .Parenting
                                    ['Other Injury or Damage:                  DOther:                                      of Minority                      ['Grandparent Access
                                                                                                                         ['Other:                            0 Parentage/Paternity
                                                                                                                                                             OTermination of Parental
                                                                                                                                                                Rights
           Employment                                                  Other Civil
                                                                                                                                                             ['Other Parent-Child:
0 Discrimination                     OAdministrative Appeal                    ['Lawyer Discipline
ORetaliation                         0Antitrust/Unfair                         0 Perpetuate Testimony
OTermination                            Competition                            OSecurities/Stock
0Workers' Compensation               OCode Violations                          OTortious Interference
00ther Employment:                   ['Foreign Judgment                        00ther:
                                     OIntellectual Property


             Tax                                                                               Probate & Mental Health
 ['Tax Appraisal                     .Probate/Wills/Intestate Administration                             OGuardianship—Adult
 ['Tax Delinquency                      0 Dependent Administration                                       OGuardianship—Minor
 ['Other Tax                            Olndependent Administration                                      0 Mental 1-lealth
                                        00ther Estate Proceedings                                        • Other:


3. Indicate procedure or remedy if applicable (mar select more than 1):                                                                                                                      I
 ['Appeal from Municipal or Justice Court                          0
                                                           Declaratory Judgment                                                      0 Prejudgment Remedy
 0Arbitration-related                                  ['Garnishment                                                                 ['Protective Order
 ['Attachment                                           Oln terp I eader                                                             ['Receiver
                                                                                                                           •\
 0 Bill of Review                                      ['License                                                                     ['Sequestration
 ['Certiorari                                          ['Mandamus                                                                    OTemporary Restraining Order/Injunction
 ['Class Action                                        OPost-judgment                                                                OTurnover
4. Indicate damages sought (do not select if it is a family law case):
 0 Less than $100,000, including damages of any kind, penalties, costs, expenses, pre-judgment interest, and attorney fees
 0 Less than $100,000 and non-monetary relief
 Clover $100, 000 but not more than $200,000
 ['Over $200,000 but not more than $1,000,000
 00ver $1,000,000

                                                                                                                                                                               Rev 2/13
Case 4:17-cv-00845-ALM Document 1-3 Filed 12/11/17 Page 75 of 139 PageID #: 124




   COUNTY OF HOPKINS,
   Plaintiff;

   V.

   PURDUE PHARMA, L.P.
   c/o The Prentice-Hall Corporation System, Inc.
   251 Little Falls Drive
   Wilmington, DE 19808

   PURDUE PHARMA, INC.
   c/o Corporation Service Company
   80 State Street
   Albany, NY 12207

   THE PURDUE FREDERICK COMPANY, INC.
   c/o The Prentice-Hall Corporation System, Inc.
   251 Little Falls Drive
   Wilmington, DE 19808

   CEPHALON, INC.
   Jo Corporate Creations Network, Inc.
   3411 Silverside Road, Tatnall Bldg, Ste 104
   Wilmington, DE 19810

   TEVA PHARMACEUTICAL INDUSTRIES, LTD.
   Petah Tikva, Israel

   TEVA PHARMACEUTICALS USA, INC.
   c/o Corporate Creations Network, Inc.
   3411 Silverside Road, Tatnall Bldg, Ste 104
   Wilmington, DE 19810

   JOHNSON & JOHNSON
   Attn: Legal Department
   One Johnson & Johnson Plaza
   New Brunswick, NJ 08933

   JANSSEN PHARMACEUTICALS, INC.
   c/o CT Corporation System
   1999 Bryan Street, Ste 900
   Dallas, TX 75201




   CIVIL CASE INFORMATION SHEET ADDITIONAL PAGE                            1
Case 4:17-cv-00845-ALM Document 1-3 Filed 12/11/17 Page 76 of 139 PageID #: 125




   ORTHO-M.CNEIL-JANSSEN PHARMACEUTICALS, INC. n/k/a JANSSEN
   PHARMACEUTICALS, INC.
   c/o CT Corporation System
   1999 Bryan Street, Ste 900
   Dallas, TX 75201

   JANSSEN PHARMACEUTICA, INC. n/k/a JANSSEN PHARMACEUTICALS, INC.
   c/o CT Corporation System
   1999 Bryan Street, Ste 900
   Dallas, TX 75201

   ENDO HEALTH SOLUTIONS INC.
   c/o The Corporation Trust Company
   Corporation Trust Center
   1209 Orange Street
   Wilmington, DE 19801

   ENDO PHARMACEUTICALS, INC.
   c/o CT Corporation System
   1999 Bryan Street, Ste 900
   Dallas, TX 75201

   ABBOTT LABORATORIES
   c/o CT Corporation System
   1999 Bryan Street, Ste 900
   Dallas, TX 75201

   KNOLL PHARMACEUTICAL COMPANY, a wholly-owned subsidiary of ABBOTT
   LABORATORIES
   Tax Division, D367/AP6D
   100 Abbott Park Road
   Abbott Park, IL 60064-6057

   ALLERGAN PLC f/k/a ACTAVIS PLC
   Dublin, Ireland

   ALL.ERGAN 'FINANCE .LLC f/k/a ACTAV1S, INC. f/k/a WATSON PHARMACEUTICALS,
   INC.
   c/o The Corporation Trust Company of Nevada
   701 S. Carson St., Ste 200
   Carson City, NV 89701

   WATSON LABORATORIES, INC.
   c/o Corporate Creations Network, Inc.
   8275 South Eastern Ave., #200
   Las Vegas, NV 89123


   CIVIL CASE INFORMATION SHEET ADDITIONAL PAGE                            2
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   ACTAVIS LLC
   c/o Corporate Creations Network, Inc.
   3411 Silverside Road, Tatnall Bldg, Ste 104
   Wilmington, DE 19810

   ACTAVIS PHARMA, INC. t'/k/a WATSON PHARMA, [NC.
   c/o CT Corporation System
   1999 Bryan Street, Ste 900
   Dallas, TX 75201

   INSYS THERAPEUTICS, INC.
   c/o CT Corporation System
   1999 Bryan Street, Ste 900
   Dallas, TX 75201

   MCKESSON CORPORATION
   c/o CSC - Lawyers Incorporating Service
   211 E. 7th Street, Suite 620
   Austin, TX 78701

   CARDINAL HEALTH, INC.
   c/o CT Corporation System
   4400 Easton Commons, Ste 125
   Columbus, 014 43219

   AMERISOURCEBERGEN CORPORATION
   c/o The Corporation Trust Company
   Corporation Trust Center
   1209 Orange Street
   Wilmington, DE 19801

   DON MARTIN O'NEAL, M.D.
   1617 Raintree Circle
   Sulphur Springs, TX 75482

   HOWARD GREGG DIAMOND, M.D.
   Fannin County Jail
   725 County Road 4200
   Bonham, TX 75418

   DOES 1— 100, INCLUSIVE,

   Defendants.




   CIVIL CASE INFORMATION SHEET ADDITIONAL PAGE                           3
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                                       CV43483                              Filed 10/30/20174:42 PM
                                                                                       Cheryl Fulcher
                                                                                         District Clerk
                                                                               Hopkins County, Texas
                                                                                      Tyra Kenemore

                             CAUSE NO. CV43486

    COUNTY OF HOPKINS,                           IN THE DISTRICT COURT

          Plaintiff

    VS.
                                                 62nd   JUDICIAL DISTRICT

    PURDUE PHARMA, L.P.;
    PURDUE PHARMA, INC.;
    THE PURDUE FREDERICK COMPANY;
    CEPHALON, INC.;                              HOPKINS COUNTY, TEXAS
    TEVA PHARMACEUTICAL
    INDUSTRIES, LTD.;
    TEVA PHARMACEUTICALS USA, INC.;
    JOHNSON & JOHNSON;
    JANSSEN PHARMACEUTICALS, INC.;
    ORTHO-MCNEIL-JANSSEN
    PHARMACEUTICALS, INC. n/k/a
    JANSSEN PHARMACEUTICALS, INC.;
    JANSSEN PHARMACEUTICA, INC. n/k/a
    JANSSEN PHARMACEUTICALS, INC.;
    ENDO HEALTH SOLUTIONS INC.;
    ENDO PHARMACEUTICALS, INC.;
    ABBOTT LABORATORIES;
    KNOLL PHARMACEUTICAL
    COMPANY, a wholly-owned subsidiary of
    ABBOTT LABORATORIES;
    ALLERGAN PLC f/k/a ACTAVIS PLC;
    ALLERGAN FINANCE LLC f/k/a
    ACTAVIS, INC. f/k/a WATSON
    PHARMACEUTICALS, INC.;
    WATSON LABORATORIES, INC.;
    ACTAVIS LLC;
    ACTAVIS PHARMA, INC. f/k/a WATSON
    PHARMA, INC.;
    INSYS THERAPEUTICS, INC.;
    MCKESSON CORPORATION;
    CARDINAL HEALTH, INC.;
    AMERISOURCEBERGEN
    CORPORATION;
    DON MARTIN O'NEAL, M.D.;
    HOWARD GREGG DIAMOND, M.D.; and
    DOES 1 — 100, INCLUSIVE,

          Defendants.



   PLAINTIFF'S ORIGINAL PETITION
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                    PLAINTIFFS' ORIGINAL PETITION AND JURY DEMAND

   TO THE HONORABLE JUDGE OF SAID COURT:

            Plaintiff, the County of Hopkins, Texas, by and through the undersigned attorneys,

   (hereinafter "Hopkins County" or "County"), on behalf of the District Attorney for Hopkins

   County, against Defendants Purdue Pharma, L.P., Purdue Pharma, Inc., The Purdue Frederick

   Company, Cephalon, Inc., Teva Pharmaceutical Industries, Ltd., Teva Pharmaceuticals USA, Inc.,

   Johnson & Johnson, Janssen Pharmaceuticals, Inc., Janssen Pharmaceutica, Inc. n/k/a Janssen

   Pharmaceuticals, Inc., Ortho-McNei I-Janssen Pharmaceuticals, Inc. n/k/a Janssen

   Pharmaceuticals, Inc., Endo Health Solutions Inc., Endo Pharmaceuticals, Inc., Abbott

   Laboratories, Knoll Pharmaceutical Company, a wholly-owned subsidiary of Abbott Laboratories,

   Allergan PLC f/k/a Actavis PLC, Allergan Finance, LLC f/k/a Actavis, Inc. f/k/a Watson

   Pharmaceuticals, Inc., Watson Laboratories, Inc., Actavis LLC, Actavis Pharma, Inc. f/k/a Watson

   Pharma, Inc., Insys Therapeutics, Inc., McKesson Corporation, Cardinal Health, Inc.,

   AmerisourceBergen Corporation, Don Martin O'Neal, M.D., Howard Gregg Diamond, M.D., and

   Does 1 — 100, alleges as follows:

                                           I.      INTRODUCTION

           1.       The United States is in the midst of an opioid epidemic caused by Defendants'

   fraudulent marketing and sales of prescription opioids ("opioids") that has resulted in addiction,

   criminal activity, and loss of life. The opioid crisis has been described as "the AIDS epidemic of

   our generation, but even worse." On October 26, 2017, President Donald Trump "declared a




    David Wright, "Christie on Opioids: "This is the AIDS Epidemic of Our Generation, but even Worse," (Oct. 27,
   2017), http://www.cnn.com/2017/10/27/politics/chris-christie-opioid-commission-aids-cnntv/index.html.



   PLAINTIFF'S ORIGINAL PETITION                                                                                   2
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   nationwide public health emergency to combat the opioid crisis."2

            2.       In 2016 alone, health care providers wrote more than 289 million prescriptions for

   opioids, enough for every adult in the United States to have more than one bottle of pills.3

   Americans "consume 85% of all the opioids in the world" and are "the most medicated country in

   the world .     ."4

            3.       Unfortunately, using opioids too often leads to misusing and abusing opioids. In

   2014, almost 2 million Americans abused or were addicted to opioids.5 That same year, more

   people died from drug overdoses than in any other year, and most overdose deaths involved an

   opioid. The Texas Legislature has found "that deaths resulting from the use of opioids and other

   controlled substances constitute a public health crisis."6 In 2015, Texas "had the second highest

   total healthcare costs from opioid abuse in the nation ($1.96 billion) . . .

            4.       In fact, accidental drug overdose deaths, of which at least two-thirds are opioid

   overdoses, are the leading cause of death for Americans under the age of 50. Accidental drug

   overdose deaths, predominantly from opioids, exceed the number of deaths caused by cars or guns.

            5.      The economic burden caused by opioid abuse in the United States is approximately

   $78.5 billion,8 including lost productivity and increased social services, health insurance costs,

   increased criminal justice presence and strain on judicial resources, and substance abuse treatment



   2 Dan Merica, "What Trump's Opioid Announcement Means — and Doesn't Mean," (Oct. 26, 2017),
   http://www.cnn.com/2017/10/26/pol itics/national-health-emergency-national-disaster/index.html.
   3 Prevalence of Opioid Misuse, BupPractice (Sept. 7,2017), https://www.buppractice.com/node/15576.

     David Wright, "Christie on Opioids: "This is the AIDS Epidemic of Our Generation, but even Worse," (Oct. 27,
   2017), http://www.cnn.com/2017/10/27/politics/chris-christie-opioid-commission-aids-cnntv/index.html.
   5 Substance Abuse and Mental Health Services Administration, National Survey on Drug Use and Health, 2014.

   'Opinion of the Attorney General of Texas, KP-0168 (Oct. 4, 2017), citing Act of May 26, 2017, 85111 Leg., R.S., ch.
   534, §3, 2017 Tex. Sess. Law Serv. 1467, 1468.
   7 Kerry Craig, "Opioid Addiction Results in one Woman's Daily Struggle," Oct. 7, 2017,
   https://www.ssnewstelegram.com/news/opioid-addiction-results-in-one-woman-s-daily-struggle/article_bded4eoa-
   ab80-11e7-a252-d3f304e26628.html.
     CDC Foundation's New Business Pulse Focuses on Opioid Overdose Epidemic, Centers for Disease Control and
   Prevention (Mar. 15, 2017), https://www.cdc.gov/media/releases/2017/a0315-business-pulse-opioids.html.



   PLAINTIFF'S ORIGINAL PETITION                                                                                     3
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   and rehabilitation.

              6.       This epidemic did not occur by chance. Defendants manufacture, market, distribute,

   and sell prescription opioids, including, but not limited to, brand-name drugs like OxyContin,

   Vicodin, Opana, Percocet, Percodan, Roxicodone, and generics like oxymorphone and

   hydrocodone, which are powerful narcotic painkillers. Other Defendants manufacture, market,

   distribute, and sell prescription opioids, including, but not limited to, brand-name drugs like

   Fentanyl, Fentora, Duragesic, Ultram, and Ultracet.

              7.       Historically, opioids were considered too addictive and debilitating for treating

   chronic pain,9 such as back pain, migraines, and arthritis, and were used only to treat short-term

   acute pain or for palliative or end-of-life care.

              8.       By the late 1990s or early 2000s, however, each Defendant began a marketing

   scheme to persuade doctors and patients that opioids can and should be used for chronic pain. Each

   Defendant spent, and continues to spend, millions of dollars to promote the benefits of opioids for

   chronic pain while trivializing or even denying their risks.

              9.       Contrary to the language of their drugs' labels, Defendants falsely and misleadingly:

   (1) downplayed the serious risk of addiction; (2) promoted the concept of "pseudoaddiction"

   thereby advocating that the signs of addiction should be treated with more opioids; (3) exaggerated

   the effectiveness of screening tools in preventing addiction; (4) claimed that opioid dependence

   and withdrawal are easily managed; (5) denied the risks of higher opioid dosages; and (6)

   exaggerated the effectiveness of "abuse-deterrent" opioid formulations to prevent abuse and

   addiction.

              10.      Defendants disseminated these falsehoods through their sales representatives and



   9   "Chronic pain" means non-cancer pain lasting three months or longer.


   PLAINTIFF'S ORIGINAL PETITION                                                                          4
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   physicians who supported Defendants' message. Sales representatives, working at Defendants'

   behest, promoted highly addictive opioids through souvenirs and toys, including but not limited

   to, opioid brand-bearing stuffed plush toys, dolls, coffee cups, fanny packs, water bottles,

   notepads, pens, refrigerator magnets, clocks, letter openers, rulers, daytime planners, bags,

   puzzles, posters, clipboards, highlighters, flashlights, key chains, clothing, reflex mallets, and

   mock-ups of the United States Constitution.

          11.     Defendants also used third parties they controlled by: (a) funding, assisting,

   encouraging, and directing doctors, known as "key opinion leaders" ("KOLs") and (b) funding,

   assisting, directing, and encouraging seemingly neutral and credible professional societies and

   patient advocacy groups (referred to hereinafter as "Front Groups").

          12.     Defendants worked with KOLs and Front Groups to taint the sources that doctors

   and patients relied on for ostensibly "neutral" guidance, such as treatment guidelines, Continuing

   Medical Education ("CME") programs, medical conferences and seminars, and scientific articles.

   After their individual and concerted efforts, Defendants convinced doctors that instead of being

   addictive and unsafe for long-term use in most circumstances, opioids were required in the

   compassionate treatment of chronic pain.

          13.     The Distributor Defendants were not standing by idly while Marketing Defendants

   were peddling their opioids to physicians and consumers. Cardinal, AmerisourceBergen, and

   McKesson ("Distributor Defendants") are three of the largest opioid distributors in the United

   States. Distributor Defendants purchased opioids from Manufacturing Defendants herein and sold

   them to pharmacies throughout Hopkins County.

          14.    Despite the alarming and suspicious rise in the ordering of opioids by retailers in

   Hopkins County, Distributor Defendants did nothing.




   PLAINTIFF'S ORIGINAL PETITION                                                                   5
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           15.         Essentially each Defendant ignored science and consumer health for profits.

   Defendants' efforts were so successful that opioids are now the most prescribed class of drugs

   generating $11 billion in revenue for drug companies in 2014 alone.

           16.         As a direct and foreseeable consequence of Defendants' misrepresentations

   regarding the safety and efficacy of using opioids for chronic pain, Hopkins County has spent and

   continues to spend large sums combatting the public health crisis created by Defendants' negligent

   and fraudulent marketing campaign.

           17.         For example, thousands of prescriptions were written for opioids in Hopkins

   County in 201010 and in 2015 there were multiple deaths reported from drug overdoses." A

   substantial number of those overdose deaths were a result, in whole or in part, of opioid ingestion.

           18.         Hopkins County has committed and continues to commit resources to provide and

   pay for health care, law enforcement, social services, public assistance, pharmaceutical care and

   other services necessary for its residents.

                 II.      RULE 47 STATEMENT OF MONETARY RELIEF SOUGHT

           19.         Per Rule 47 of the Texas Rules of Civil Procedure, the County states that although the

   full measure of its damages is still being calculated, its damages caused by Defendants' acts and

   omissions exceed $1,000,000 but are believed to be less than $50,000,000. Accordingly, at this time

   in the litigation, Hopkins County states that it is seeking monetary relief for an amount greater than

   $1,000,000 and less than $50,000,000, the rightful and just amount to be determined by the jury.

                                    III. VENUE AND JURISDICTION

           20.         Venue is proper in Hopkins County because all or a substantial part of the events or



   10
     https://www.cdc.gov/drugoverdose/maps/rxrate-maps.html; https://www.cdc.gov/nchs/data-visualization/drug-
   poisoning-mortality.
     https://www.cdc.govinchs/data-visualization/drug-poisoning-mortality.



   PLAINTIFF'S ORIGINAL PETITION                                                                                 6
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   omissions giving rise to this claim occurred in Hopkins County. TEX. CIV. PRAC. & REM. CODE

   §15.002(a)(2). This Court has subject-matter jurisdiction over this matter because Plaintiffs' damages

   are in excess of the minimal jurisdictional limits of this Court. TEX. GOVT. CODE §24.007(b).

          21.     This Court has general jurisdiction over Dr. O'Neal and Dr. Gregg as they are Texas

    residents. This Court also has specific jurisdiction over all Defendants as their activities were

    directed toward Texas, and injuries complained of herein resulted from their activities. Guardian

    Royal Exchange Assur., Ltd. v. English China Clays, P.L.C., 815 S.W.2d 223, 227 (Tex. 1991).

    Each Defendant has a substantial connection with Texas and the requisite minimum contacts with

   Texas necessary to constitutionally permit the Court to exercise jurisdiction. See id. at 226.

                                            IV.     PARTIES

   A.     Plaintiff

          22.     This action is brought for and on behalf of Hopkins County, which provides a

   wide range of services on behalf of its residents, including services for families and children,

   public health, public assistance, law enforcement, and emergency care.

   B.     Defendants

          23.     PURDUE PHARMA L.P. is a limited partnership organized under the laws of

   Delaware, and may be served through its registered agent for service of process, The Prentice-Hall

   Corporation System, Inc., 251 Little Falls Drive, Wilmington, DE 19808. PURDUE PHARMA

   INC. is a New York corporation with its principal place of business in Stamford, Connecticut, and

   may be served through its registered agent for service of process, Corporation Service Company,

   80 State Street, Albany, NY 12207. THE PURDUE FREDERICK COMPANY is a Delaware

   corporation with its principal place of business in Stamford, Connecticut, and may be served

   through its registered agent for service of process, The Prentice-Hall Corporation System, Inc.,




   PLAINTIFF'S ORIGINAL PETITION                                                                       7
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   251 Little Falls Drive, Wilmington, DE 19808 (collectively, "Purdue").

          24.     Purdue manufactures, promotes, sells, and distributes opioids in the U.S. and

   Hopkins County. Purdue's opioid drug, OxyContin, is among the most addictive and abused

   prescription drugs in the history of America. In addition to manufacturing OxyContin, Purdue co-

   promotes the drug with Defendant Abbott Laboratories. Purdue promotes opioids throughout the

   United States and in Hopkins County.

          25.     CEPHALON, INC. is a Delaware corporation with its principal place of business

   in Frazer, Pennsylvania, and may be served through its registered agent for service of process

   Corporate Creations Network, Inc., 3411 Silverside Rd., Tatnall Building, Suite 104, Wilmington,

   DE 19810. TEVA PHARMACEUTICAL INDUSTRIES, LTD. ("Teva Ltd.") is an Israeli

   corporation with its principal place of business in Petah Tikva, Israel. In 2011, Teva Ltd. acquired

   Cephalon, Inc. TEVA PHARMACEUTICALS USA, INC. ("Teva USA") is a wholly-owned

   subsidiary of Teva Ltd. and is a Delaware corporation with its principal place of business in

   Pennsylvania, and may be served through its registered agent for service of process, Corporate

   Creations Network, Inc., 3411 Silverside Rd., Tatnall Building, Suite 104, Wilmington, DE 19810.

   Teva USA acquired Cephalon in October 2011.

          26.     Cephalon, Inc. manufactures, promotes, sells, and distributes opioids in the U.S.

   and in Hopkins County.

          27.     Teva Ltd., Teva USA, and Cephalon, Inc. work together closely to market and sell

   Cephalon products in the United States. Teva Ltd. conducts all sales and marketing activities for

   Cephalon in the United States through Teva USA and has done so since its October 2011

   acquisition of Cephalon. Teva Ltd. and Teva USA hold out Actiq and Fentora as Teva products

   to the public. Teva USA sells all former Cephalon branded products through its "specialty




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   medicines" division.

          28.     The FDA-approved prescribing information and medication guide, which is

   distributed with Cephalon opioids marketed and sold in Hopkins County, discloses that the guide

   was submitted by Teva USA, and directs physicians to contact Teva USA to report adverse events.

   Teva Ltd. has directed Cephalon, Inc. to disclose that it is a wholly-owned subsidiary of Teva Ltd.

   on prescription savings cards distributed in Hopkins County, indicating Teva Ltd. would be

   responsible for covering certain co-pay costs. All of Cephalon's promotional websites, including

   those for Actiq and Fentora, prominently display Teva Ltd.'s logo. Upon information and belief,

   Teva Ltd. directs the business practices of Cephalon and Teva USA, and their profits inure to the

   benefit of Teva Ltd. as controlling shareholder. (Teva Pharmaceutical Industries, Ltd., Teva

   Pharmaceuticals USA, Inc., and Cephalon, Inc. are referred to as "Cephalon").

          29.     JANSSEN PHARMACEUTICALS, INC. is a Pcnnsylvania corporation with its

   principal place of business in Titusville, New Jersey, and may be served through its registered

   agent for service of process, CT Corporation System, 1999 Bryan Street, Suite 900, Dallas, TX

   75201. JANSSEN PHARMACEUTICALS, INC. is a wholly owned subsidiary of JOHNSON &

   JOHNSON (J&J), a New Jersey corporation with its principal place of business in New Brunswick,

   New Jersey, and may be served through its registered agent for service of process, Attention: Legal

   Department, One Johnson & Johnson Plaza, New Brunswick, NJ 08933. ORTHO-MCNEIL-

   JANSSEN PHARMACEUTICALS, INC., now known as JANSSEN PHARMACEUTICALS,

   INC., is a Pennsylvania corporation with its principal place of business in Titusville, New Jersey.

   JANSSEN PHARMACEUTICA INC., now known as JANSSEN PHARMACEUTICALS, INC.,

   is a Pennsylvania corporation with its principal place of business in Titusville, New Jersey. J&J

   is the only company that owns more than 10% of Janssen Pharmaceuticals' stock, and corresponds




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   with the FDA regarding Janssen's products. Upon information and belief, J&J controls the sale

   and development of Janssen Pharmaceuticals' drugs and Janssen's profits inure to J&J's benefit.

   (Janssen Pharmaceuticals, Inc., Ortho-McNeil-Janssen Pharmaceuticals, Inc., Janssen

   Pharmaceutica, Inc., and J&J are referred to as "Janssen").

          30.     Janssen manufactures, promotes, sells, and distributes opioids in the U.S. and in

   Hopkins County.

          31.     ENDO HEALTH SOLUTIONS INC. is a Delaware corporation with its principal

   place of business in Malvern, Pennsylvania, and may be served through its registered agent for

   service of process, The Corporation Trust Company, Corporation Trust Center, 1209 Orange St.,

   Wilmington, DE 19801. ENDO PHARMACEUTICALS, INC. is a wholly- owned subsidiary of

   Endo Health Solutions Inc. and is a Delaware corporation with its principal place of business in

   Malvern, Pennsylvania, and may be served through its registered agent for service of process, CT

   Corporation System, 1999 Bryan Street, Suite 900, Dallas, TX 75201. (Endo Health Solutions Inc.

   and Endo Pharmaceuticals, Inc. are referred to as "Endo").

          32.     Endo develops, markets, and sells opioid drugs in the U.S. and in Hopkins County.

   Endo also manufactures and sells generic opioids in the U.S. and Hopkins County, by itself and

   through its subsidiary, Qualitest Pharmaceuticals, Inc.

          33.     ABBOTT LABORATORIES is an Illinois corporation with its principal place of

   business in Abbott Park, Illinois, and may be served through its registered agent for service of

   process, CT Corporation System, 1999 Bryan Street, Suite 900, Dallas, TX 75201. KNOLL

   PHARMACEUTICAL COMPANY is a wholly-owned subsidiary of Abbott Laboratories, and is

   a New Jersey corporation with its principal place of business in Parsippany, New Jersey, and may

   be served through its registered agent for service of process, Tax Division, D367/AP6D, 100




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   Abbott Park Road, Abbott Park, IL 60064-6057 (Abbott Laboratories and Knoll Pharmaceutical

   Company are referred to as "Abbott").

          34.     Abbott, along with Defendant Purdue Pharma, L.P., co-promotes opioids in the U.S.

   and in Hopkins County.

          35.     ALLERGAN PLC is a public limited company incorporated in Ireland with its

   principal place of business in Dublin, Ireland. ACTAVIS PLC acquired Allergan plc in March

   2015, and the combined company changed its name to Allergan plc in January 2013. Before that,

   WATSON PHARMACEUTICALS, INC. acquired ACTAVIS, 1NC. in October 2012, and the

   combined company changed its name to ALLERGAN FINANCE, LLC as of October 2013.

   ALLERGAN FINANCE, LLC is a Nevada Corporation with its principal place of business in

   Parsippany, New Jersey, and may be served through its registered agent for service of process, The

   Corporation Trust Company of Nevada, 701 S. Carson St., Suite 200, Carson City, NV 89701.

   WATSON LABORATORIES, INC. is a Nevada corporation with its principal place of business

   in Corona, California, and is a wholly-owned subsidiary of Allergan plc (f/k/a Actavis, Inc., f/k/a

   Watson Pharmaceuticals, Inc.), and may be served through its registered agent for service of

   process, Corporate Creations Network, Inc., 8275 South Eastern Ave., #200, Las Vegas, NV

   89123. ACTAVIS PHARMA,                  (f/k/a Actavis, Inc.) is a Delaware corporation with its

   principal place of business in New Jersey and was formerly known as WATSON PHARMA, INC,

   and may be served through its registered agent for service of process, CT Corporation System,

   1999 Bryan Street, Suite 900, Dallas, TX 75201. ACTAVIS LLC is a Delaware limited liability

   company with its principal place of business in Parsippany, New Jersey, and may be served through

   its registered agent for service of process, Corporate Creations Network, Inc., 3411 Silverside Rd.,

   Tatnall Building, Suite 104, Wilmington, DE 19810. Each of these Defendants is owned by




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   Allergan plc, which uses them to market and sell its drugs in the United States.

          36.     Upon information and belief, Allergan plc exercises control over these marketing

   and sales efforts and profits from the sale of Allergan/Actavis products ultimately inure to its

   benefit. (Allergan plc, Actavis plc, Actavis, Inc., Allergan Finance, LLC, Actavis LLC, Actavis

   Pharma, Inc., Watson Pharmaceuticals, Inc., Watson Pharma, Inc., and Watson Laboratories, Inc.

   are referred to as "Actavis"). Actavis acquired the rights to Kadian from King Pharmaceuticals,

   Inc. on December 30, 2008 and began marketing Kadian in 2009.

          37.     Actavis manufactures, promotes, sells, and distributes opioids in the U.S. and in

   Hopkins County.

          38.     1NSYS THERAPEUTICS, INC. ("Insys") is a Delaware corporation with its

   principal place of business in Chandler, Arizona, and may be served through its registered agent

   for service of process, CT Corporation Systcm, 1999 Bryan Street, Suite 900, Dallas, TX 75201.

   Insys manufactures, promotes, sells, and distributes opioids in the U.S. and in Hopkins County.

          39.     MCKESSON CORPORATION ("McKesson") is a Delaware corporation with its

   principal place of business in San Francisco, California, and may be served through its registered

   agent for service of process, CSC - Lawyers Incorporating Service, 211 E. 7th Street, Suite 620,

   Austin, TX 78701. Upon information and belief; McKesson is a pharmaceutical distributor licensed

   to do business in Texas. McKesson distributes pharmaceuticals to retail pharmacies and institutional

   providers in all 50 states, including Texas and Hopkins County.

          40.     CARDINAL HEALTH, INC. ("Cardinal") is an Ohio Corporation with its principal

   place of business in Dublin, Ohio, and may be served through its registered agent for service of

   process, CT Corporation System, 4400 Easton Commons, Suite 125, Columbus, OH 43219.

   Cardinal does substantial business in Texas and, upon information and belief, Cardinal is a




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   pharmaceutical distributor licensed to do business in Texas. Cardinal distributes pharmaceuticals to

   retail pharmacies and institutional providers to customers in all 50 states, including Texas and

   Hopkins County.

           41.      AMERISOURCEBERGEN DRUG CORPORATION ("Amerisource") is a

   Delaware Corporation with its principal place of business in Chesterbrook, Pennsylvania, and may

   be served through its registered agent for service of process, The Corporation Trust Company,

   Corporation Trust Center, 1209 Orange St., Wilmington, DE 19801. Amerisource does substantial

   business in Texas and, upon information and belief, Amerisource is a pharmaceutical distributor

   licensed to do business in Texas. Amerisource distributes pharmaceuticals to retail pharmacies and

   institutional providers to customers in all 50 states, including Texas and Hopkins County.

           42.     DON MARTIN O'NEAL, M.D. is an individual residing in Sulphur Springs,

   Hopkins County, Texas, and may be served with citation at 1617 Raintree Circle, Sulphur Springs,

   TX 75482, or wherever he may be found. Dr. O'Neal overprescribed methadone, oxycodone, and

   hydrocodoner2 to patients in Hopkins County and continued to do so after relinquishing his DEA

   license by using a colleague's signature stamp." Dr. O'Neal's license has been revoked by the

   Texas Medical Board.I4 Hopkins County is not, however, seeking damages under claims of medical

   malpractice or medical professional negligence.

           43.     HOWARD GREGG DIAMOND, M.D. is an individual residing in Sherman,

   Grayson County, Texas, and may be served with citation at Fannin County Jail, 725 County Road

   4200, Bonham, TX 75418, or wherever he may be found. Dr. Diamond, who ran Diamondback




   12 "Sulphur Springs Doctor's License Suspended" (May 24, 2010), http://www/kItv.com/story/12533527/sulphur-
   springs-doctors-license-suspended.
   '3 1d
   'A "Multiple ETX Doctors Disciplined by Medical Board," last viewed October 3, 2017,
   http://easttexasmatters.com/news/local-news-mutiple-etx-doctors-disciplined-by-medical-board/301673397.




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   Pain and Wellness Center in Sherman, Grayson County, Texas overprescribed fentanyl,

   hydrocodone, and morphine l5 to many patients, including those who lived in Hopkins County. Dr.

   Diamond's overprescribing resulted in seven deaths from 2012 to 2016, one of which was a resident

   of Hopkins County.I6 Dr. Diamond's license has been suspended by the Texas Medical Board."

   Hopkins County is not, however, seeking damages under claims of medical malpractice or medical

   professional negligence.

             44.    The County lacks information sufficient to specifically identify the true names or

   capacities, whether individual, corporate or otherwise, of Defendants sued herein under the

   fictitious names DOES 1 through 100 inclusive. The County will amend this Petition to show their

   true names and capacities if and when they are ascertained. Hopkins County is informed and

   believes, and on such information and belief alleges, that each of the Defendants named as a DOE

   has engaged in conduct that contributed to cause events and occurrences alleged in this Petition

   and, as such, shares liability for at least some part of the relief sought herein.

                                     V.      FACTUAL ALLEGATIONS

             45.    Before the 1990s, generally accepted standards of medical practice dictated that

   opioids should be used only for short-term acute pain — pain relating to recovery from surgery or

   for cancer or palliative (end-of-life) care. Using opioids for chronic pain was discouraged or even

   prohibited because there was a lack of evidence that opioids improved patients' ability to

   overcome pain and function. Instead the evidence demonstrated that patients developed tolerance

   to opioids over time, which increased the risk of addiction and other side effects.



   is Emma Ruby, "Texas Suspends Doctor's License after 7 Drug Deaths. including McKinney Overdose" (July 21,
   2012), http://www.dallasnews.com/news/crime/2017/07/12/texas-doctor-accused-prescribing-unnecessary-drugs-
   led-7-deaths.
   '6   1d
   17Texas Medical Board, http://reg. tmb/state/tx/us/OnLineVerif/Phy_ReportVerif_new.asp, last viewed October 18,
   2017.




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          46.     Defendants dramatically changed doctors' views regarding opioids through a well-

   funded deceptive marketing scheme. Each Defendant used direct marketing and unbranded

   advertising disseminated by seemingly independent third parties to spread false and deceptive

   statements about the risks and benefits of long-term opioid use.

   A.     Defendants Used Multiple Avenues To Disseminate their False and Deceptive
          Statements about Opioids.

          47.     Defendants spread their false and deceptive statements by (1) marketing their

   branded opioids directly to doctors treating patients residing in Hopkins County and the

   Hopkins County patients themselves and (2) deploying so-called unbiased and independent third

   parties to Hopkins County.

                  1. Defendants Spread and Continue to Spread Their False and Deceptive
                     Statements Through Direct Marketing of Their Branded Opioids.

          48.     Defendants' direct marketing of opioids generally proceeded on two tracks. First,

   each Defendant conducted advertising campaigns touting the purported benefits of their branded

   drugs. For example, Defendants spent more than $14 million on medical journal advertising of

   opioids in 2011, nearly triple what they spent in 2001, including $8.3 million by Purdue, $4.9

   million by Janssen, and $1.1 million by Endo.

          49.     A number of Defendants' branded ads deceptively portrayed the benefits of opioids

   for chronic pain. For example, Endo distributed and made available on its website,

   www.opana.com , a pamphlet promoting Opana ER with photographs depicting patients with

   physically demanding jobs like a construction worker and chef, implying that the drug would

   provide long-term pain-relief and functional improvement. Purdue also ran a series of ads, called

   "pain vignettes," for OxyContin in 2012 in medical journals. These ads featured chronic pain

   patients and recommended OxyContin for each. One ad described a "54-year-old writer with




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   osteoarthritis of the hands" and implied that OxyContin would help the writer work more

   effectively. Pursuant to a settlement agreement, Endo and Purdue agreed in late 2015 and 2016 to

   halt these misleading representations in New York, but they may continue to disseminate them in

   Texas.

            50.   Second, each Defendant promoted the use of opioids for chronic pain through

   "detailers" — sales representatives who visited individual doctors and medical staff in their offices

   — and small-group speaker programs. Defendants devoted massive resources to direct sales

   contacts with doctors. In 2014 alone, Defendants spent $168 million on detailing branded opioids

   to doctors, including $108 million by Purdue, $34 million by Janssen, $13 million by Cephalon,

   $10 million by Endo, and $2 million by Actavis. This amount is twice as much as Defendants spent

   on detailing in 2000.

            51.   Defendants also identified doctors to serve, for payment, on their speakers' bureaus

   and to attend programs with speakers and meals paid for by Defendants. These speaker programs

   provided: (1) an incentive for doctors to prescribe a particular opioid (so they might be selected to

   promote the drug); (2) recognition and compensation for the doctors selected as speakers; and (3)

   an opportunity to promote the drug through the speaker to his or her peers. These speakers gave

   the false impression that they were providing unbiased and medically accurate presentations when

   they were, in fact, presenting a script prepared by Defendants. On information and belief, these

   presentations conveyed misleading information, omitted material information, and failed to correct

   Defendants' prior misrepresentations about the risks and benefits of opioids.

            52.   Defendants employed the same marketing plans, strategies, and messages in and

   around Hopkins County, Texas as they did nationwide. Across the pharmaceutical industry, "core

   message" development is funded and overseen on a national basis by corporate headquarters. This




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   comprehensive approach ensures that Defendants' messages are accurately and consistently

   delivered across marketing channels and in each sales territory. Defendants consider this high level

   of coordination and uniformity crucial to successfully marketing their drugs.

                  2. Defendants Used a Diverse Group of Seemingly Independent Third Parties
                      to Spread False and Deceptive Statements about the Risks and Benefits of
                      Opioids.

          53.     Defendants also deceptively marketed opioids in and around Hopkins County

   through unbranded advertising — i.e., advertising that promotes opioid use generally but does not

   name a specific opioid. This advertising was ostensibly created and disseminated by independent

   third parties. But by funding, directing, reviewing, editing, and distributing this unbranded

   advertising, Defendants controlled the deceptive messages disseminated by these third parties and

   acted in concert with them to falsely and misleadingly promote opioids for treating chronic pain.

          54.     Unbranded advertising also avoided regulatory scrutiny because Defendants did

   not have to submit it to the FDA, and therefore it was not reviewed by the FDA.

          55.     Defendants' deceptive unbranded marketing often contradicted their branded

   materials reviewed by the FDA. For example, Endo's unbranded advertising contradicted its

   concurrent, branded advertising for Opana ER:

                        Pain: Opioid Therapy              Opana ER Advertisement

                            (Unbranded)                           (Branded)

                                                     "All patients treated with opioids
                    "People who take opioids as      require careful monitoring for
                    prescribed usually do not        signs of abuse and addiction, since
                    become addicted."                use of opioid analgesic products
                                                     carries the risk of addiction even
                                                     under appropriate medical use."

          a.      Key Opinion Leaders (KOLs)

          56.     Defendants spoke through a small circle of doctors who, upon information and




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   belief, were selected, funded, and elevated by Defendants because their public positions supported

   using opioids to treat chronic pain. These doctors became known as "key opinion leaders" or

   "KOLs."

          57.     Defendants paid KOLs to serve as consultants or on their advisory boards and to

   give talks or present CMEs, and their support helped these KOLs become respected industry

   experts. As they rose to prominence, these KOLs touted the benefits of opioids to treat chronic

   pain, repaying Defendants by advancing their marketing goals. KOLs' professional reputations

   became dependent on continuing to promote a pro-opioid message, even in activities that were not

   directly funded by Defendants.

          58.     KOLs have written, consulted on, edited, and lent their names to books and articles,

   and given speeches and CMEs supportive of chronic opioid therapy. Defendants created

   opportunities for KOLs to participate in research studics Defendants suggested or chose and then

   cited and promoted favorable studies or articles by their KOLs. By contrast, Defendants did not

   support, acknowledge, or disseminate publications of doctors unsupportive or critical of chronic

   opioid therapy.

          59.     Defendants' KOLs also served on committees that developed treatment guidelines

   that strongly encourage using opioids to treat chronic pain, and on the boards of pro-opioid

   advocacy groups and professional societies that develop, select, and present CMEs. Defendants

   were able to direct and exert control over each of these activities through their KOLs.

          60.     Pro-opioid doctors are one of the most important avenues that Defendants use to

   spread their false and deceptive statements about the risks and benefits of long-term opioid use.

   Defendants know that doctors rely heavily and less critically on their peers for guidance, and KOLs

   provide the false appearance of unbiased and reliable support for chronic opioid therapy.




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           61.     Defendants utilized many KOLs, including many of the same ones. Two of the most

   prominent are described below.

                   1. Russell Portenoy

           62.     Dr. Russell Portenoy, former Chairman of the Department of Pain Medicine and

   Palliative Care at Beth Israel Medical Center in New York, is one example of a KOL who

   Defendants identified and promoted to further their marketing campaign. Dr. Portenoy received

   research support, consulting fees, and honoraria from Cephalon, Endo, Janssen, and Purdue

   (among others), and was a paid consultant to Cephalon and Purdue.

           63.     Dr. Portenoy was instrumental in opening the door for the regular use of opioids to

   treat chronic pain. He served on the American Pain Society ("APS")/American Academy of Pain

   Medicine ("AAPM") Guidelines Committees, which endorsed the use of opioids to treat chronic

   pain, first in 1997 and again in 2009. He was also a member of the board of the American Pain

   Foundation ("APF"), an advocacy organization almost entirely funded by Defendants.

           64.     Dr. Portenoy also made frequent media appearances promoting opioids. He

   appeared on Good Morning America in 2010 to discuss using opioids long-term to treat chronic

   pain. On this widely-watched program, broadcast in Texas and across the country, Dr. Portenoy

   claimed: "Addiction, when treating pain, is distinctly uncommon. If a person does not have a

   history, a personal history, of substance abuse, and does not have a history in the family of

   substance abuse, and does not have a very major psychiatric disorder, most doctors can feel very

   assured that that person is not going to become addicted."I8

           65.     Dr. Portenoy later admitted that he "gave innumerable lectures in the late 1980s




   18 Good Morning America television broadcast, ABC News (Aug. 30, 2010).




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   and '90s about addiction that weren't true."I9 These lectures falsely claimed that less than 1% of

   patients would become addicted to opioids. According to Dr. Portenoy, because the primary goal

   was to "destigmatize" opioids, he and other doctors promoting them overstated their benefits and

   glossed over their risks. Dr. Portenoy also conceded that "[d]ata about the effectiveness of opioids

   does not exist."2° Portenoy candidly stated: "Did I teach about pain management, specifically

   about opioid therapy, in a way that reflects misinformation? Well.. .1 guess I did."2I

                      2. Lynn Webster

              66.     Another KOL, Dr. Lynn Webster, was the co-founder and Chief Medical Director

   of Lifetree Clinical Research, an otherwise unknown pain clinic in Salt Lake City, Utah. Dr.

   Webster was President in 2013 and is a current board member of AAPM, a Front Group that

   ardently supports chronic opioid therapy. He is a Senior Editor of Pain Medicine, the same journal

   that published Endo special advertising supplements touting Opana ER. Dr. Webster authored

   numerous CMEs sponsored by Cephalon, Endo, and Purdue while he was receiving significant

   funding from Defendants (including nearly $2 million from Cephalon).

              67.     In 2011, Dr. Webster presented a program via webinar sponsored by Purdue titled,

   Managing Patient's Opioid Use: Balancing the Need and the Risk. Dr. Webster recommended

   using risk screening tools, such as urine testing and patient agreements as a way to prevent

   "overuse of prescriptions" and "overdose deaths," which was available to and was intended to reach

   doctors treating Hopkins County residents.

              68.     Dr. Webster also was a leading proponent of the concept of "pseudoaddiction," the

   notion that addictive behaviors should be seen not as warnings, but as indications of undertreated



   19   Thomas Catan & Evan Perez, A Pain-Drug Champion Has Second Thoughts, WALL ST. J., Dec.
        17, 2012.
   20

   21   Id.




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   pain. In Dr. Webster's description, the only way to differentiate the two was to increase a patient's

   dose of opioids. As he and his co-author wrote in a book entitled Avoiding Opioid Abuse While

   Managing Pain (2007), a book that is still available online, when faced with signs of aberrant

   behavior, increasing the dose "in most cases . . . should be the clinician's first response." Endo

   distributed this book to doctors. Years later, Dr. Webster reversed himself, acknowledging that

   "[pseudoaddiction] obviously became too much of an excuse to give patients more medication."22

           b.      Front Groups

           69.     Defendants entered into arrangements with seemingly unbiased and independent

   patient and professional organizations to promote opioids for treating chronic pain. Under

   Defendants' direction and control, these "Front Groups" generated treatment guidelines, unbranded

   materials, and programs that favored chronic opioid therapy. They also assisted Defendants by

   responding to negative articles, by advocating against regulatory changes that would limit

   prescribing opioids in accordance with the scientific evidence, and by conducting outreach to

   vulnerable patient populations targeted by Defendants.

           70.     These Front Groups depended on Defendants for funding and, in some cases, for

   survival. Defendants also exercised control over programs and materials created by these groups

   by collaborating on, editing, and approving their content, and by funding their dissemination. In

   doing so, Defendants made sure these Groups would generate only the messages Defendants wanted

   to distribute. Even so, the Front Groups held themselves out as independent and as serving the needs

   of their members — whether patients suffering from pain or doctors treating those patients.

           71.    Defendants Cephalon, Endo, Janssen, and Purdue utilized many Front Groups,

   including many of the same ones. Several of the most prominent are described below, but there


   22
     John Fauber & Ellen Gabler, Networking Fuels Painkiller Boom, MILWAUKEE WISC. J. SENTINEL (Feb. 19,
   2012).



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   are many others, including the American Pain Society ("APS"), American Geriatrics Society

   ("AGS"), the Federation of State Medical Boards ("FSMB"), American Chronic Pain Association

   ("ACPA"), American Society of Pain Education ("ASPE"), National Pain Foundation ("NPF")

   and Pain & Policy Studies Group ("PPSG").

                   1. American Pain Foundation ("APF")

           72.     The most prominent of Defendants' Front Groups was APF, which received more

   than $10 million in funding from opioid manufacturers from 2007 until it closed its doors in May

   2012. Endo alone provided more than half that funding; Purdue was next at $1.7 million.

           73.     In 2009 and 2010, more than 80% of APF's operating budget came from

   pharmaceutical industry sources. Including industry grants for specific projects, APF received

   about $2.3 million from industry sources out of total income of about $2.85 million in 2009; its

   budget for 2010 projected receipts of roughly $2.9 million from drug companies, out of total

   income of about $3.5 million. By 2011, APF was entirely dependent on incoming grants from

   defendants Purdue, Cephalon, Endo, and others to avoid using its line of credit. As one of its board

   members, Russell Portenoy, explained the lack of funding diversity was one of the biggest

   problems at APF.

           74.     APF issued education guides for patients, reporters, and policymakers that touted

   the benefits of opioids for chronic pain and trivialized their risks, particularly the risk of addiction.

   APF also engaged in a significant multimedia campaign — through radio, television, and the

   internet — to educate patients about their "right" to pain treatment, namely opioids. All of the

   programs and materials were available nationally and were intended to reach patients and

   consumers in Hopkins County.

                   2. American Academy of Pain Medicine ("AAPM")




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              75.      The American Academy of Pain Medicine, with the assistance, prompting,

    involvement, and funding of Defendants, issued treatment guidelines and sponsored and hosted

   medical education programs essential to Defendants' deceptive marketing of chronic opioid

   therapy.

              76.      AAPM received over $2.2 million in funding since 2009 from opioid

   manufacturers. AAPM maintained a corporate relations council, whose members paid $25,000 per

   year (on top of other funding) to participate. The benefits included allowing members to present

   educational programs at off-site dinner symposia in connection with AAPM's marquee event — its

   annual meeting held in Palm Springs, California, or other resort locations. AAPM describes the

   annual event as an "exclusive venue" for offering education programs to doctors. Membership in

   the corporate relations council also allows drug company executives and marketing staff to meet

   with AA PM executive committee members in small settings. Defendants Endo, Purdue, Cephalon,

   and Actavis were members of the council and presented deceptive programs to doctors who

   attended this annual event.

              77.     AAPM is viewed internally by Endo as "industry friendly," with Endo advisors and

   speakers among its active members. Endo attended AAPM conferences, funded its CMEs, and

   distributed its publications. The conferences sponsored by AAPM heavily emphasized sessions

   on opioids — 37 out of roughly 40 at one conference alone. AAPM's presidents have included top

   industry-supported KOLs Perry Fine, Russell Portenoy, and Lynn Webster. Dr. Webster was even

   elected president of AAPM while under a DEA investigation. Another past AAPM president, Dr.

   Scott Fishman, stated that he would place the organization "at the forefront" of teaching that "the

   risks of addiction are . . . small and can be managed."23



   23
        Interview by Paula Moyer with Scott M. Fishman, M.D., Professor of Anesthesiology and Pain Medicine, Chief


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            78.      AAPM's staff understood they and their industry funders were engaged in a

    common task. Defendants were able to influence AAPM through both their significant and regular

    funding and the leadership of pro-opioid KOLs within the organization.

            79.      In 1997, AAPM and the American Pain Society jointly issued a consensus

   statement, The Use of Opioids for the Treatment of Chronic Pain, which endorsed opioids to treat

   chronic pain and claimed there was a low risk that patients would become addicted to opioids. The

   co-author of the statement, Dr. Haddox, was at the time a paid speaker for Purdue. Dr. Portenoy

   was the sole consultant. The consensus statement remained on AAPM's website until 2011, and

   was taken down from AAPM's website only after a doctor complained, though it still lingers on

   the internet elsewhere.

            80.      AAPM and APS issued their own guidelines in 2009 ("AAPM/APS Guidelines")

   and continued to recommend using opioids to treat chronic pain. Fourteen of the 21 panel members

   who drafted the AAPM/APS Guidelines, including KOLs Dr. Portenoy and Dr. Perry Fine of the

   University of Utah, received support from Janssen, Cephalon, Endo, and Purdue.

            81.      The 2009 Guidelines promote opioids as "safe and effective" for treating chronic

   pain, despite acknowledging limited evidence, and conclude that the risk of addiction is

   manageable for patients regardless of past abuse histories. One panel member, Dr. Joel Saper,

   Clinical Professor of Neurology at Michigan State University and founder of the Michigan

   Headache & Neurological Institute, resigned from the panel because he was concerned the 2009

   Guidelines were influenced by contributions that drug companies, including Defendants, made to

   the sponsoring organizations and committee members. These AAPM/APS Guidelines have been

   a particularly effective channel of deception and have influenced not only treating physicians, but



   of the Division of Pain Medicine, Univ. of Cal., Davis (2005), http://www.medscape.orgiviewarticle/500829.



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    also the body of scientific evidence on opioids. The Guidelines have been cited 732 times in

    academic literature, were disseminated in and around Hopkins County during the relevant time

    period, are still available online, and were reprinted in the Journal of Pain.

    B.      Defendants' Marketing Scheme Misrepresented the Risks and Benefits of Opioids.

            82.     To convince doctors treating residents in Hopkins County and Hopkins County

    patients that opioids can and should be used to treat chronic pain, Defendants had to convince them

    that long-term opioid use is both safe and effective. Knowing they could do so only by deceiving

    those doctors and patients about the risks and benefits of long-term opioid use, Defendants made

    claims that were not supported by, or were contrary to, the scientific evidence. Even though

    pronouncements by and guidance from the FDA and the CDC based on that evidence confirm that

    their claims were false and deceptive, Defendants have not corrected them, or instructed their

    KOLs or Front Groups to correct them, and continue to spread thcm today.

    C.      Defendants Falsely Trivialized or Failed to Disclose the Known Risks of Long-Term
            Opioid Use.

            83.     To convince doctors and patients that opioids are safe, Defendants deceptively

    trivialized and failed to disclose the risks of long-term opioid use, particularly the risk of addiction,

    through a series of misrepresentations that have been conclusively debunked by the FDA and

   CDC. These misrepresentations — which are described below — reinforced each other and created

    the dangerously misleading impression that: (1) starting patients on opioids was low-risk because

   most patients would not become addicted, and because those who were at greatest risk of addiction

    could be readily identified and managed; (2) patients who displayed signs of addiction probably

    were not addicted and, in any event, could easily be weaned from the drugs; (3) the use of higher

    opioid doses, which many patients need to sustain pain relief as they develop tolerance to the drugs,

    do not pose special risks; and (4) abuse-deterrent opioids both prevent abuse and overdose and are




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   inherently less addictive. Defendants have not only failed to correct these misrepresentations, they

   continue to make them today.

          84.     First, Defendants falsely claimed the risk of addiction is low and unlikely to

   develop when opioids are prescribed, as opposed to obtained illicitly; and failed to disclose the

   greater risk of addiction with prolonged use of opioids. For example:

                  a.     Actavis's predecessor caused a patient education brochure to be distributed
                         in 2007 claiming opioid addiction is possible, but "less likely if you have
                         never had an addiction problem." Upon information and belief, based on
                         Actavis's acquisition of its predecessor's marketing materials along with
                         the rights to Kadian, Actavis continued to use this brochure in 2009 and
                         beyond;

                  b.     Cephalon and Purdue sponsored APF's Treatment Options: A Guide for
                         People Living with Pain (2007), which instructed that addiction is rare and
                         limited to extreme cases of unauthorized dose escalations, .obtaining
                         duplicative opioid prescriptions from multiple sources, or theft. This
                         publication is still available online;

                  c.     Endo sponsored a website, Painknowledge.com, which claimed in 2009 that
                         "[p]eople who take opioids as prescribed usually do not become addicted."
                         Another Endo website, PainAction.com, stated "Did you know? Most
                         chronic pain patients do not become addicted to the opioid medications that
                         are prescribed for them;"

                  d.     Endo distributed a pamphlet with the Endo logo entitled Living with
                         Someone with Chronic Pain, which stated that: "Most health care providers
                         who treat people with pain agree that most people do not develop an
                         addiction problem." A similar statement appeared on the Endo website,
                         www.opana.com;

                  e.     Janssen reviewed, edited, approved, and distributed a patient education
                         guide entitled Finding Relief Pain Management for Older Adults (2009),
                         which described as "myth" the claim that opioids are addictive, and asserted
                         as fact that "[m]any studies show that opioids are rarely addictive when used
                         properly for the management of chronic pain;"

                  f.     Janssen currently runs a website, Prescriberesponsibly.com (last updated
                         July 2, 2015), which claims that concerns about opioid addiction are
                         "overestimated;"


                  g.     Purdue sponsored APF's A Policymaker's Guide to Understanding Pain &




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                             Its Management — which claims that less than 1% of children prescribed
                             opioids will become addicted and that pain is undertreated due to
                             "misconceptions about opioid addiction[]." This publication is still
                             available online; and

                    h.       Detailers for Purdue, Endo, Janssen, and Cephalon in and around Hopkins
                             County minimized or omitted any discussion with doctors of the risk of
                             addiction; misrepresented the potential for opioid abuse with purportedly
                             abuse-deterrent formulations; and routinely did not correct the
                             misrepresentations noted above.

           85.      These claims contradict longstanding scientific evidence, as the FDA and CDC

    have conclusively declared. As noted in the 2016 CDC Guideline endorsed by the FDA, there is

   "extensive evidence" of the "possible harms of opioids (including opioid use disorder [an

   alternative term for opioid addiction])."24 The guideline points out that lobioid pain medication

    use presents serious risks, including.. .opioid use disorder" and that "continuing opioid therapy for

   3 months substantially increases risk for opioid use disorder."25

           86.      The FDA further exposed the falsity of Defendants' claims about the low risk of

   addiction when it announced changes to the labels for ER/LA opioids in 2013 and for IR opioids

    in 2016. In its announcements, the FDA discussed the risks related to opioid use and that IR

   opioids are associated with "persistent abuse, addiction, overdose mortality, and risk of NOWS

   [neonatal opioid withdrawal syndrome] "26

           87.      According to the FDA, because of the risks associated with long-term opioid use,

    including "the serious risk of addiction, abuse, misuse, overdose, and death,"27 opioids should be

   "reserved for pain severe enough to require opioid treatment and for which alternative treatment




      CDC Guideline for Prescribing Opioids for Chronic Pain — United States 2016, Centers for Disease Control and
   Prevention (Mar. 18, 2016).
   25 Id

   26 FDA Announcement of Enhanced Warnings for Immediate-Release Opioid Pain Medications Related to Rislc,s of

   Misuse, Abuse, Addiction, Overdose and Death, Federal Drug Administration (Mar. 22, 2016)
   27 id




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    options (e.g., non-opioid analgesics or opioid combination products, as appropriate) are inadequate

    or not tolerated."28


               88.     The warnings on Defendants' own FDA-approved drug labels caution that opioids

    "exposes users to risks of addiction, abuse and misuse, which can lead to overdose and death"29

    and that addiction "can occur in patients appropriately prescribed"30 opioids.


               89.     Second, Defendants falsely instructed doctors and patients that signs of addiction

    are actually signs of undertreated pain and should be treated by prescribing more opioids.

    Defendants called this phenomenon "pseudoaddiction" — a term coined by Dr. David Haddox, who

    went to work for Purdue, and popularized by Dr. Russell Portenoy, a KOL for Cephalon, Endo,

    Janssen, and Purdue — and claimed that pseudoaddiction is substantiated by scientific evidence.

    For example:

                       a.       Cephalon and Purdue sponsored Responsible Opioid Prescribing (2007),
                                which taught that behaviors such as "requesting drugs by name,"
                                "demanding or manipulative behavior," seeing more than one doctor to
                                obtain opioids, and hoarding, are all signs of pseudoaddiction, rather than
                                true addiction. Responsible Opioid Prescribing remains for sale online.
                                The 2012 edition continues to teach that pseudoaddiction is real;

                       b.       Janssen sponsored, funded, and edited the Let's Talk Pain website, which
                                in 2009 stated: "pseudoaddiction . . . refers to patient behaviors that may
                                occur when pain is under-treated . . . . Pseudoaddiction is different from
                                true addiction because such behaviors can be resolved with effective pain
                                management;"

                       c.       Endo sponsored a National Initiative on Pain Control (NIPC) CME
                                program in 2009 titled Chronic Opioid Therapy: Understanding Risk
                                While Maximizing Analgesia, which promoted pseudoaddiction by
                                teaching that a patient's aberrant behavior was the result of untreated pain.
                                Endo substantially controlled NIPC by funding NIPC projects;
                                developing, specifying, and reviewing content; and distributing NIPC
                                materials;


   28 id

   29   See, e.g., OxyContin label and insert at OxyContin.com.
        Id.



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                    d.       Purdue published a pamphlet in 2011 entitled Providing Relief
                             Preventing Abuse, which described pseudoaddiction as a concept that
                             "emerged in the literature" to describe the inaccurate interpretation of
                             [drug-seeking behaviors] in patients who have pain that has not been
                             effectively treated;" and

                    e.       Purdue sponsored a CME program entitled Path of the Patient, Managing
                             Chronic Pain in Younger Adults at Risk for Abuse. In a role play, a
                             chronic pain patient with a history of drug abuse tells his doctor that he
                             is taking twice as many hydrocodone pills as directed. The narrator notes
                             that because of pseudoaddiction, the doctor should not assume the patient
                             is addicted even if he persistently asks for a specific drug, seems
                             desperate, hoards medicine, or "overindulges in unapproved escalating
                             doses." The doctor treats this patient by prescribing a high-dose, long-
                             acting opioid.

           90.      The 2016 CDC Guideline rejects the concept of pseudoaddiction. The Guideline

   nowhere recommends that opioid dosages be increased if a patient is not experiencing pain relief.

   To the contrary, the Guideline explains that "[p]atients who do not experience clinically

   meaningful pain relief early in treatment.. .are unlikely to experience pain relief with longer-term

   use,"3I and that physicians should "reassess[] pain and function within 1 month"32 in order to

   decide whether to "minimize risks of long-term opioid use by discontinuing opioids"33 because the

   patient is "not receiving a clear benefit."34

           91.      Third, Defendants falsely instructed doctors and patients that addiction risk

   screening tools, patient contracts, urine drug screens, and similar strategies allow them to reliably

   identify and safely prescribe opioids to patients predisposed to addiction. These misrepresentations

   were especially insidious because Defendants aimed them at general practitioners and family

   doctors who lack the time and expertise to closely manage higher-risk patients. Defendants'




   31 CDC Guidelines for Prescribing Opioids for Chronic Pain, supra.
   321d
   33 Id

   34 Id.




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    misrepresentations made these doctors feel more comfortable prescribing opioids to their patients,

    and patients more comfortable starting opioid therapy for chronic pain. For example:

                    a.      Endo paid for a 2007 supplement in the Journal of Family Practice written
                            by a doctor who became a member of Endo's speakers' bureau in 2010. The
                            supplement, entitled Pain Management Dilemmas in Primary Care: Use of
                            Opioids, emphasized the effectiveness of screening tools, claiming that
                            patients at high risk of addiction could safely receive chronic opioid therapy
                            using a "maximally structured approach" involving toxicology screens and
                            pill counts;

                    b.      Purdue sponsored a 2011 webinar, Managing Patient's Opioid Use:
                            Balancing the Need and Risk, which claimed that screening tools, urine
                            tests, and patient agreements prevent "overuse of prescriptions" and
                            "overdose deaths:" and

                    c.      As recently as 2015, Purdue has represented in scientific conferences that
                            "bad apple" patients — and not opioids — are the source of the addiction crisis
                            and that once those "bad apples" are identified, doctors can safely prescribe
                            opioids without causing addiction.

           92.      Once again, the 2016 CDC Guideline confirms these representations are false. The

   Guideline notes that there are no studies assessing the effectiveness of risk mitigation strategies —

   such as screening tools, patient contracts, urine drug testing, or pill counts, widely believed by

   doctors to detect and deter abuse, "for improving outcomes related to overdose, addiction, abuse,

   or misuse."35 As a result, the Guideline recognizes that available risk screening tools "show

   insufficient accuracy for classification of patients as at low or high risk for [opioid] abuse or

   misuse"36 and counsels that doctors "should not overestimate the ability of these tools to rule out

   risks from long-term opioid therapy."37

           93.      Fourth, to underplay the risk and impact of addiction and make doctors feel more

   comfortable starting patients on opioids, Defendants falsely claimed that opioid dependence can




   'CDC Guidelines for Prescribing Opioids for Chronic Pain, supra.
    36 Id

    37 Id




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    easily be addressed by tapering and that opioid withdrawal is not a problem thereby failing to

    disclose the increased difficulty of stopping opioids after long-term use.

               94.     For example, a CME sponsored by Endo, entitled Persistent Pain in the Older

    Adult, claimed that withdrawal symptoms can be avoided by tapering a patient's opioid dose by

    10%-20% for 10 days. And Purdue sponsored APF's A Policymaker's Guide to Understanding

    Pain & Its Management, which claimed that "[s]ymptoms of physical dependence can often be

   ameliorated by gradually decreasing the dose of medication during discontinuation."

               95.     Defendants deceptively minimized the significant symptoms of opioid withdrawal,

    which, as explained in the 2016 CDC Guideline, include drug cravings, anxiety, insomnia,

   abdominal pain, vomiting, diarrhea, sweating, tremor, tachycardia (rapid heartbeat), spontaneous

   abortion and premature labor in pregnant women, and the unmasking of anxiety, depression, and

   addiction — and grossly understated the difficulty of tapering, particularly after long-term opioid

    use.

              96.      Yet the 2016 CDC Guideline recognizes that the duration of opioid use and the

   dosage of opioids prescribed should be limited to "minimize the need to taper opioids to prevent

   distressing or unpleasant withdrawal symptoms,"38 because "physical dependence on opioids is an

   expected physiologic response in patients exposed to opioids for more than a few days."39 The

   Guideline further states that "tapering opioids can be especially challenging after years on high

   dosages because of physical and psychological dependence"4° and highlights the difficulties,

    including the need to carefully identify "a taper slow enough to minimize symptoms and signs of

   opioid withdrawal"41 and pausing and restarting tapers depending on the patient's response.



   38   CDC Guidelines for Prescribing Opioids for Chronic Pain, supra.
   39   1d.
   40 id

   41   CDC Guidelines for Prescribing Opioids for Chronic Pain, supra.




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             97.   The CDC also acknowledges the lack of any "high-quality studies comparing the

    effectiveness of different tapering protocols for use when opioid dosage is reduced or opioids are

    discontinued."42

             98.   Fifth, Defendants falsely claimed that doctors and patients could increase opioid

    dosages indefinitely without added risk and failed to disclose the greater risks to patients at higher

    dosages. The ability to escalate dosages was critical to Defendants' efforts to market opioids for

    long-term use to treat chronic pain because, absent this misrepresentation, doctors would have

   abandoned treatment when patients built up tolerance and lower dosages did not provide pain

   relief. For example:

                   a.      Actavis's predecessor created a patient brochure for Kadian in 2007 that
                           stated, "Over time, your body may become tolerant of your current dose.
                           You may require a dose adjustment to get the right amount of pain relief.
                           This is not addiction." Upon information and belief, based on Actavis's
                           acquisition of its predecessor's marketing materials along with the rights to
                           Kadian, Actavis continued to use these materials in 2009 and beyond;

                   b.      Cephalon and Purdue sponsored APF 's Treatment Options: A Guide for
                           People Living with Pain (2007), which claims that some patients "need" a
                           larger dose of an opioid, regardless of the dose currently prescribed. The
                           guide stated that opioids have "no ceiling dose" and are therefore the most
                           appropriate treatment for severe pain. This guide is still available for sale
                           online;

                   c.      Endo sponsored a website, painknowledge.com, which claimed in 2009 that
                           opioid dosages may be increased until "you are on the right dose of
                           medication for your pain;"

                   d.      Endo distributed a pamphlet edited by a KOL entitled Understanding Your
                           Pain: Taking Oral Opioid Analgesics, which was available during the time
                           period of this Complaint on Endo's website. In Q&A format, it asked "If I
                           take the opioid now, will it work later when I really need it?" The response
                           is, "The dose can be increased.. . . You won't 'run out' of pain relief;"


                   e.      Janssen sponsored a patient education guide entitled Finding Relief Pain
                           Management for Older Adults (2009), which was distributed by its sales


   42   Id



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                               force. This guide listed dosage limitations as "disadvantages" of other pain
                               medicines but omitted any discussion of risks of increased opioid dosages;

                       f.      Purdue's In the Face of Pain website promotes the notion that if a patient's
                               doctor does not prescribe what, in the patient's view, is a sufficient dosage
                               of opioids, he or she should find another doctor who will;

                       g.      Purdue sponsored APF's A Policymaker's Guide to Understanding Pain &
                               Its Management, which taught that dosage escalations are "sometimes
                               necessary," even unlimited ones, but did not disclose the risks from high
                               opioid dosages. This publication is still available online;

                       h.      Purdue sponsored a CME entitled Overview ofManagement Options that is
                               still available for CME credit. The CME was edited by a KOL and taught
                               that NSAIDs and other drugs, but not opioids, are unsafe at high dosages;
                               and

                               Purdue presented a 2015 paper at the College on the Problems of Drug
                               Dependence, the "the oldest and largest organization in the US dedicated to
                               advancing a scientific approach to substance use and addictive disorders,"
                               challenging the correlation between opioid dosage and overdose.

              99.      These claims conflict with the scientific evidence, as confirmed by the FDA and

    CDC. As the CDC explains in its 2016 Guideline, the "[Nenefits of high-dose opioids for chronic

    pain are not established"" while the "risks for serious harms related to opioid therapy increase at

    higher opioid dosage."'"

              100.     More specifically, the CDC explains that "there is now an established body of

    scientific evidence showing that overdose risk is increased at higher opioid dosages."' Similarly,

    there is an "increased risk for opioid use disorder, respiratory depression, and death at higher

    dosages."46 That is why the CDC advises doctors to avoid increasing dosages above 90 morphine

    milligram equivalents per day.

              101.    The 2016 CDC Guideline reinforces earlier findings announced by the FDA. In



   43   CDC Guidelines for Prescribing Opioids for Chronic Pain, supra.
   44   Id
   45   1d.
   46   id




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    2013, the FDA acknowledged that available data suggested that increasing the opioid dosage

    likewise increased certain adverse events. For example, the FDA noted that studies suggest a

    positive association between high-dose opioid use and overdoses.

            102.    Finally, Defendants' deceptive marketing of the so-called abuse-deterrent

    properties of some of their opioids has created false impressions that these opioids can curb

    addiction and abuse.

           103.     More specifically, Defendants have made misleading claims about the ability of

    their so-called abuse-deterrent opioid formulations to deter abuse. For example, Endo's

    advertisements for the 2012 reformulation of Opana ER claimed that it was designed to be crush

    resistant in a way that suggested it was more difficult to abuse. This claim was false.

           104.    The FDA warned in a 2013 letter that there was no evidence Endo's design would

    provide a reduction in oral, intranasal or intravenous abuse.47 Moreover, Endo's own studies,

    which it failed to disclose, showed that Opana ER could still be ground and chewed.

           105.    In a 2016 settlement with the State of New York, Endo agreed not to make

    statements in New York that Opana ER was designed to be or is crush resistant. The State found

    those statements false and deceptive because there was no difference in the ability to extract the

    narcotic from Opana ER.

           106.    Similarly, the 2016 CDC Guideline states that no studies support the notion that

   "abuse-deterrent technologies [are] a risk mitigation strategy for deterring or preventing abuse,"48

    noting that the technologies — even when they work — "do not prevent opioid abuse through oral

    intake, the most common route of opioid abuse, and can still be abused by non-oral routes."49



   47 See FDA Statement: Original Opana ER Reliving Determination (May 10, 2013).
   48
      CDC Guidelines Pr Prescribing Opioids for Chronic Pain, supra.
   49 Id




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            107.    These numerous, long-standing misrepresentations of the risks of long-term opioid

    use spread by Defendants successfully convinced doctors and patients to discount those risks.

    D.     Defendants Grossly Overstated the Benefits of Chronic Opioid Therapy.

            108.    To convince doctors and patients that opioids should be used to treat chronic pain,

    Defendants had to persuade them that there was a significant benefit to long-term opioid use. But

    as the 2016 CDC Guideline makes clear, there is "insufficient evidence to determine the long-

    term benefits of opioid therapy for chronic pain."50

           109.     In fact, the CDC found no evidence showing "a long-term benefit of opioids in

    pain and function versus no opioids for chronic pain with outcomes examined at least 1 year later

    (with most placebo-controlled randomized trials < 6 weeks in duration)"51 and that other

    treatments were more or equally beneficial and less harmful than long-term opioid use. The FDA,

   too, has recognized the lack of evidence to support long-term opioid use.

           110.     In 2013, the FDA stated that it was unaware of any studies demonstrating the

   safety and efficacy of opioids for long-term use.52 Despite this lack of studies, Defendants falsely

   and misleadingly touted the benefits of long-term opioid use and suggested that these benefits

   were supported by scientific evidence. Not only have Defendants failed to correct these false and

   deceptive claims, they continue to make them today. For example:

                    a.      Actavis distributed an advertisement that claimed that the use of Kadian to
                            treat chronic pain would allow patients to return to work, relieve "stress on
                            your body and your mental health," and help patients enjoy their lives;

                    b.      Endo distributed advertisements that claimed that the use of Opana ER for
                            chronic pain would allow patients to perform demanding tasks like
                            construction work or work as a chef and portrayed seemingly healthy,
                            unimpaired subjects;

   501d
   511d
     Letter from Janet Woodcock, M.D., Dir., Ctr. For Drug Eval. & Res., to Andrew Kolodny, M.D., Pres. Physicians
   for Responsible Opioid Prescribing, Re Docket No. FDA-2012-P-0818 (Sept. 10, 2013).



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                c.    Janssen sponsored and edited a patient education guide entitled Finding
                      Relief Pain Management for Older Adults (2009) — which states as "a fact"
                      that "opioids may make it easier for people to live normally." The guide
                      lists expected functional improvements from opioid use, including sleeping
                      through the night, returning to work, recreation, sex, walking, and climbing
                      stairs;

                d.    Purdue ran a series of advertisements for OxyContin in 2012 in medical
                      journals entitled "pain vignettes," which were case studies featuring
                      patients with pain conditions persisting over several months and
                      recommending OxyContin for them. The ads implied that OxyContin
                      improves patients' function;

                e.    Responsible Opioid Prescribing (2007), sponsored and distributed by
                      Cephalon, Endo and Purdue, taught that relief of pain by opioids, by itself,
                      improved patients' function. The book remains for sale online;

                f.    Cephalon and Purdue sponsored AF'F's Treatment Options: A Guide for
                      People Living with Pain (2007), which counseled patients that opioids "give
                      [pain patients] a quality of life we deserve." The guide was available online
                      until APF shut its doors in 2012;

                g•    Endo's NIPC website painknowledge.com claimed in 2009 that with
                      opioids, "your level of function should improve; you may find you are now
                      able to participate in activities of daily living, such as work and hobbies,
                      that you were not able to enjoy when your pain was worse." Elsewhere, the
                      website touted improved quality of life (as well as "improved function") as
                      benefits of opioid therapy. The grant request that Endo approved for this
                      project specifically indicated NIPC's intent to make misleading claims
                      about function, and Endo closely tracked visits to the site;

                h.    Endo was the sole sponsor, through NIPC, of a series of CMEs titled
                      Persistent Pain in the Older Patient, which claimed that chronic opioid
                      therapy has been "shown to reduce pain and improve depressive symptoms
                      and cognitive functioning." The CME was disseminated via webcast;

                      Janssen sponsored, funded, and edited a website, Let's Talk Pain, in 2009,
                      which featured an interview edited by Janssen claiming that opioids allowed
                      a patient to "continue to function." This video is still available today on
                      YouTube;

                      Purdue sponsored the development and distribution of APF's A
                      Policymaker's Guide to Understanding Pain & Its Management, which
                      claimed that "multiple clinical studies" have shown that opioids are
                      effective in improving daily function, psychological health, and health-



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                             related quality of life for chronic pain patients." The Policymaker's Guide
                             was originally published in 2011 and is still available online today;

                    k.       Abbott's sales representatives were not only instructed to misrepresent the
                             so-called benefits of OxyContin to doctors, such as it having a less euphoric
                             effect than other opioids, but were being offered $20,000.00 cash prizes and
                             luxury vacations for doing so; and

                    I.       Purdue's, Cephalon's, Endo's, and Janssen's sales representatives have
                             conveyed and continue to convey the message that opioids will improve
                             patient function.

            111. These claims find no support in the scientific literature. Most recently, the 2016

   CDC Guideline, approved by the FDA, concluded, "There is no good evidence that opioids

    improve pain or function with long-term use"53 and "complete relief of pain is unlikely."54

   (Emphasis added.) The CDC reinforced this conclusion throughout its 2016 Guideline:

                    a.      "No evidence shows a long-term benefit of opioids in pain and function
                            versus no opioids for chronic pain with outcomes examined at least 1 year
                            later .

                    b.      "Although opioids can reduce pain during short-term use, the clinical
                            evidence review found insufficient evidence to determine whether pain
                            relief is sustained and whether function or quality of life improves with
                            long-term opioid therapy;"56 and

                    c.      "[E]vidence is limited or insufficient for improved pain or function with
                            long-term use of opioids for several chronic pain conditions for which
                            opioids are commonly prescribed, such as low back pain, headache, and
                            fibromyalgia."57

           112. The CDC also noted that the risks of addiction and death "can cause distress and

   inability to fulfill major role obligations."58 As a matter of common sense (and medical evidence),

   drugs that can kill patients or commit them to a life of addiction or recovery do not improve their



   "CDC Guidelines for Prescribing Opioids for Chronic Pain, supra.
   54 Id

   "
   " CDC Guidelines for Prescribing Opioids for Chronic Pain, supra.
   57 Id.

   58 Id




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    function and quality of life.

                113.   The 2016 CDC Guideline was not the first time a federal agency repudiated

    Defendants' claim that opioids improved function and quality of life. In 2010, the FDA warned

    Actavis that "[wie are not aware of substantial evidence or substantial clinical experience

    demonstrating that the magnitude of the effect of the drug [Kadian] has in alleviating pain, taken

    together with any drug-related side effects patients may experience...results in any overall positive

    impact on a patient's work, physical and mental functioning, daily activities, or enjoyment of

    I ife."59

                114.   Defendants also falsely emphasized or exaggerated the risks of competing products

    like NSAIDs so that doctors and patients would look to opioids first for treating chronic pain.

    Once again, Defendants' misrepresentations contravene pronouncements by and guidance from

   the FDA and CDC based on the scientific evidence.

                115.   Consequently, the FDA changed the labels for ER/LA opioids in 2013 and IR

   opioids in 2016 to state that opioids should be used only as a last resort where alternative

   treatments like non-opioid drugs are inadequate. And the 2016 CDC Guideline states that NSAIDs,

    not opioids, should be the first-line treatment for chronic pain, particularly arthritis and lower back

    pain.

                116.   In addition, Purdue misleadingly promoted OxyContin as unique among opioids in

    providing 12 continuous hours of pain relief with one dose. In fact, OxyContin does not last for

    12 hours — a fact that Purdue has known at all times relevant to this action.

                117.   According to Purdue's own research, OxyContin wears off in under six hours in one



   59Warning Letter from Thomas Abrams, Dir., FDA Div. of Mktg., Adver., & Commc'ns, to Doug Boothe, CEO,
   Actavis Elizabeth LLC (Feb. 18, 2010), http://www.fda.gov/Drugs/GuidanceComplianceRegulatoryInformation/
   EnforcementActivitiesbyFDA/WamingLettersandNoticeofViolationLetterstoPharmaceuticalCompanies/
   ucm259240.htm.



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   quarter of patients and in under 10 hours in more than half. The reason is that OxyContin tablets

   release approximately 40% of their active medicine immediately, after which release tapers.

   Although the patient experiences a powerful initial response, there is little or no pain relief at the

   end of the dosing period because less medicine is released.

          118.    This phenomenon is known as "end of dose" failure, and the FDA found in 2008

   that a substantial number of chronic pain patients taking OxyContin experience it.

          119.    This "end of dose" failure not only renders Purdue's promise of 12 hours of relief

   false and deceptive, it also makes OxyContin more dangerous because the declining pain relief

   patients experience toward the end of each dosing period drives them to take more OxyContin

   before the next dosing period begins, quickly increasing the amount of drug they are taking and

   spurring growing dependence.

          120.    Purdue's competitors were awarc of this problem. For example, Endo ran

   advertisements for Opana ER referring to "real" 12-hour dosing. Nevertheless, Purdue falsely

   promoted OxyContin as if it were effective for a full 12 hours. Indeed, Purdue's sales

   representatives continue to tell doctors in and around Hopkins County that OxyContin lasts a full

   12 hours.

   E.     Defendants also engaged in Other Unlawful, Unfair, and Fraudulent Misconduct.

          121.    Cephalon deceptively marketed its opioids Actiq and Fentora for chronic pain even

   though the FDA has expressly limited their use to the treatment of cancer pain in opioid-tolerant

   individuals.

          122.    Both Actiq and Fentora are extremely powerful fentanyl-based IR opioids. Neither

   is approved for or has been shown to be safe or effective for chronic pain. Indeed, the FDA

   expressly prohibited Cephalon from marketing Actiq for anything but cancer pain, and refused to




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    approve Fentora for the treatment of chronic pain because of the potential harm, including the high

    risk of "serious and life-threatening adverse events" and abuse — which are greatest in non-cancer

    patients.

            123. The FDA also issued a Public Health Advisory in 2007 emphasizing that Fentora

    should be used only for cancer patients who are opioid-tolerant and should not be used for any

    other conditions, such as migraines, post-operative pain, or pain due to injury.

            124. Despite this advisory, Cephalon conducted and continues to conduct a well-funded

    campaign to promote Actiq and Fentora for chronic pain and other non-cancer conditions for which

    it was not approved, appropriate, or safe. As part of this campaign, Cephalon used CMEs, speaker

    programs, KOLs, journal supplements, and detailing by its sales representatives to give doctors the

   false impression that Actiq and Fentora are safe and effective for treating non-cancer pain. For

   example:

                   a.     Cephalon paid to have a CME it sponsored, Opioid-Based Management of
                          Persistent and Breakthrough Pain, published in a supplement of Pain
                          Medicine News in 2009. The CME instructed doctors that "clinically, broad
                          classification of pain syndromes as either cancer, or non-cancer, related has
                          limited utility" and recommended Actiq and Fentora for patients with
                          chronic pain. The CME is still available online;

                   b.     Cephalon's sales representatives set up hundreds of speaker programs for
                          doctors, including many non-oncologists, which promoted Actiq and
                          Fentora for the treatment of non-cancer pain; and

                   c.     In December 2011, Cephalon widely disseminated a journal supplement
                          entitled "Special Report: An Integrated Risk Evaluation and Mitigation
                          Strategy for Fentanyl Buccal Tablet (FENTORA) and Oral Transmucosal
                          Fentanyl Citrate (ACTIQ)" to Anesthesiology News, Clinical Oncology
                          News, and Pain Medicine News — three publications that are sent to
                          thousands of anesthesiologists and other medical professionals. The Special
                          Report openly promotes Fentora for "multiple causes of pain" — and not just
                          cancer pain.

           125. Cephalon's deceptive marketing gave doctors and patients the false impression that




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    Actiq and Fentora were safe and effective not only for treating chronic pain, but were also

    approved by the FDA for such uses.

               126.     Insys committed outright fraud and bribery in disseminating its drug, Subsys. Like

    Actiq and Fentora, Subsys was intended for breakthrough or cancer pain. Because the drug was

    so expensive, however, the insurance companies would pay for it only if there was prior

    authorization for the drug.

               127.     Insys developed an elaborate scam in which their own employees posed on the

    telephone as employees for prescribing physicians who then contacted the insurance companies to

    obtain prior authorization for Subsys. Insys' employees had a script to use in which they were

    instructed to use the words "breakthrough pain" and to avoid the word "cancer" thereby allowing

    the opioid to be prescribed for chronic pain.

               128.     Subsys sales representativcs also bribed doctors in exchange for prescribing

    Subsys.6° Two former Insys sales representatives plead guilty in July 2017 to bribery, which

    involved "violating the federal anti-kickback law for participating in a speaker program that

    prosecutors say was used to reward doctors and other medical practitioners for prescribing Subsys,

    which contains fentanyl and carries a high risk of dependency."61

               129.    On October 26, 2017, federal agents arrested John Kapoor, the founder and former

    CEO of Insys, for racketeering, conspiracy, bribery, and fraud.62 The charges revolve around

    allegations that Insys paid bribes to numerous physicians to prescribe Subsys.63

               130.     It has been reported that Insys made 18,000 payments to doctors in 2016 totaling



    60
         Ed Silverman, Former Insys Reps Plead Guilty to Bribing Does for Opioid Prescribing; They Wanted "Money"
   and Dark Chocolate," (July    12, 2017), https://www.statnews.com/;harmalot/2017/07/12/insys-reps-bribes-doctors.
    61 id

   62 Pat Milton and Laura Strickler, "Drug Company Founder John Kapoor Arrested for Alleged Opioid Scheme,"

   (Oct. 27, 2017), https://www.cbsnews.com/drug-company-founder-john-kapoor-arrested-for-alleged-opioid-scheme.
    63 1d




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    more than $2 million.'

             131.   lnsys not only intended to deceive prescribing physicians into believing Subsys was

    safe and effective for chronic pain by deliberately lying to insurance companies to ensure payment

    for its drug, but its agents and employees bribed doctors and other medical practitioners if they

    would prescribe its drug.

             132.   Other Defendants herein participated in illicit and unlawful prescribing of its drugs.

    For example, Purdue did not report illegal prescribing of OxyContin until years after law

    enforcement shut down a Los Angeles clinic that prescribed more than 1.1 million OxyContin

    tablets. In doing so, Purdue protected its own profits at the expense of public health and safety.

             133.   The State of New York also found that Endo failed to require sales representatives

    to report signs of abuse, diversion, and inappropriate prescribing; paid bonuses to sales

    representatives for detailing prescribers who were subsequently arrested or convicted for illegal

    prescribing; and failed to prevent sales representatives from visiting prescribers whose suspicious

    conduct had caused them to be placed on a no-call list.


    F.       Defendants Targeted Susceptible Prescribers and Vulnerable Patient Populations.

             134.   As a part of their deceptive marketing scheme, Defendants identified and targeted

   susceptible prescribers and vulnerable patient populations in the U.S. and in and around Hopkins

   County. For example, Defendants focused their deceptive marketing on primary care doctors, who

   were more likely to treat chronic pain patients and prescribe opioids, but were less likely to be

   educated about treating pain and the risks and benefits of opioids.

             135.   Defendants also targeted vulnerable patient populations like the elderly and

   veterans, who tend to suffer from chronic pain. Defendants targeted these vulnerable patients even


   64   Id



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    though the risks of long-term opioid use were significantly greater for them.

            136.   For example, the 2016 CDC Guideline observes that existing evidence shows that

    elderly patients taking opioids suffer from elevated fall and fracture risks, greater risk of

    hospitalization, and increased vulnerability to adverse drug effects and interactions. The Guideline

    therefore concludes that there are "special risks of long-term opioid use for elderly patients" and

    recommends that doctors use "additional caution and increased monitoring" to minimize the risks

    of opioid use in elderly patients.

           137.    The same is true for veterans, who are more likely to use anti-anxiety drugs

   (benzodiazepines) for post-traumatic stress disorder, which interact dangerously with opioids.

    G.     Although Defendants knew that their Marketing of Opioids was False and Deceptive,
           they Fraudulently Concealed their Misconduct.

           138.    Defendants, both individually and collectively, made, promoted, and profited from

   their misrepresentations about the risks and benefits of opioids for chronic pain even though they

   knew their misrepresentations were false and deceptive. The history of opioids, as well as research

   and clinical experience over the last 20 years, established that opioids were highly addictive and

   responsible for a long list of very serious adverse outcomes.

           139.    Not only did the FDA and other regulators warn Defendants, but Defendants had

   access to scientific studies, detailed prescription data, and reports of adverse events, including

   reports of addiction, hospitalization, and deaths — all of which made clear the harms from long-term

   opioid use, including the suffering from addiction, overdoses, and death in alarming numbers in

   patients using opioids.

           140.    More recently, the FDA and CDC have issued pronouncements based on the

   medical evidence that conclusively expose the known falsity of Defendants' misrepresentations,

   and Endo and Purdue have recently entered agreements prohibiting them from making some of the




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   same misrepresentations described herein in New York.

            141.    Moreover, Defendants took steps to avoid detection of and to fraudulently conceal

   their deceptive marketing and unlawful, unfair, and fraudulent conduct. For example, Defendants

   disguised their own role in the deceptive marketing of chronic opioid therapy by funding and

   working through third parties like Front Groups and KOLs.

            142.    Finally, Defendants manipulated their promotional materials and the scientific

   literature to make it appear that these items were accurate, truthful, and supported by objective

   evidence when they were not.

            143.    Thus, Defendants successfully concealed from the medical community and patients

   facts sufficient to arouse suspicion of the claims Hopkins County now asserts. Hopkins County did

   not know of the existence or scope of Defendants' industry-wide fraud and could not have acquired

   such knowledge earlier through the exercise of reasonable diligence.

   H.      By Increasing Opioid Prescriptions and Use, Defendants' Deceptive Marketing
           Scheme has fueled the Opioid Epidemic and Devastated Hopkins County
           Communities.

           144.     Defendants' misrepresentations deceived doctors and patients about the risks and

   benefits of long-term opioid use. Studies reveal that many doctors and patients are unaware of or

   do not understand the risks or benefits of opioids. Indeed, patients often report that they were not

   warned they might become addicted to opioids prescribed to them. As reported in January 2016,

   a 2015 survey of more than 1,000 opioid patients found that 4 out of 10 were not told opioids were

   potentially addictive.65

           145.     Defendants' deceptive marketing scheme caused and continues to cause doctors in




   65 Hazelden Betty Ford Foundation, Missed Questions, Missed Opportunities (Jan. 27, 2016), available at

   http://www.hazeldenbettyford.org/about-usinews-and-media/pressrelease/doctors-missing-questions-that-could-
   prevent-opioid-addiction.




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   and around Hopkins County to prescribe opioids for chronic pain conditions such as back pain,

    headaches, arthritis, and fibromyalgia. Absent Defendants' deceptive marketing scheme, these

   doctors would not have prescribed as many opioids.

            146.    For example, Defendants' deceptive marketing scheme allowed Dr. Don Martin

   O'Neal to promote, over-prescribe, and financially benefit from prescribing opioids for to patients

   complaining of chronic pain.

           147.     Dr. O'Neal was employed by the Sulphur Spring Medical-Surgical Clinic in Sulphur

   Springs, which services residents of Hopkins County.66 This clinic specialized in nursing home

   patient treatment.°

           148.     Dr. O'Neal prescribed 40 to 50 of his patients "significant quantities" of methadone,

   oxycodone, hydrocodone, and benzodiazepines as reported by a pharmacist in November 2008.68

   Essentially 80% of Dr. O'Neal's patients were receiving high dosages of opioids.69

           149.     To avoid further investigation and potential criminal charges, Dr. O'Neal

   relinquished his DEA certificate in August 2009, which had enabled him to prescribe controlled

   substances.7°

           150.     But the lack of a DEA certificate did not stop Dr. O'Neal from prescribing his

   patients controlled substances. In January 2010, one of Dr. O'Neal's colleagues discovered that

   Dr. O'Neal had been using his signature stamp to prescribe controlled substances, such as opioids,




   " Kerry Craig, "Change of Venue Sought in O'Neal Cases," Sulphur Springs News-Telegram (Mar. 12, 2011).
   67 "Texas Physician Arrested yet Again on Illegal Money Scheme" (July 13, 2013),

   https://medicalmiscreants.com/2013/07/13/texas-physician-arrested-yet-again-on-illegal-money-scheme/.
   68
      "Sulphur Springs Doctor's License Suspended" (May 24, 2010), http://www/kItv.com/story/12533527/sulphur-
   springs-doctors-license-suspended.
      "Texas Physician Arrested yet Again on Illegal Money Scheme" (July 13, 2013),
   https://medicalmiscreants.com/2013/07/13/texas-physician-arrested-yet-again-on-illegal-money-scheme/.
      "Sulphur Springs Doctor's License Suspended" (May 24, 2010), http://www/kItv.com/story/12533527/sulphur-
   springs-doctors-license-suspended.



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   to 38 of Dr. O'Neal's 78 patients!'

              151.   In April 2010, Dr. O'Neal was charged with "33 felony counts alleging fraud for

   ordering narcotic prescriptions without a valid DEA registration by fraudulently using the license

   or registration stamp of another physician. On April 26, 2010, Dr. O'Neal was arrested again and

   charged with an additional 22 counts alleging fraud for ordering and administering controlled

   substances without a valid DEA registration."72 These narcotics and controlled substances included

   opioids.

              152.   The Texas Medicine Board suspended Dr. O'Neal's license on May 24, 2010

   because he constituted "a continuing threat to the public health and safety."73 The Panel further

   concluded that Dr. O'Neal is a "continuing and real danger to the health of [his] patients or to the

   public from the acts or omissions of [Dr. O'Neal] caused through [his] lack of competence, impaired

   status, or failure to care adequately for [his] patients."74

              153.   Dr. O'Neal was not running a medical practice, but a "pill mill" in which his net

   worth ballooned to an amount in excess of $12 million in addition to investments and real estate

   holdings.75

              154.   On December 3, 2015, Dr. O'Neal's medical license was revoked by the Texas

   Medical Board after he plead guilty to the first degree felony of theft of property.76

              155.   Dr. O'Neal caused damage to the health and welfare of numerous Hopkins County

   residents. His conduct subverted public health and violated the Texas Controlled Substances Act.


   71   Id.
   72   1d.
   73 Order of Temporary Suspension, In the Matter of the License of Don Martin O'Neal, MD., License No. E-2769,
   May 24, 2010, at p. 3; see also "Sulphur Springs Doctor's License Suspended" (May 24, 2010),
   http://www/kItv.com/story/12533527/sulphur-springs-doctors-license-suspended.
   74 Order of Temporary Suspension, at p. 3.
   75 Kerry Craig, D.A. to Ask for Higher Bonds and Passport in O'Neal Case," Sulphur Springs News-Telegram.
   76 "Multiple ETX Doctors Disciplined by Medical Board," viewed on October 3, 2017,
   http://easttexasmatters.com/news/local-news-mutiple-etx-doctors-disciplined-by-medical-board/301673397.



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             156.     Dr. O'Neal's disregard of his patient's health in favor of his pursuit of profits has

    added to the opioid epidemic that has affected and continues to affect Hopkins County.

             157.    Likewise, Dr. Howard Gregg Diamond used the glut of opioids flooding the market

    to assist him in over-prescribing controlled substances. These opioids included fentanyl, morphine,

    oxycodone, oxymorphone, methadone, hydrocodone, alprazolam, and zolpidem, which he routinely

    prescribed without "a legitimate medical purpose."77

             158.    Dr. Diamond was the principal physician at the Diamondback Pain and Wellness

    Center in Sherman, Texas, which served residents of Hopkins County. Dr. Diamond was arrested

    on July 11, 2017 on charges including "conspiracy to distribute controlled substances, possession

    with intent to distribute controlled substances, health care fraud, and money laundering."78

             159.    The controlled substances Dr. Diamond prescribed included opioids and,

    unfortunately, his prescriptions have been linked to at least seven opioid overdose deaths, one of

    which is in Hopkins County.79

             160.    Dr. Diamond's license was suspended on July 20, 2017 as his practice of medicine

    posed "a continuing threat to public Welfare" and was effective immediately.8° Dr. Diamond

    remains in jail while he is awaiting trial." Dr. Diamond sought to be released pending trial, but the

    judge denied his request citing testimony that "even after federal agents executed search warrants

    at [Dr. Diamond's] Diamondback Pain and Wellness Centers in Sherman and Paris on May 19, he



    77 No. 4:17 CR 118, "United States of America v. Howard Gregg Diamond," Indictment filed in the U.S. Eastern
    District of Texas, July 6, 2017, at p. 5.
    78 Emma Ruby, "Texas Suspends Doctor's License after 7 Drug Deaths, including McKinney Overdose" (July 21,
    2012), http://www.dallasnews.com/news/crime/2017/07/12/texas-doctor-accused-prescribing-unnecessary-drugs-
    led-7-deaths.
    78 Walt Zwirko, "Judge: No Freedom for Texoma Doctor I .inked to Overdose Deaths" (July 24, 2017),
    http://www.kten.com/story/35959439/judge-no-freedom-for-texoma-doctor-linked-to-seven-overdose-deaths.
    80 Texas Medical Board, http://reg. tmb/state/tx/us/OnLineVeriflPhy_ReportVerif_new.asp, last viewed October 18,
    2017.
    81 Walt Zwirko, "Judge: No Freedom for Texoma Doctor Linked to Overdose Deaths" (July 24, 2017),
    http://www.kten.com/story/35959439/judge-no-freedom-for-texoma-doctor-linked-to-seven-overdose-deaths.



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    prescribed almost 278,000 dosage units."82 Even after his arrest, according to a DEA agent's

    testimony, Dr. Diamond "filled at least seven new prescriptions."83

             161.   Dr. Diamond has entered a not guilty plea to all charges. If convicted, he faces up

    to life in prison." Prosecutors are also seeking to have Dr. Diamond's medical license revoked.85

             162.   If the manufacturing and distributing Defendants were not over-supplying opioids,

    then physicians like Dr. O'Neal and Dr. Diamond could not overprescribe them. While Defendants

    may claim that the federal government authorized the amount of annual prescription opioids sold,

    they know in truth that several Defendants have successfully used their organized money and

    influence to render the federal government's enforcement agency, the Drug Enforcement

   Administration, virtually powerless to interrupt the over-supply of prescription opioid drugs.

             163.   Defendants' deceptive marketing scheme also caused and continues to cause

    patients to purchase and use opioids for their chronic pain believing they are safe and effective.

   Absent Defendants' deceptive marketing scheme, fewer patients would be using opioids long-term

   to treat chronic pain, and those patients using opioids would be using less of them.

             164.   Defendants' deceptive marketing has caused and continues to cause the prescribing

   and use of opioids to explode. Indeed, this dramatic increase in opioid prescriptions and use

   corresponds with the dramatic increase in Defendants' spending on their deceptive marketing

   scheme. Defendants' spending on opioid marketing totaled approximately $91 million in 2000.

   By 2011, that spending had tripled to $288 million.

             165.   The escalating number of opioid prescriptions written by doctors who were



   82   m.
   83 Id

   84 Id


   85Emma Ruby, "Texas Suspends Doctor's License after 7 Drug Deaths, including McKinney Overdose" (July 21,
   2012), http://www.dallasnews.com/news/crime/2017/07/12/texas-doctor-accused-prescribing-unnecessary-drugs-
   led-7-deaths.




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    deceived by Defendants' deceptive marketing scheme is the cause of a correspondingly dramatic

    increase in opioid addiction, overdose, and death throughout the U.S. and Hopkins County.

            166.    Scientific evidence demonstrates a strong correlation between opioid prescriptions

   and opioid abuse. In a 2016 report, the CDC explained that prescribing opioids has quadrupled

   since 1999, which has resulted in a parallel increase in opioid overdoses.86 Indeed, there has been

   a two-third increase in overdose deaths from using opioids since 2000.87 For these reasons, the

   CDC concluded that efforts to rein in the prescribing of opioids for chronic pain are critical "to

    reverse the cycle of opioid pain medication misuse that contributes to the opioid overdose

   epidemic."88

           167.     Due to the increase in opioid overdoses, first responders such as police officers,

   have been and will continue to be in the position to assist people experiencing opioid-related

   overdoses.89 In 2016, "over 1,200 law cnforcement departments nationwide carried naloxone in

   an effort to prevent opioid-related deaths."9°

           168.     Defendants' deceptive marketing scheme has also detrimentally impacted children

   in Hopkins County. Overprescribing opioids for chronic pain has made the drugs more accessible

   to school-aged children, who come into contact with opioids after they have been prescribed to

   friends or relatives in the same household.




   86 CDC. National Vital Statistics System, Mortality. CDC WONDER. Atlanta, GA: US Department of Health and
   Human Services, CDC; 2016. https://wonder.cdc.govi; Rudd RA, Seth P, David F, Scholl L. Increases in Drug and
   Opioid-Involved Overdose Deaths— United States, 2010-2015. MMWR Morb Mortal Wkly Rep. ePub: 16
   December 2016.
      National Vital Statistics System, Mortality file and appearing Center for Disease Control and Prevention
   Morbidity and Mortality Weekly Report, January I, 2006 / 64(50); 1378-82, Increases in Drug and Opioid Deaths—
   United States, 2000-2014.
   88
      CDC Guideline for Prescribing Opioids for Chronic Pain, supra; see also Rudd RA, Seth P, David F, Scholl
   L. Increases in Drug and Opioid-Involved Overdose Deaths — United States, 2010-2015. MMWR Morb Mortal
   Wkly Rep. ePub: 16 December 2016.
   89
      Opinion of the Attorney General of Texas, KP-0168 (Oct. 4, 2017).
      Id. citing http://www.nchrc.org/law-enforcement/us-law-enforcement-who-carry-naloxone/.



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             169.      Defendants' conduct has adversely affected Hopkins County's child protection

    agencies in the number of children in foster care driven by parental drug addiction. Children with

    parents addicted to drugs tend to stay in foster care longer, and they often enter the system having

    experienced significant trauma, which makes these cases more expensive for counties like Hopkins

    County.

             170.     Opioid addiction is one of the primary reasons that Hopkins County residents seek

    substance abuse treatment. A significant number of admissions for drug abuse were associated

    with a primary diagnosis of opiate abuse or dependence.

             171.     Defendants' creation, through false and deceptive advertising and other unlawful

    and unfair conduct, of a virtually limitless opioid market has significantly harmed Hopkins County

    communities. Defendants' success in extending the market for opioids to new patients and chronic

    pain conditions has created an abundance of drugs available for non-medical and criminal use and

    fueled a new wave of addiction and injury. It has been estimated that 60% of the opioids that are

    abused come, directly or indirectly, through doctors' prescriptions.'

             172.    In Hopkins County, a woman addicted to opioids after gall bladder surgery later

    became a user of methamphetamine and crystal methamphetamines after she could no longer afford

    doctors or prescription opioids.92 The opioids never cured her pain, but were addictive and

    destructive.93

             173.    Law enforcement agencies have increasingly associated prescription drug abuse



    'Nathaniel P. Katz, Prescription Opioid Abuse: Challenges and Opportunities for Payers, Am. J. Managed Care
    (Apr. 19 2013), at 5 ("The most common source of abused [opioids] is, directly or indirectly, by prescription."),
    http://www.ajmc.com/publications/issue/2013/2013-1-vol 1 9-n4/Prescription-Opioid-Abuse-Challengcs-and-
    Opportunities-for-Payers.
    92 Kerry Craig, "Opioid Addiction Results in one Woman's Daily Struggle," Oct. 7, 2017,

    https://www.ssnewstelegram.com/news/opioid-addiction-results-in-one-woman-s-daily-struggle/article_bded4eoa-
    ab80-11e7-a252-d3f304e26628.html.
    93 Id.




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    with violent and property crimes. Despite strict federal regulation of prescription drugs, local law

    enforcement agencies are faced with increasing diversion from legitimate sources for illicit

    purposes, including doctor shopping, forged prescriptions, falsified pharmacy records, and

    employees who steal from their place of employment. The opioid epidemic has prompted a

    growing trend of crimes against pharmacies including robbery and burglary. This ongoing

    diversion of prescription narcotics creates a lucrative marketplace.

           174.     In Hopkins County, the illegal activity even struck a former police officer and

    sheriffs deputy who entered guilty pleas in 2014 to charges of theft of property, among other things,

    after stealing hydrocodone pills from evidence.94 A second officer, a criminal investigator for

    Hopkins County, was also arrested and charged with tampering with evidence related to the same

    missing hydrocodone pills.95 Every person throughout the United States, as in Hopkins County, is

    vulnerable to the lure and addiction of opioids.

           175.     The rise in opioid addiction caused by Defendants' deceptive marketing scheme

    has also resulted in an explosion in heroin use. For example, heroin use has more than doubled in

    the past decade among adults aged 18 to 25 years.96 Moreover, heroin-related overdoses in the

    United States has more than quadrupled since 2010.97

           176.     The costs and consequences of opioid addiction are staggering. For example, in

    2007, the cost of healthcare due to opioid abuse, dependence, and misuse was estimated at 25

    billion, the cost of criminal justice was estimated at 5.1 billion, and the cost of lost workplace

    productivity was estimated at 25.6 billion.




   " Kerry Craig, "Former Lawman Pleads to Two Felony Charges," Sept. 29, 2014.
   95 Kerry Craig, "Deputy Arrested on Felony Charges," Oct. 23, 2014.

   " Centers for Disease Control and Prevention. Vital Signs: Today's Heroin Epidemic — More People at Risk,
   Multiple Drugs Abused. (http://www.cdc.gov/vitalsigns/heroin/index/html). MMWR 2015.
   97 https://www.cdc.gov/drugoverdose/data/heroin.html.




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           177.   Consequently, prescription opioid misuse, abuse, and overdose have an enormous

    impact on the health and safety of individuals, as well as communities at large, because the

    consequences of this epidemic reach far beyond the addicted individual.

           178.   Some of the repercussions for residents of Hopkins County include job loss, loss

   of custody of children, physical and mental health problems, homelessness and incarceration,

   which results in instability in communities often already in economic crisis and contributes to

    increased demand on community services such as hospitals, courts, child services, treatment

   centers, and law enforcement.

           179.   Defendants knew and should have known about these harms that their deceptive

   marketing has caused and continues to cause and will cause in the future. Defendants closely

   monitored their sales and the habits of prescribing doctors. Their sales representatives, who visited

   doctors and attended CMEs, knew which doctors were receiving their messages and how they were

    responding.

           180.   Defendants also had access to and carefully watched government and other data

   that tracked the explosive rise in opioid use, addiction, injury, and death. Defendants not only

   knew, but intended that their misrepresentations would persuade doctors to prescribe and

   encourage patients to use their opioids for chronic pain.

           181.   Defendants' actions are neither permitted nor excused by the fact that their drug

   labels (with the exception of the Actiq/Fentora labels) may have allowed, or did not exclude, the

   use of opioids for chronic pain. FDA approval of opioids for certain uses did not give Defendants

   license to misrepresent the risks and benefits of opioids. Indeed, Defendants' misrepresentations

   were directly contrary to pronouncements by, and guidance from, the FDA based on the medical

   evidence and their own labels.




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           182.    Nor is Defendants' causal role broken by the involvement of doctors. Defendants'

    marketing efforts were ubiquitous and highly persuasive. Their deceptive messages tainted

    virtually every source doctors could rely on for information and prevented them from making

    informed treatment decisions. Defendants also hijacked what doctors wanted to believe — namely,

    that opioids represented a means of relieving their patients' suffering and of practicing medicine

    more compassionately.

           183.    Defendants' actions and omissions were each a cause-in-fact of Hopkins County's

    past and future damages. Defendants' wrongful conduct caused injuries to Hopkins County in the

    past, continues to cause injuries to Hopkins County, and will continue to cause injuries to Hopkins

   County in the future. Future damages include, but are not limited to, additional resources for

   counseling and medication assisted treatment of addicts, medical treatment for overdoses, life

   skills training for adolescents, increased law enforcement, and additional resources to treat the

   psychological effects of opioids and the underlying conditions that make people susceptible to

   opioid addiction.

   I.      Defendants' Fraudulent Marketing Has Led To Record Profits.

           184.    While using opioids has taken an enormous toll on Hopkins County and its

   residents, Defendants have realized blockbuster profits. In 2014 alone, opioids generated $11

   billion in revenue for drug companies like Defendants. Indeed, financial information indicates that

   each Defendant experienced a material increase in sales, revenue, and profits from the false and

   deceptive advertising and other unlawful and unfair conduct described above.

                    VI.     FIRST CAUSE OF ACTION: PUBLIC NUISANCE
                                 AGAINST ALL DEFENDANTS

           185.    Hopkins County re-alleges and incorporates by reference each of the allegations

   contained in the preceding paragraphs of this Complaint as though fully alleged herein.



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           186.    Defendants knowingly encouraged doctors in and around Hopkins County to

    prescribe, and residents to use, highly addictive opioids for chronic pain even though Defendants

    knew using opioids had a high risk of addiction and reduced quality of life.

           187.    By doing so, Defendants purposefully interfered with Hopkins County's public

    health, public safety, public peace, public comfort, and public convenience.

           188.    Defendants, individually and in concert with each other, have contributed to and/or

   assisted in creating and maintaining a condition that is harmful to the health and safety of Hopkins

   County residents and/or unreasonably interferes with the peace and comfortable enjoyment of life

    in violation of Texas law.

           189.    The public nuisance created by Defendants' actions is substantial and unreasonable

   — it has caused and continues to cause significant harm to the community — and the harm inflicted

   outweighs any offsetting benefit.

           190.    The staggering rates of opioid use resulting from Defendants' marketing efforts

   have caused, and continues to cause, harm to the community including, but not limited to:

                   a.     Upwards of 30% of all adults use opioids. These high rates of use have led
                          to unnecessary opioid abuse, addiction, overdose, injuries, and deaths;

                   b.     Children have been exposed to opioids prescribed to family members or
                          others resulting in injury, addiction, and death. Easy access to prescription
                          opioids has made opioids a recreational drug of choice among Hopkins
                          County teenagers; opioid use among teenagers is only outpaced by
                          marijuana use. Even infants have been born addicted to opioids due to
                          prenatal exposure causing severe withdrawal symptoms and lasting
                          developmental impacts;

                  c.      Residents of Hopkins County, who have never taken opioids, have endured
                          both the emotional and financial costs of caring for loved ones addicted to
                          or injured by opioids and the loss of companionship, wages, or other support
                          from family members who have used, abused, become addicted to,
                          overdosed on, or been killed by opioids;

                  d.      More broadly, opioid use and misuse have driven Hopkins County



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                         residents' health care costs higher;

                  e.     Employers have lost the value of productive and healthy employees who
                         have suffered from adverse consequences from opioid use;

                  f.     Defendants' success in extending the market for opioids to new patients and
                         chronic conditions has created an abundance of drugs available for criminal
                         use and fueled a new wave of addiction, abuse, and injury. Defendants'
                         scheme created both ends of a new secondary market for opioids —
                         providing both the supply of narcotics to sell and the demand of addicts to
                         buy them;


                 g.      This demand has created additional illicit markets in other opiates,
                         particularly heroin. The low cost of heroin has led some of those who
                         initially become addicted to prescription opioids to migrate to cheaper
                         heroin, fueling a new heroin epidemic in the process;

                 h.      Diverting opioids into secondary, criminal markets and increasing the
                         number of individuals who abuse or are addicted to opioids has increased
                         the demands on emergency services and law enforcement in Hopkins
                         County;

                         All of Defendants' actions have caused significant harm to the community
                         — in lives lost; addictions endured; the creation of an illicit drug market and
                         all its concomitant crime and costs; unrealized economic productivity; and
                         broken families and homes;

                 j.      These harms have taxed the human, medical, public health, law
                         enforcement, and financial resources of Hopkins County; and

                 k.      Defendants' interference with the comfortable enjoyment of life of a
                         substantial number of people is entirely unreasonable because there is
                         limited social utility to opioid use and any potential value is outweighed by
                         the gravity of harm inflicted by Defendants' actions.

          191. Defendants knew, or should have known, that promoting opioid use would create a

   public nuisance in the following ways:

                 a.      Defendants have engaged in massive production, promotion, and
                         distribution of opioids for use by the citizens of Hopkins County;

                 b.     Defendants' actions created and expanded the market for opioids,
                        promoting its wide use for pain management;

                 c.     Defendants misrepresented the benefits of opioids for chronic pain and




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                           fraudulently concealed, misrepresented, and omitted the serious adverse
                           effects of opioids, including the addictive nature of the drugs; and

                    d.     Defendants knew or should have known that their promotion would lead to
                           addiction and other adverse consequences that the larger community would
                           suffer as a result.

           192.     Defendants' actions were, at the least, a substantial factor in doctors and patients

    not accurately assessing and weighing the risks and benefits of opioids for chronic pain thereby

   causing opioids to become widely available and used in Hopkins County.

           193.     Without Defendants' actions, opioid use would not have become so widespread and

   the enormous public health hazard of opioid overuse, abuse, and addiction not existing would have

    been averted.

           194.     The health and safety of the citizens of Hopkins County, including those who use,

   have used, or will use opioids, as well as those affected by opioid users, is a matter of great public

    interest and legitimate concern to Hopkins County's citizens and residents.

           195.     The public nuisance created, perpetuated, and maintained by Defendants can be

   abated and further reoccurrence of such harm and inconvenience can be prevented.

           196.     Defendants' conduct has affected and continues to affect a considerable number of

   people within Hopkins County and is likely to continue to cause significant harm to patients who

   take opioids, their families, and the community at large.

           197.     Each Defendant created or assisted in creating the opioid epidemic, and each

   Defendant is jointly and severally liable for its abatement. Furthermore, each Defendant should

   be enjoined from continuing to create, perpetuate, or maintain said public nuisance in Hopkins

   County.

                  VII. SECOND CAUSE OF ACTION: COMMON LAW FRAUD
                                AGAINST ALL DEFENDANTS




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           198.    Hopkins County re-alleges and incorporates by reference each of the allegations

    contained in the preceding paragraphs of this Complaint as though fully alleged herein.

           199.    As alleged herein, Defendants engaged in false representations and concealments

   of material fact about using opioids for chronic pain.

           200.    Defendants, individually and acting through their employees and agents, and in

   concert with each other, made misrepresentations and omissions of material fact to physicians

   treating Hopkins County residents and Hopkins County residents to induce them to prescribe,

   administer, fill, purchase, and consume opioids as set forth herein.

           201.   Dr. O'Neal specifically made misrepresentations and omissions of material facts

   concerning his lack of DEA authorization to prescribe opioids and fraudulently obtained and used

   a colleague's prescription stamp to prescribe opioids to his patients.

           202.   Defendants knew that thcir representations and omissions were false.

           203.   Defendants intended that physicians treating Hopkins County residents and other

   Hopkins County residents would rely upon their misrepresentations and omissions.

           204.   The physicians treating Hopkins County residents and Hopkins County residents

   reasonably relied on Defendants' misrepresentations and omissions.

           205.   Defendants' intentionally failed to alter or correct the fraudulent information it had

   disseminated through the United States and in and around Hopkins County and acted willfully,

   wantonly, and maliciously.

           206.   Because of their reliance on Defendants' misrepresentations and omissions of

   material fact, Hopkins County and its residents have suffered actual and punitive damages.

                   VIII. THIRD CAUSE OF ACTION: NEGLIGENCE
             AGAINST MANUFACTURING AND DISTRIBUTING DEFENDANTS

           207.   Hopkins County re-alleges and incorporates by reference each of the allegations



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   contained in the preceding paragraphs of this Complaint as though fully alleged herein.

           208.    Manufacturing Defendants have a duty to exercise reasonable care in marketing its

   opioids to physicians treating residents of Hopkins County and Hopkins County residents.

    Manufacturing Defendants have breached their duty by knowingly and fraudulently

   misrepresenting the benefits of, and downplaying the risks of, opioids for chronic pain.

           209.    Manufacturing Defendants have used deceitful marketing ploys, KOLs, Front

   Groups, and other schemes to increase profits at the cost of public health causing an opioid

   epidemic. Manufacturing Defendants have acted willfully, wantonly, and maliciously.

           210.    Likewise, Distributor Defendants have a duty to exercise ordinary care in

   distributing opioids. Distributor Defendants have breached their duty by failing to prevent or reduce

   the distribution of opioids, or to report the increase in the distribution and/or sale of opioids.

           211.    Distributor Defendants have intentionally failed to prevent or reduce the distribution

   of opioids, or to report any increases in the sale of opioids, so that they could increase profits and

   receive rebates or kick-backs from Manufacturing Defendants. Distributor Defendants have acted

   willfully, wantonly, and maliciously.

           212.    As a proximate result, Manufacturing and Distributor Defendants and its agents

   have caused Hopkins County to incur excessive costs to treat the opioid epidemic in its county,

   including but not limited to increased costs of social services, health systems, law enforcement,

   judicial system, and treatment facilities.

           213.    Hopkins County and its residents are therefore entitled to actual and punitive

   damages.

                IV.  FOURTH CAUSE OF ACTION: GROSS NEGLIGENCE
              AGAINST MANUFACTURING AND DISTRIBUTING DEFENDANTS

           214.    Hopkins County incorporates the allegations within all prior paragraphs within this




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   Complaint as if they were fully set forth herein.

            215.     Defendants' marketing scheme to optimize profits by misrepresenting and falsely

   touting opioids as the panacea to chronic pain was done intentionally.

            216.     Defendants' hiring of KOLs, Front Groups, and others to spread its fraudulent

   message that opioids were useful and beneficial for chronic pain was grossly negligent and done with

   conscious indifference or reckless disregard for the safety of others.

            217.     Each Defendant's actions and omissions as described herein, singularly or in

   combination with each other, was malicious resulting in damages and injuries to Hopkins County and

    its residents.

            218.     At every stage, Defendants knew or should have known that their conduct would

   create an unreasonable risk of physical harm to others, including Hopkins County and its residents,

   and should be held liable in punitive and exemplary damages to Hopkins County.

                              V.    FIFTH CAUSE OF ACTION:
                          TEXAS CONTROLLED SUBSTANCES ACT ("TCSA")
                        AGAINST DISTRIBUTOR DEFENDANTS AND DR. O'NEAL

            219.     Hopkins County re-alleges and incorporates by reference each of the allegations

   contained in the preceding paragraphs of this Complaint as though fully alleged herein.

            220.     Distributor Defendants have knowingly distributed, delivered, administered, or

   dispensed a controlled substance in violation of the Texas Controlled Substances Act

   §481.128(a)(1) by deceiving practitioners into prescribing, dispensing, delivering, or

   administering a controlled substance, or causing a controlled substance to be administered when

   there is no valid medical purpose. Tex. Health & Safety Code §481.071.

            221.     As alleged herein, each Distributor Defendant, at all times relevant to this

   Complaint, violated the Texas Controlled Substance Act by making deceptive representations about




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    using opioids to treat chronic pain. Each Distributor Defendant also omitted or concealed material

    facts and failed to correct prior misrepresentations and omissions about the risks and benefits of

    opioids. Each Distributor Defendant's omissions rendered even their seemingly truthful statements

    about opioids deceptive.

           222.     Distributor Defendants' deceptive representations and concealments were

    reasonably calculated to deceive practitioners treating Hopkins County residents into prescribing

    opioids without any valid medical purpose, and Distributor Defendants continue to do so to this

    day.

           223.     Dr. O'Neal prescribed opioids, a controlled substance, without the federal

    registration required under Texas Health & Safety Code Section 481.061. Due to his lack of a

    DEA registration, Dr. O'Neal was not allowed to "manufacture, distribute, prescribe, possess,

   analyze or dispense" a controlled substance in Texas, including Hopkins County. Tex. Health &

    Safety Code §481.061(a).

           224.     Even when Dr. O'Neal possessed the requisite registration, Dr. O'Neal prescribed

   opioids without a valid medical purpose in violation of Texas Health & Safety Code Section

   481.071(a).

           225.     As a direct and proximate cause of Distributor Defendants' and Dr. O'Neal's

   deceptive conduct, Hopkins County should be awarded civil penalties pursuant to the Texas

   Controlled Substances Act.

                  VI.   SEVENTH CAUSE OF ACTION: UNJUST ENRICHMENT
                               AGAINST ALL DEFENDANTS

           226.     Hopkins County re-alleges and incorporates by reference each of the allegations

   contained in the preceding paragraphs of this Complaint as though fully alleged herein.

           227.     As an expected and intended result of their conscious wrongdoing as set forth in



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    this Complaint, Defendants have profited and benefited from opioid purchases made by Hopkins

    County and its residents.

            228.    When Hopkins County and its residents purchased opioids, they expected that

    Defendants had provided necessary and accurate information regarding those risks. Instead,

    Defendants had misrepresented the material facts regarding the risks and benefits of opioids.

            229.    Defendants have been unjustly enriched at the expense of Hopkins County, and

    Hopkins County is therefore entitled to damages to be determined by the jury.

                                           PRAYER FOR RELIEF

            WHEREFORE, Plaintiff respectfully prays:

                    a.      That the acts alleged herein be adjudged and decreed to be unlawful and that
                            the Court enter a judgment declaring them to be so;

                    b.      That Defendants be enjoined from, directly or indirectly through KOLs,
                            Front Groups or other third parties, continuing to misrepresent the risks and
                            benefits of the use of opioids for chronic pain, and from continuing to
                            violate Texas law;

                    c.      That Plaintiff recover all measures of damages, including punitive and
                            exemplary damages, allowable under the law, and that judgment be entered
                            against Defendants in favor of Plaintiff;

                    d.      That Plaintiff recover restitution on behalf of Hopkins County consumers
                            who paid for opioids for chronic pain;

                    e.      That Plaintiff recover the costs and expenses of suit, pre- and post-judgment
                            interest, and reasonable attorneys' fees as provided by law; and

                    f.      That Defendants be ordered to abate the public nuisance that they created in
                            in violation of Texas common law.


    Date: October 30, 2017

                                             Respectfully submitted,

                                             District Attorney, Hopkins County




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